Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 1 of 145 Page ID
                                   #:3136




                  EXHIBIT 24




                                EXHIBIT 24
                                PAGE 797
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 2 of 145 Page ID
                                   #:3137




                                                                                          Page 1
      1                    UNITED STATES DISTRICT
                          CENTRAL DISTRICT OF CALIFORNIA
      2                              WESTERN DIVISION
      3

      4    MARCUS GRAY (p/k/a FLAME);
           EMANUEL LAMBERT; and CHIKE
      5    OJUKWU
                               Plaintiffs,                )
       6                       vs.                        ) Case No.
                                                               2:15-CV-05642-CAS-JC
       7   KATHERYN ELIZABETH HUDSON
            (p/k/a KATY PERRY), et al.,
      s                        Defendants.
      9

     10

     11

     12

     13

     14       VIDEO-RECORDED DEPOSITION OF TODD R. DECKER, PH.D.
     15                TAKEN ON BEHALF OF THE DEFENDANTS
     16                              JANUARY 22, 2018
     17                                St. Louis, MO
     18

     19

     20          (Starting time of the deposition:                           9:40 a.m.)
     21

     22

     23

     24       Reported by: William L. Devries
     25       Job No. 136273

                              TSG Reporting - Worldwide       877-702-9580




                                 EXHIBIT 24
                                 PAGE 798
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 3 of 145 Page ID
                                   #:3138

                                                                              Page 17
   1               A.     No.
   2               Q.     Okay.       Look at section (2)(B).           It says
   3     (quote as read):
   4                      Witnesses Who Must Provide a Written
   5                      Report.        Unless stipu -- otherwise
   6                      stipulated or ordered by the court,
   7                      this disclosure must be accompanied by
   8                      a written report prepared and signed by
   9                      the witness.             If the witness is one
  10                      retained or specially employed to
  11                      provide expert testimony in the case or
  12                      one whose duties as the party's
  13                      employee regularly involve giving
  14                      expert testimony.                 The report must
  15                      contain one, a complete statement of
  16                      all opinions the witness will express
  17                      and the basis and reasons for them.
  18                      Do you see that?
  19               A.     Yes.
  20               Q.     Okay.       Do your two reports in this case
  21     constitute a complete statement of all opinions you
  22     will express in this case and the basis and reasons
  23     for them?
  24               A.     Can I --
  25                      MR. KAHN:          Sure.

                             TSG Reporting - Worldwide   877-702-9580


                                 EXHIBIT 24
                                 PAGE 799
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 4 of 145 Page ID
                                   #:3139


                                                                                 Page 18
    1              Q.     (By Mr. Movit)                 There's -- yes or no.
    2    There's a question pending.                     I don't think it calls
    3    for privilege.
    4              A.     Yes, except to the extent that as we
    5    listen to music again and again we start to hear new
    6    things, and so I won't rule out the idea that I will
    7    hear something different in the music or come to a
    8    different way of describing it.                       You never stop
    9    listening to the music and you never stop hearing
   10    new things.
   11              Q.     Okay.       Well, we certainly reserve all
   12    rights if there's any new opinions given.                       Okay.   If
   13    you'd look at section (2)(B), Roman numeral two
   14    (quote as read):
   15                     The -- the report must contain the
   16                     facts or data considered by the witness
   17                     in forming them.
   18                     Do your two opinions in this case, your
   19    two reports in this case contain all facts or data
   20    considered by you in forming your opinions?
   21              A.     Considered by me?
   22              Q.     Yes, sir.
   23              A.     Yes, to the extent that I did not
   24    employ musical notation.                I would reserve, you know,
   25    the right to jot down what I thought would be a

                             TSG Reporting - Worldwide    877-702-9580


                                 EXHIBIT 24
                                 PAGE 800
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 5 of 145 Page ID
                                   #:3140


                                                                              Page 19
   1     better explanation or a better expression of this
   2     music in notation.
   3               Q.     So there may be circumstances where
   4     there would be a -- possible to make a better
   5     explanation or better expression of "Dark Horse" and
   6     "Joyful Noise" in musical notation?
   7                      (Court reporter interruption.)
   8               Q.     (By Mr. Movit)                 So there are -- let me
   9     strike that.      So there are circumstances where
  10     musical notation would provide a better explanation
  11     or better expression for the music of "Joyful Noise"
  12     and "Dark Horse"?
  13               A.     I don't know that I would say better.
  14     I think in all cases notation expresses an opinion
  15     about the music and an argument that's being made
  16     about the music, especially when you're dealing with
  17     post-rock and roll pop music as we are here.                    So
  18     yes, I think any notation is always an argument
  19     that's being made, and the issue here is the sound
  20     of these records.
  21               Q.     So are you expressing opinions about
  22     the sounds and the recordings of "Dark Horse" and
  23     "Joyful Noise"?
  24               A.     Right.       And -- and in expressing those
  25     opinions there's a variety of ways you could do it.

                             TSG Reporting - Worldwide    877-702-9580
                                 EXHIBIT 24
                                 PAGE 801
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 6 of 145 Page ID
                                   #:3141

                                                                             Page 39
   1                     MR. KAYIRA:            I'm fine.
   2                     MR. KAHN:          I've got it here.
   3                     (WHEREIN, Exhibit 2, Decker response to
   4    Ferrara dated 5-5-17, was marked for identification
   5    by the Court Reporter.)
   6               Q.    (By Mr. Movit)                 Dr. Decker, if you
   7    would please turn to paragraph 14 on page eight of
   8    your rebuttal.       The second sentence in paragraph 14
   9    states, quote (quote as read):
  10                     Any attempt to render popular music
  11                     recordings as text, i.e. transcribing a
  12                     record into musical notation, as
  13                     Ferrara does throughout his report,
  14                     misses the fundamental quality of
  15                     popular music and opens the door to
  16                     rhetorical and inevitably interested
  17                     representations of said recording.
  18                     Do you see that, sir?
  19               A.    Yes.
  20               Q.    Okay.       So you in your rebuttal report
  21    criticized Dr. Ferrara for transcribing "Joyful
  22    Noise" and "Dark Horse" into musical notation,
  23    correct?
  24               A.    Yes.
  25               Q.    Okay.       And contrasted Dr. Ferrara

                            TSG Reporting - Worldwide    877-702-9580


                                 EXHIBIT 24
                                 PAGE 802
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 7 of 145 Page ID
                                   #:3142


                                                                                 Page 40
   1     having done so with your reports, which are devoid
   2     of such transcriptions of "Dark Horse" and "Joyful
   3     Noise" into musical notation, correct?
   4               A.     Into western musical notation, yes.
   5               Q.     Musical notation.                  You don't have that
   6     qualifier in your report, sir, do you?
   7               A.     Suppose not.
   8               Q.     Because -- and at the time you wrote
   9     this, sir, you had not yet seen Dr. Ferrara's
  10     rebuttal report, which attaches transcriptions into
  11     musical notation of popular music by the very
  12     scholars you cite, correct?
  13               A.     Yes, because he hadn't written it yet.
  14                      MR. MOVIT:           Move to strike everything
  15     after the word yes.
  16               Q.     (By Mr. Movit)                 Dr. Decker, if you'd
  17     please look at paragraph 15-D of your rebuttal
  18     report on page nine.
  19                      MR. KAHN:          What are you asking him?
  20                      MR. MOVIT:           I'm about to.             Don't
  21     interrupt, please.
  22               Q.     (By Mr. Movit)                 So Dr. Decker,
  23     please --
  24                      MR. KAHN:          You said do you have.
  25                      MR. MOVIT:           Yeah.

                             TSG Reporting - Worldwide    877-702-9580
                                 EXHIBIT 24
                                 PAGE 803
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 8 of 145 Page ID
                                   #:3143

                                                                                Page 49
   1                      MR. MOVIT:           Move to strike as
   2    nonresponsive.
   3               Q.     (By Mr. Movit)                 Dr. Decker, you wrote a
   4    book called Music Makes Me, correct?
   5               A.     Music Makes Me: Fred Astaire and Jazz.
   6               Q.     Correct?
   7               A.     Yes.
   8                      MR. MOVIT:           Okay.         I'd like to mark
   9    Decker Exhibit 3, which is the introductory pages --
  10    the cover, introductory pages, and then pages nine
  11    and ten of Music Makes Me: Fred Astaire and Jazz.
  12                      (WHEREIN, Exhibit 3, Excerpts of Music
  13    Makes Me: Fred Astaire and Jazz, was marked for
  14    identification by the Court Reporter.)
  15               Q.     (By Mr. Movit)                 Dr. Decker, page ten --
  16    this is your book, correct?
  17               A.     Yes.
  18               Q.     Okay.       Dr. Decker, page ten, example
  19    one contains a transcription into musical notation
  20    of the bridge of Irving Berlin's "Top Hat, White Hat
  21    [sic] and Tails," correct?
  22               A.     No.     This is not a transcription.               This
  23    is sheet music.         Irving Berlin wrote these notes
  24    down and filed them at the Library of Congress.
  25    This is not a transcription.                      This is sheet music.

                             TSG Reporting - Worldwide    877-702-9580
                                 EXHIBIT 24
                                 PAGE 804
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 9 of 145 Page ID
                                   #:3144

                                                                             Page 58
   1     can't remember where, but it was published.
   2               Q.     Is "Posin'" a composition in the genre
   3     of popular music?
   4               A.     Yes.
   5               Q.     You included example three in your book
   6     in order to compare musical similarities between
   7     "The Yam," "Carefree," and "Posin'," correct?
   8               A.     I believe it's similarities between
   9     "The Yam" and "Posin'," not "Carefree" and "Posin'."
  10               Q.     So you included example three to -- in
  11     your book to compare similarities between "The Yam"
  12     and "Posin'," correct?
  13               A.     Yes.
  14               Q.     And example three is in western
  15     notation, correct, western musical notation,
  16     correct?
  17               A.     Yes.
  18                      MR. MOVIT:           Going to mark Decker
  19     Exhibit 6.
  20                      (WHEREIN, Exhibit 6, Page 193 of Music
  21     Makes Me: Fred Astaire and Jazz, was marked for
  22     identification by the Court Reporter.)
  23               Q.     (By Mr. Movit)                 Dr. Decker, Exhibit 6
  24     is page 193 from your book Music Makes Me: Fred
  25     Astaire and Jazz, correct?

                             TSG Reporting - Worldwide    877-702-9580


                                 EXHIBIT 24
                                 PAGE 805
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 10 of 145 Page ID
                                   #:3145


                                                                                     Page 59
     1              A.     Yes.
     2              Q.     Okay.       And the title of example four is
     3    (quote as read):
     4                     Borne and Mercer's "Dig It," second
     5                     chorus, the A phrase as sung and tapped
     6                     by Astaire on his pop recording.
     7                     Correct?
     8              A.     Yes.
     9              Q.     Okay.       "Dig It" is in the genre of
    10    popular music, correct?
    11              A.     Yes.
    12              Q.     Okay.       Example four constitutes an
    13    attempt to transcribe a popular music recording into
    14    musical notation, correct?
    15              A.     Yes.
    16              Q.     Example four constitutes an attempt to
    17    transcribe a popular music recording into western
    18    musical notation, correct?
    19              A.     Yes.
    20              Q.     Do you know who created the
    21    transcription in Exhibit 4?
    22              A.     I did.       It's only partly transcription.
    23    Only the tap line is transcription.                            The upper line
    24    is taken from the sheet music.
    25              Q.     So the upper line is taken from the

                              TSG Reporting - Worldwide   877-702-9580


                                  EXHIBIT 24
                                  PAGE 806
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 11 of 145 Page ID
                                   #:3146


                                                                                      Page 60
     1    published sheet music?
     2               A.    Yes.
     3               Q.    Okay.       And you transcribed the second
     4    line; is that correct?
     5               A.    Yes, and in retrospect I didn't do as
     6    good a job as I could have.                     I don't think it's a
     7    cramp roll at the end of the very -- the very end of
     8    the phrase is not -- I would revise that now to not
     9    be a cramp roll.         It's a double flap.                    Research I've
    10    done since then on tap dance set steps would lead me
    11    to believe it's not a cramp roll, it's -- it's a
    12    double flat.
    13                     MR. MOVIT:           Move to strike everything
    14    after the word yes.           Dr. Decker, I would ask you to
    15    please just answer the questions I've asked.                          The
    16    day will be much shorter that way.
    17                     MR. KAHN:          Counsel, sometimes the
    18    questions you ask can't simply be answered yes or
    19    no.
    20                     MR. MOVIT:           I disagree, particularly
    21    that question.       And -- and again, my instruction was
    22    to answer the question I'd asked.                         My question was
    23    not whether Dr. Decker had second thoughts of any
    24    portion of his transcription.
    25               Q.    (By Mr. Movit)                 Dr. Decker, what

                              TSG Reporting - Worldwide    877-702-9580


                                  EXHIBIT 24
                                  PAGE 807
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 12 of 145 Page ID
                                   #:3147


                                                                                  Page 61
    1     methodology was used to create the transcription in
    2     example four?
    3               A.     Listening to the record.
    4               Q.     Okay.       So by listening to the record
    5     you were able to create this transcription into
    6     western musical notation of the A phrases tapped by
    7     Fred Astaire in his popular recording, correct?
    8               A.     Sure.
    9               Q.     Okay.       Okay.        And that would be a fair
   10     description of the methodology you used to create
   11     this transcription?
   12               A.     That the methodology was listening?
   13               Q.     Yes, sir.
   14               A.     Well, given that I used the word cramp
   15     roll, I could very much have probably worked it out
   16     also by checking my work by dancing it.                         I also tap
   17     dance.
   18                      MR. MOVIT:           Decker Exhibit 7.
   19                      (WHEREIN, Exhibit 7, Page 258 of Music
   20     Makes Me: Fred Astaire and Jazz, was marked for
   21     identification by the Court Reporter.)
   22               Q.     (By Mr. Movit)                 Dr. Decker, page --
   23     Exhibit 7 constitutes page 258 of your book Music
   24     Makes Me: Fred Astaire and Jazz, correct?
   25               A.     Yes.

                              TSG Reporting - Worldwide    877-702-9580
                                  EXHIBIT 24
                                  PAGE 808
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 13 of 145 Page ID
                                   #:3148

                                                                              Page 66
    1               Q.    Okay.       Dr. Decker, is bounce in the --
    2    is the first line of Exhibit 4 an attempt to
    3    transcribe recorded sound of jazz music into musical
    4    notation, yes or no?
    5                     MR. KAYIRA:            Exhibit 4 or Exhibit 7,
    6    Counselor?
    7               Q.    (By Mr. Movit)                 Dr. Decker, is example
    8    six at the top of Exhibit 7 --
    9               A.    Yes.
   10               Q.    -- an attempt to transcribe the
   11    recorded sound of a jazz music performance into
   12    musical notation, yes or no?
   13                     MR. KAHN:          I would object, asked and
   14    answered.       You may answer.
   15               A.    Yes.
   16               Q.    (By Mr. Movit)                 Dr. Decker, is the
   17    first line of Exhibit 4 -- strike that.
   18                     Dr. Decker, is the first line of
   19    example six in Exhibit 7 an attempt to transcribe
   20    the recorded sound of a jazz music performance into
   21    western musical notation, yes or no?
   22               A.    Yes.
   23               Q.    Dr. Decker, is the second line of
   24    example six in Exhibit 7 an attempt to transcribe
   25    the recorded sound of a jazz music performance into

                             TSG Reporting - Worldwide    877-702-9580


                                  EXHIBIT 24
                                  PAGE 809
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 14 of 145 Page ID
                                   #:3149


                                                                                  Page 67
     1     western musical notation, yes or no?
     2               A.     Yes.     I believe you -- yes.
     3                      MR. MOVIT:          I'm going to mark Decker
     4     Exhibit 8.     This is Decker Exhibit 8.
     5                      (WHEREIN, Exhibit 8, Page 279 of Music
     6     Makes Me: Fred Astaire and Jazz, was marked for
     7     identification by the Court Reporter.)
     8               Q.     (By Mr. Movit)                Actually, before we
     9     turn to Exhibit 8 I have a couple more questions
    10     about Exhibit 7.
    11               A.     Yeah.
    12               Q.     Dr. Decker, who created the
    13     transcriptions in Exhibit 7?
    14               A.     I did.
    15               Q.     Okay.      What methodology did you use to
    16     create those transcriptions?
    17               A.     Listening.
    18               Q.     Please turn now to Exhibit 8.                 Okay.
    19     Is this Exhibit 8 page 279 from your book Music
    20     Makes Me: Fred Astaire and Jazz?
    21               A.     Yes.
    22               Q.     Okay.      Okay.        And at the top of the
    23     page it states, does it not (quote as read):
    24                      Example seven.                Layered introduction to
    25                      "Slap That Bass," Shall We Dance.                 The

                              TSG Reporting - Worldwide    877-702-9580

                                 EXHIBIT 24
                                 PAGE 810
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 15 of 145 Page ID
                                   #:3150

                                                                           Page 68
    1                      texture builds up from the bottom.             At
    2                      start of the number; each new idea
    3                      heard twice before the next entered --
    4                      enters.       Line F, not transcribed here,
    5                      is the only melodic rather than
    6                      rhythmic idea.
    7                      That's what it says, correct?
    8               A.     Yes.
    9               Q.     Okay.      Is "Slap That Bass" a work in
   10     the genre of popular music?
   11               A.     Yes.
   12               Q.     Okay.      Example seven is a transcription
   13     of the introduction to "Slap That Bass," correct?
   14               A.     Yes.
   15               Q.     Okay.      Who created that transcription?
   16               A.     I did.
   17               Q.     Okay.      How did you create that
   18     transcription?
   19               A.     Listening.
   20               Q.     What did you listen to?
   21               A.     The sound track to the film Shall We
   22     Dance.
   23               Q.     Okay.      So example seven in Exhibit 8
   24     constitutes an attempt to transcribe the recorded
   25     sound of a pop music performance into western

                             TSG Reporting - Worldwide   877-702-9580


                                  EXHIBIT 24
                                  PAGE 811
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 16 of 145 Page ID
                                   #:3151


                                                                            Page 69
    1    musical notation, correct?
    2               A.     Yes.
    3               Q.     And in the title of example seven as I
    4    read before, it states (quote as read):
    5                      The texture builds up from the bottom
    6                      at start of the number; each new idea
    7                      heard twice before the next enters.
    8                      Correct?
    9               A.     Yes.
   10               Q.     Okay.       So example seven constitutes an
   11    attempt to convey the texture of the recorded sound
   12    of a pop music performance using western musical
   13    notation, correct?
   14               A.     No.
   15               Q.     Don't you state that the texture builds
   16    up from the bottom at the start of the number,
   17    Dr. Decker?
   18               A.     The intent of the transcription is to
   19    separate out the layers to get closer to what the
   20    individual men singing lines E, D, and B were doing.
   21    This section of my book deals with the names of the
   22    African American men who were hired for three days
   23    at MGM -- at RKO, excuse me, to -- to improvise.
   24                      They improvised and created this
   25    opening track.        That's my -- that's my contention

                              TSG Reporting - Worldwide   877-702-9580
                                  EXHIBIT 24
                                  PAGE 812
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 17 of 145 Page ID
                                   #:3152

                                                                             Page 75
   1     Ellington.
   2                Q.    Again, my question was have you pub --
   3                A.    No.
   4                Q.    No.     Thank you.
   5                A.    Take that back, I have published on
   6     Duke Ellington.        I have an article in Daedalus,
   7     "Pioneers of the Concept Album," and I speak about
   8     Duke Ellington's album "Blue Rose" from 1958,
   9     including matters of growling and timbre.
  10                      MR. MOVIT:           We're up to Exhibit 10, I
  11     believe?
  12                      MR. KAYIRA:            9.      I have 9.
  13                      MR. MOVIT:           9, you're correct.
  14     Exhibit 9.
  15                      (WHEREIN, Exhibit 9, Excerpts from
  16     Hymns for the Fallen: Combat Movie Music and Sound
  17     After Vietnam, was marked for identification by the
  18     Court Reporter.)
  19                Q.    (By Mr. Movit)                 Dr. Decker, Exhibit 9
  20     constitutes excerpts from your book Hymns for the
  21     Fallen: Combat Movie Music and Sound After Vietnam,
  22     correct?
  23                A.    Yes.
  24                Q.    If you'd please turn to the final page
  25     of this exhibit.         Final page of this exhibit is page

                             TSG Reporting - Worldwide    877-702-9580

                                  EXHIBIT 24
                                  PAGE 813
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 18 of 145 Page ID
                                   #:3153


                                                                                   Page 76
     1    209 of your book Hymns for the Fallen: Combat Movie
     2    Music and Sound After Vietnam, correct?
     3               A.    Right.
     4               Q.    Okay.       At the top of the page it states
     5    (quote as read):
     6                     Musical example 9.1.                    Ostinato from
     7                     "Attack on the Bivouac," the Thin Red
     8                     Line composed by Hans Zimmer.
     9                     Correct?
    10               A.    Yes.
    11               Q.    Okay.       And this is musical example 9.1
    12    is the ostinato from "Attack on the Bivouac" in
    13    western musical notation, correct?
    14               A.    Yes.
    15               Q.    Who created this notation?
    16               A.    I did.
    17               Q.    So this constitutes a transcription of
    18    the recording of "Attack on the Bivouac" as heard in
    19    the Thin Red Line, correct?
    20               A.    Of the sound track, yeah.
    21               Q.    Of the sound track.                   So in this musical
    22    example 9.1 you have set forth a transcription of an
    23    ostinato in western notation as contained in a sound
    24    recording, correct?
    25               A.    Yes.

                              TSG Reporting - Worldwide   877-702-9580


                                  EXHIBIT 24
                                  PAGE 814
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 19 of 145 Page ID
                                   #:3154

                                                                                   Page 77
    1               Q.     What methodology was used to create
    2    this transcription of the ostinato?
    3               A.     Listening.
    4                      MR. MOVIT:            Okay.         I'd like to mark
    5    your first report in this case Exhibit 10.
    6                      (WHEREIN, Exhibit 10, Expert Report of
    7    Todd Decker, was marked for identification by the
    8    Court Reporter.)
    9               Q.     (By Mr. Movit)                  If you'd please turn to
   10    page three, line 18.              First of all, Dr. Decker,
   11    this -- this is your first expert report in this
   12    case, correct?
   13               A.     Yes.
   14               Q.     Okay.        Please turn to page three,
   15    line 18.      Okay.      It states (quote as read):
   16                      My published research has involved
   17                      identifying popular songs which are
   18                      demonstrably borrowing from other
   19                      songs.        For example, in my 2013 book
   20                      Show Boat: Performing Race in an
   21                      American Musical published by Oxford
   22                      University Press, I identified a 1926
   23                      song that composer Jerome Kern used as
   24                      a model for his very well-known 1927
   25                      song "Ol' Man River."                      The connections

                               TSG Reporting - Worldwide    877-702-9580
                                   EXHIBIT 24
                                   PAGE 815
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 20 of 145 Page ID
                                   #:3155

                                                                              Page 78
   1                      I drew in that case are similar to
   2                      those made in this report about "Joyful
   3                      Noise" and "Dark Horse," even to the
   4                      matter of timbre.
   5                      Do you see that?
   6               A.     Yes.
   7               Q.     Okay.       I read that correctly, right?
   8               A.     Yeah.
   9                      MR. MOVIT:           Okay.         This is Exhibit 11.
  10                      (WHEREIN, Exhibit 11, Excerpt from Show
  11     Boat: Performing Race in an American Musical, was
  12     marked for identification by the Court Reporter.)
  13               Q.     (By Mr. Movit)                 Dr. Decker, Exhibit 11
  14     comprises excerpts from your book Show Boat:
  15     Performing Race in an American Musical, correct?
  16               A.     Yes.
  17               Q.     Okay.       If you please turn to the
  18     next-to-last page of this exhibit, it's entitled
  19     (quote as read):
  20                      Example 2.1.             "De Old Clay Road" from
  21                      Deep River 1926, music by Laurence
  22                      Stallings, lyrics by Frank Harling,
  23                      with borrowing by Kern in "Ol' Man
  24                      River" noted above the vocal line.
  25                      Do you see that, sir?

                             TSG Reporting - Worldwide    877-702-9580


                                  EXHIBIT 24
                                  PAGE 816
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 21 of 145 Page ID
                                   #:3156

                                                                            Page 79
    1               A.     Yes.
    2               Q.     Is "De Old Clay Road" a work in the
    3    genre of popular music?
    4               A.     Yes, in its time.
    5               Q.     Is "Ol' Man River" a work in the genre
    6    of popular music?
    7               A.     Yes.
    8               Q.     Okay.      Okay.        Who created to your
    9    knowledge the musical notation for "De Old Clay
   10    Road" that is contained in example 2.1?
   11               A.     So this example was created by a
   12    graduate student of mine and for "De Old Clay Road"
   13    I gave him a copy of the copyright deposit at the
   14    Library of Congress.            This song to my knowledge was
   15    never published, but there is a copy in the file at
   16    the Library of Congress, so that's where I got it.
   17               Q.     Okay.      And --
   18               A.     So the -- so the "De Old Clay Road"
   19    portion of it, the piano part and the vocal line,
   20    that's a direct copy from the original sheet music.
   21               Q.     Okay.      Created by your graduate
   22    student, correct?
   23               A.     Right, yeah.
   24               Q.     Okay.      And what's the name of that
   25    graduate student?

                             TSG Reporting - Worldwide   877-702-9580

                                  EXHIBIT 24
                                  PAGE 817
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 22 of 145 Page ID
                                   #:3157


                                                                                     Page 80
    1               A.     Dan Viggers.
    2               Q.     Okay.
    3               A.     Sorry.       I've had two work with me over
    4     the years.
    5               Q.     Is Dan Viggers credited in the book for
    6     having --
    7               A.     I believe so.             He should be.           If he
    8     isn't, then it will be David Chapman.                          Those are the
    9     two gentlemen that have helped me in that regard.
   10               Q.     Okay.       And how is the borrowing by Kern
   11     in "Ol' Man River" noted above the vocal line?
   12               A.     Two ways.          There's a bracket that you
   13     can see above measure two, extending across the bar
   14     on either side of measure two in a piano part, but
   15     the principal part that's notated is at the bottom
   16     of the first page of the example there where we
   17     inserted a line of staff or a -- a vocal staff, a
   18     treble clef staff and inserted the appropriate
   19     section of Kern's "Ol' Man River" taken from the
   20     sheet music of that song and transposed into the
   21     appropriate key so that it would match with the
   22     notated -- the notated pitch level of "De Old Clay
   23     Roads."     So it's not a transcription.                       Again, this
   24     is sheet music.
   25               Q.     So Dr. Decker, in example 2.1 you have

                              TSG Reporting - Worldwide   877-702-9580

                                 EXHIBIT 24
                                 PAGE 818
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 23 of 145 Page ID
                                   #:3158

                                                                                Page 81
   1    used western musical notation to reflect borrowings
   2    from one popular musical work into another popular
   3    musical work, correct?
   4               A.     Yes.
   5               Q.     Dr. Decker, previously you've discussed
   6    sheet music during your deposition, correct?
   7               A.     Right.       Yes.
   8               Q.     Okay.       And sheet music of popular
   9    music, correct, or works in the genre of popular
  10    music --
  11               A.     Right.
  12               Q.     -- to be more specific, correct?
  13                      MR. KAHN:          Be sure to let him finish.
  14               Q.     (By Mr. Movit)                 Don't -- don't those
  15    sheet -- work -- don't those pieces of sheet music
  16    that you reference constitute a transcription by
  17    someone, whether the author or someone else into
  18    western musical notation of the composer's song?
  19               A.     No.     Some popular musics begin with
  20    sheet music, like the example -- if I can refer back
  21    to it, Exhibit 3, Exhibit 4, and Exhibit 5 and the
  22    upper line of Exhibit 6.                 All of these are examples
  23    where the musical notation finds its source in a
  24    notated music written down by the composer --
  25    composer or his assistant.                  So it's not a

                             TSG Reporting - Worldwide    877-702-9580
                                  EXHIBIT 24
                                  PAGE 819
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 24 of 145 Page ID
                                   #:3159

                                                                                  Page 85
   1     critical additions that are often built on
   2     transcriptions, all of those work off of recordings.
   3                Q.    So --
   4                A.    Serious musical transcriptions is done
   5     off of recordings.
   6                Q.    Do you have any citation for your
   7     position that transcription is limited to
   8     recordings?
   9                A.    My citation -- my -- I don't have a
  10     citation for it.         It's the general practice as
  11     reflected in -- in collegiate syllabi.                          I could get
  12     you the syllabus of my colleague at Washington
  13     University and his transcription course.
  14                      Some ethnomusicologists might need --
  15     you know, ethnomusicologists, the essence of what
  16     they do in collecting sound is go out and record it
  17     and then they bring it back home and they listen to
  18     it over and over again.               I could give you the names
  19     of colleagues who do that.
  20                      MR. MOVIT:           I'm going to mark
  21     Exhibit 12.
  22                      (WHEREIN, Exhibit 12, Page 48 from Show
  23     Boat: Performing Race in an American Musical, was
  24     marked for identification by the Court Reporter.)
  25                Q.    (By Mr. Movit)                 Dr. Decker, is

                             TSG Reporting - Worldwide    877-702-9580

                                 EXHIBIT 24
                                 PAGE 820
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 25 of 145 Page ID
                                   #:3160

                                                                                  Page 86
    1    Exhibit 12 page 48 from your book about Show Boat?
    2               A.    Yes.
    3               Q.    Could you please read the title of
    4    example 2.2a at the top of page 48?
    5               A.    The Bridge of "Goin' Home," a quasi
    6    spiritual popular song adapted from a pseudo-Negro
    7    melody From --
    8                     (Court reporter interruption.)
    9               A.    Sorry.       From a pseudo-Negro melody from
   10    Antonin Dvorak's new world symphony.
   11               Q.    (By Mr. Movit)                 Okay.      And can you
   12    please read the title of example 2.2b into the
   13    record?
   14               A.    First half of the bridge of "Ol' Man
   15    River."
   16               Q.    Okay.       It says here that "Goin' Home"
   17    is a quasi-spiritual popular song, correct?
   18               A.    Yeah.
   19               Q.    Okay.       So "Goin' Home" is a work in the
   20    genre of popular music?
   21               A.    In its time.
   22               Q.    Okay.       Yes?
   23               A.    Yes, in its time.
   24               Q.    Okay.       And "Ol' Man River" is a work in
   25    the genre of popular music, correct?

                             TSG Reporting - Worldwide    877-702-9580

                                 EXHIBIT 24
                                 PAGE 821
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 26 of 145 Page ID
                                   #:3161


                                                                            Page 87
     1              A.     Yes.
     2              Q.     Okay.       Who created the notation -- and
     3    example 2.2a and 2.2b contain western musical
     4    notation, correct?
     5              A.     Right.
     6              Q.     Who created the western musical
     7    notation in 2.2a?
     8              A.     My assistant or my grad assistant --
     9    I'm -- I'm thinking now in my memory that it was
    10    probably David Chapman.
    11              Q.     And what methodology did David Chapman
    12    use to create this?
    13              A.     I gave him a manuscript copy that I had
    14    copied from the sheet music in both cases of this --
    15    of these two songs.           Both of these were -- both of
    16    these were published.             They are transposed as to
    17    key.
    18                     Again I don't know that the sheet music
    19    is -- for these is in this exact keys, but I
    20    transposed them to highlight for the reader that
    21    the -- the similarity between the notes being used
    22    and the leaps and things like that.
    23              Q.     So -- and -- and transposing the key
    24    facilitates comparison and similarities, correct?
    25              A.     Yeah.       Right.

                              TSG Reporting - Worldwide   877-702-9580

                                  EXHIBIT 24
                                  PAGE 822
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 27 of 145 Page ID
                                   #:3162


                                                                                    Page 88
    1               Q.     Okay.       So on page 48 you've -- in your
    2     book you've used western musical notation to compare
    3     similarities to two works in the genre of popular
    4     music, correct?
    5               A.     Yes.
    6                      MR. KAHN:          The witness needs a
    7     restroom.
    8                      MR. MOVIT:           Oh, of course.            We always
    9     facilitate that.
   10                      VIDEOGRAPHER:             We're going off the
   11     record at approximately 11:42 a.m.
   12                      (WHEREIN, a recess was taken.)
   13                      VIDEOGRAPHER:             We're back on the record
   14     at approximately 11:52 a.m.
   15               Q.     (By Mr. Movit)                 Okay.      Dr. Decker, did
   16     you speak with Mr. Kahn and/or Mr. Kayira about the
   17     substance of your testimony during the last break?
   18               A.     Yes.
   19               Q.     Okay.       What did you talk about?
   20                      MR. KAHN:          Objection, instruct him not
   21     to answer.
   22               Q.     (By Mr. Movit)                 Okay.      Did you talk
   23     about the issue of transcriptions?
   24                      MR. KAHN:          Same objection.             Same
   25     instruction.

                              TSG Reporting - Worldwide    877-702-9580
                                  EXHIBIT 24
                                  PAGE 823
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 28 of 145 Page ID
                                   #:3163

                                                                                 Page 97
   1     even have the word transcription in it.                         My question
   2     was isn't the composer or the composer's assistant
   3     reducing to musical notation the elements of the
   4     music that's being composed, whether it be played in
   5     song or just what's the idea in the composer's head,
   6     aren't they reducing into western musical notation
   7     the composition, yes or no?
   8               A.     I would say no.
   9                      MR. MOVIT:           Okay.         Next exhibit,
  10     Exhibit 13.
  11                      (WHEREIN, Exhibit 13, Page 89 of Show
  12     Boat: Performing Race in an American Musical, was
  13     marked for identification by the Court Reporter.)
  14               Q.     (By Mr. Movit)                 Exhibit 13, this is
  15     page 89 from your book on Show Boat, correct?
  16               A.     Yes.
  17               Q.     And the title of this example 4.2 at
  18     the top of the page is the opening phrase of "You
  19     Are Love," compared to Sigmund Romberg's "Some Day"
  20     from Cherry Blossoms 1927, correct?
  21               A.     Yes.
  22               Q.     Okay.       What does the top line in
  23     example 4.2 represent of notated music?                         What does
  24     that line represent?
  25               A.     That is a -- what is it, it's eight

                             TSG Reporting - Worldwide    877-702-9580
                                 EXHIBIT 24
                                 PAGE 824
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 29 of 145 Page ID
                                   #:3164

                                                                                 Page 99
   1     We're going to seek another day of deposition
   2     because this is taking up a lot of time, not
   3     responding to anything I'm asking.
   4                      MR. KAHN:          He's trying to respond
   5     completely to questions that are not capable of a
   6     yes-or-no answer.          We're here.              Continue with the
   7     deposition.
   8                      MR. MOVIT:           My last question was and
   9     the bottom line is?           That was my last question.                So
  10     the court will be the judge of whether or not these
  11     are fair responses.
  12               Q.     (By Mr. Movit)                 So Exhibit 13
  13     constitutes a comparison of similarities between two
  14     popular music compositions, correct?
  15               A.     Yes.
  16               Q.     Okay.       Comparison using western musical
  17     notation, correct?
  18               A.     Yes.
  19                      MR. MOVIT:           Okay.         We're going to mark
  20     our next exhibit, which is the visual exhibits to
  21     Dr. Ferrara's rebuttal report.                      And just for the
  22     record, it's in a Redweld because of its size and
  23     it's not clipped together or anything, so I'd ask
  24     everyone to please make sure the pages stay in their
  25     correct order.

                             TSG Reporting - Worldwide    877-702-9580
                                 EXHIBIT 24
                                 PAGE 825
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 30 of 145 Page ID
                                   #:3165

                                                                              Page 100
    1                       (WHEREIN, Exhibit 14, Rebuttal Visual
    2    Exhibits, was marked for identification by the Court
    3    Reporter.)
    4                       MR. MOVIT:          If you'd please turn to
    5    tab E.
    6                       MR. KAHN:         Tab what?
    7                       MR. MOVIT:          E as in elephant.
    8               Q.      (By Mr. Movit)                And tab E represents an
    9    article by Mark Butler that you cite in your report,
   10    Dr. Decker, entitled "Turning the Beat Around:
   11    Reinterpretation, Metrical Dissonance, and Asymmetry
   12    in Electronic Dance Music," correct?
   13               A.      Yes.
   14               Q.      And this article, which you have cited
   15    by Mark Butler, contains transcriptions in western
   16    musical notation of recordings of electronic dance
   17    music, correct?
   18               A.      Yes.
   19               Q.      Okay.      If you turn to Exhibit L,
   20    please.     Exhibit L contains an article you cite in
   21    your rebuttal report in this case by Albin Zak
   22    entitled Edition-ing Rock, correct?
   23               A.      Yes.
   24               Q.      Please turn to page 103 of this
   25    article.        Page 103 of this article, which you have

                              TSG Reporting - Worldwide    877-702-9580

                                   EXHIBIT 24
                                   PAGE 826
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 31 of 145 Page ID
                                   #:3166


                                                                          Page 101
    1     cited in your rebuttal report contains a
    2     transcription in western musical notation of the
    3     introduction of a rock song, correct?
    4               A.     Rephrase your -- sorry, say the
    5     question again.
    6               Q.     Yes.     Page 103 of this article, which
    7     you have cited in your rebuttal report, contains a
    8     transcription in western musical notation of the
    9     introduction of a rock song, correct?
   10               A.     No.    All he transcribes, all that Zak
   11     transcribes is the basic figure from the
   12     introduction.      This is not a transcription of the
   13     introduction.      This is just one small element, the
   14     basic figure.
   15               Q.     Page 103 of this article, which you've
   16     cited in your rebuttal report, contains a
   17     transcription in western musical notation of a
   18     figure from the introduction of a rock song,
   19     correct?
   20               A.     Well, Zak thinks it's a basic figure.
   21     I would have to listen to the rock song to know if
   22     that's accurate, so I would -- you need to put the
   23     word basic in there as well because that's how he
   24     has defined what he's transcribing here.
   25               Q.     A basic figure is still a figure,

                             TSG Reporting - Worldwide   877-702-9580

                                  EXHIBIT 24
                                  PAGE 827
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 32 of 145 Page ID
                                   #:3167


                                                                           Page 102
    1    correct?
    2               A.    Sure.
    3               Q.    Okay.       Well, then my question is
    4    page 103 of this article contains a transcription in
    5    western musical notation of a figure from the
    6    introduction of a rock song, correct?
    7               A.    Sure.
    8               Q.    Thank you.           Dr. Decker, are you aware
    9    if federal courts apply a legal meaning to the term
   10    substantial similarity?
   11               A.    I am not aware of the legal definition
   12    of that.
   13               Q.    Okay.
   14               A.    No.
   15               Q.    In connection with your work as a
   16    musicologist, what definition do you -- do you
   17    assign to the term substantially similar?
   18               A.    I would need the example in front of
   19    me, but I assume that it would be the standard of is
   20    there evidence for music -- the phrase that
   21    musicologists would use is musical borrowing, and
   22    that, you know, is a -- is a standard that is built
   23    on argument.       You have to make an argument for it.
   24               Q.    So in this case --
   25               A.    You know, and --

                             TSG Reporting - Worldwide   877-702-9580
                                 EXHIBIT 24
                                 PAGE 828
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 33 of 145 Page ID
                                   #:3168

                                                                                Page 109
    1               A.     Right.      And the two that I discuss in
    2    the report are -- were exhibit -- were given as
    3    exhibits.       So I downloaded them so that, you know,
    4    there would be no ambiguity about what they were.
    5               Q.     Okay.      Did you download the other two
    6    that you say points to it?
    7               A.     I don't recall.
    8                      MR. MOVIT:          Okay.         Well, just to make
    9    clear what they are, just going to attach so that
   10    we're all on the same page here.                        The first one is
   11    by -- what are we up to?
   12                      MR. KAHN:         15.
   13                      MR. MOVIT:          14.
   14                      MR. KAHN:         15, I think.
   15                      MR. MOVIT:          15.        We're up to 15, right?
   16    14 was Dr. Ferrara's exhibits, right?
   17                      MR. KAHN:         Yeah.
   18                      THE WITNESS:            Yeah.
   19               Q.     (By Mr. Movit)                And of the four posters
   20    of the YouTube mashups to which you've, you know,
   21    provided links in your footnote five, do you know
   22    any of those individuals?
   23               A.     No.
   24               Q.     Okay.      So you don't know Freshplosion?
   25               A.     No.

                             TSG Reporting - Worldwide    877-702-9580


                                 EXHIBIT 24
                                 PAGE 829
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 34 of 145 Page ID
                                   #:3169


                                                                               Page 110
     1              Q.     Okay.       You have no idea what person or
     2    people constitute Freshplosion, correct?
     3              A.     No.     Not to my knowledge, right.             I
     4    mean --
     5              Q.     Right.       To your knowledge.
     6              A.     Right.
     7              Q.     That's correct.                And -- and you have no
     8    idea who actually created that video, right?
     9              A.     No.
   10               Q.     Okay.       And you have -- you -- you don't
   11     have any personal knowledge as to how the video was
   12     created, right?
   13               A.     I'm assuming it was done using digital
   14     music tools.
   15               Q.     Right.       But that's an assumption,
   16     right?
   17               A.     I don't know how else you would do it
   18     and post it.
   19               Q.     But you have no personal knowledge of
   20     how it was done, right?
   21               A.     No.
   22               Q.     Okay.       Okay.        And the same thing, you
   23     have -- have you ever met Seth Mott?
   24               A.     No.
   25               Q.     Okay.       Never communicated with Seth

                              TSG Reporting - Worldwide   877-702-9580

                                  EXHIBIT 24
                                  PAGE 830
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 35 of 145 Page ID
                                   #:3170


                                                                             Page 111
    1    Mott?
    2               A.     No.
    3               Q.     Okay.      No idea --
    4               A.     Not that I know of, like I said.
    5               Q.     Not that you know of.
    6               A.     Yeah.
    7               Q.     No idea who actually created the video
    8    posted by Seth Mott, right?
    9               A.     No.
   10               Q.     Okay.      No idea how that video was
   11    created other than an assumption that it was done
   12    using digital tools, correct?
   13               A.     Right.
   14               Q.     Okay.      And the same thing for the other
   15    two people, never met them, never communicated with
   16    them?
   17               A.     Right.      Yes.        To the best of my
   18    knowledge.
   19               Q.     No idea how those other two videos were
   20    created other than to assume it was with digital
   21    musical tools and no idea who created those other
   22    two videos, right?
   23               A.     Right.
   24                      MR. MOVIT:          Okay.        So going to mark as
   25    Exhibit 15, this is Exhibit 15.

                             TSG Reporting - Worldwide   877-702-9580
                                 EXHIBIT 24
                                 PAGE 831
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 36 of 145 Page ID
                                   #:3171

                                                                               Page 135
   1    assuming this is the -- I'm assuming Exhibit 20 is
   2    the fourth one here, correct?
   3               Q.     I don't answer questions.
   4               A.     Okay.       The -- the two that I chose were
   5    ones that I felt spoke most eloquently and directly
   6    in sound to the issue at hand.
   7               Q.     Okay.
   8               A.     So ...
   9               Q.     Each of the mashup videos alters one or
  10    both of the sound recordings at issue, correct?
  11               A.     Right.
  12               Q.     Okay.       And you -- you have no idea of
  13    the full extent of the alterations of the sound
  14    recordings that -- that were done by the people who
  15    made these four YouTube videos, correct?
  16               A.     What do you mean by full extent?
  17               Q.     You don't know precisely what
  18    alternate -- alterations each of these YouTube
  19    videos the creators made?
  20               A.     Well, I think Freshplosion lays out
  21    exactly what they did in text, right, they --
  22    with -- with time code analysis which is exactly
  23    what I would ask a student to do or what I would do.
  24    So there -- now, in that -- okay.                         So in that
  25    respect Freshplosion articulates it.

                             TSG Reporting - Worldwide   877-702-9580
                                  EXHIBIT 24
                                  PAGE 832
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 37 of 145 Page ID
                                   #:3172

                                                                            Page 136
    1                     Seth Mott, the second example, Exhibit
    2    B in my -- in my rebuttal report, there -- there is
    3    no text from the mashup maker explaining what
    4    they're doing so I had to extrapolate it and as far
    5    as I know it wasn't challenged.
    6               Q.    Right.       So you have no idea about the
    7    full extent of alterations to the sound recording
    8    that Seth Mott made to "Dark Horse" and/or "Joyful
    9    Noise," correct?
   10               A.    What do you mean by full extent?
   11               Q.    You don't know all the alterations
   12    necessarily that Seth Mott made to create his mashup
   13    to the sound recording of "Joyful Noise" and/or
   14    "Dark Horse," correct?
   15               A.    Well, how could anyone know that?             I
   16    would say no.
   17               Q.    By speaking to the creator of the video
   18    one could know that, correct?
   19               A.    I suppose.
   20               Q.    Okay.
   21               A.    But I've already -- you know.
   22               Q.    And you have no idea if Freshplosion
   23    made alterations to the sound recordings other than
   24    what is conceded in the text of the video itself,
   25    correct?

                             TSG Reporting - Worldwide   877-702-9580


                                 EXHIBIT 24
                                 PAGE 833
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 38 of 145 Page ID
                                   #:3173


                                                                                   Page 137
    1               A.    Tested by my own ear as well.                      So you
    2    know, I'm lis -- I'm -- I'm listening to the tracks
    3    and -- you know what I mean?                    So --
    4               Q.    But it's possible that Freshplosion
    5    made additional alterations to the sound recordings
    6    of which you are not aware, correct?
    7               A.    I suppose it's possible.
    8               Q.    Okay.       And the same would apply for the
    9    other -- the makers of the other two videos you
   10    cite, correct; you have no idea the full extent of
   11    the alterations to the sound recordings at issue
   12    that those creators made, correct?
   13               A.    Inasmuch as I don't know them, those
   14    individuals.
   15               Q.    So that would be correct, right?
   16               A.    Yeah.
   17                     MR. MOVIT:           Okay.         Okay.       Exhibit 20.
   18    Did you get a copy of that, Mike?
   19                     MR. KAHN:          Yeah.
   20               Q.    (By Mr. Movit)                 So this is the fourth
   21    video.     It's -- it's -- strike that.
   22                     This is the -- the third citation in --
   23               A.    Right.
   24               Q.    -- the footnote five is to Exhibit 20,
   25    correct?

                             TSG Reporting - Worldwide    877-702-9580
                                 EXHIBIT 24
                                 PAGE 834
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 39 of 145 Page ID
                                   #:3174

                                                                                        Page 140
    1    listeners, who are often deeply knowledgeable of
    2    music, we all are, especially popular music
    3    listeners that are going to go to the trouble to do
    4    this, this listener heard a similarity.
    5                      So yes, I would stake my reputation on
    6    the ears of the audience for this music as they
    7    declare it whether they understand themselves as an
    8    expert or not.
    9               Q.     (By Mr. Movit)                Uh-huh.         Uh-huh.   So
   10    your -- your opinion, Dr. Decker, is that civilian
   11    list -- civilian listeners would find the songs to
   12    sound similar?
   13               A.     I think this is evidence for that.                           I
   14    think these YouTube mashups provide evidence for
   15    that.
   16               Q.     No -- no, I'm asking if that's your
   17    opinion in the case.
   18               A.     Say it again that --
   19               Q.     That civilian listeners would find the
   20    songs to be similar?
   21               A.     Yes, that has been my experience.
   22               Q.     Okay.      Is that your opinion in this
   23    case?
   24               A.     Yes.
   25               Q.     Okay.      Dr. Decker, did you conduct any

                             TSG Reporting - Worldwide    877-702-9580
                                  EXHIBIT 24
                                  PAGE 835
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 40 of 145 Page ID
                                   #:3175

                                                                               Page 215
   1               A.     Yes.
   2               Q.     Okay.       And it says (quote as read):
   3                      This similarity rests in the eight-note
   4                      ostinato figure described in tabular
   5                      form on page six of my report.
   6                      Do you see that?
   7               A.     Yes.
   8               Q.     Okay.       So you're stating Dr. Decker,
   9     correct, that the fundamental similarity between
  10     "Joyful Noise" and "Dark Horse" is an ostinato in
  11     each work, correct?
  12               A.     Yes.
  13               Q.     Okay.       And then similarly if you could
  14     please turn to page five.                 Okay.        Paragraph 7 d. you
  15     state that (quote as read):
  16                      The crucial matter here is the musical
  17                      content of the tracks' eight-note
  18                      ostinatos.
  19                      Correct?
  20               A.     Yes.
  21               Q.     Okay.       Dr. Decker, countless musical
  22     works predating the creation of "Joyful Noise" have
  23     contained ostinatos, correct?
  24               A.     Yes.
  25               Q.     Dr. Decker, is it correct that your

                             TSG Reporting - Worldwide   877-702-9580
                                 EXHIBIT 24
                                 PAGE 836
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 41 of 145 Page ID
                                   #:3176

                                                                                      Page 218
    1               A.    I would need -- I can't answer that as
    2    a yes or no.
    3               Q.    You don't know one way or the other?
    4               A.    I do have an opinion, but I can't
    5    answer it as a yes or no.
    6               Q.    So it's possible that prior countless
    7    composers have created songs using -- do you
    8    disagree that countless prior composers have created
    9    songs --
   10               A.    I would need to --
   11               Q.    -- using two-bar units of eight beats
   12    in length?
   13               A.    I would need to see the repertoire --
   14    the body of music you're talking about.                            I would
   15    need to see the repertoire we're talking about here.
   16               Q.    Okay.       So you don't -- I'm talking
   17    about hip hop music.            Do you know?
   18               A.    Hip hop music?
   19               Q.    Yes, sir.
   20               A.    I would assume that patterns of two-bar
   21    units of eight beats to be quite common.
   22               Q.    Okay.       Thank you, sir.                   And pop music,
   23    contemporary pop music?
   24               A.    Depends on the genre.
   25               Q.    It's a very beat-driven pop music.

                             TSG Reporting - Worldwide   877-702-9580


                                  EXHIBIT 24
                                  PAGE 837
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 42 of 145 Page ID
                                   #:3177


                                                                            Page 219
    1               A.     More likely than say country, yeah.
    2               Q.     So it would be very common, correct, or
    3    you don't know?
    4               A.     I'm thinking.            Can you phrase -- say
    5    the question again, please?
    6               Q.     Yeah.      Countless composers of
    7    contemporary beat-driven pop music have used two-bar
    8    units of eight beats in length, correct?
    9               A.     I don't like the word countless, but
   10    yes.
   11               Q.     A great many composers of contemporary
   12    beat-driven pop music?
   13               A.     Sure.      Sure.
   14               Q.     Okay.      The use of a two-bar phrase is a
   15    basical musical -- is a basic musical building
   16    block, correct?
   17               A.     In what music?
   18               Q.     Hip hop.
   19               A.     Sure.      Yes.
   20               Q.     Two-bar phrases are a basic musical
   21    building block in beat-driven pop music, correct?
   22               A.     Yes.
   23               Q.     Okay.      Four- or eight-bar phrases are a
   24    basic musical building block in hip hop or
   25    contemporary beat-driven pop, correct?

                             TSG Reporting - Worldwide   877-702-9580

                                  EXHIBIT 24
                                  PAGE 838
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 43 of 145 Page ID
                                   #:3178


                                                                                 Page 220
     1               A.    Say that again.
     2               Q.    Four- or eight-bar phrases --
     3               A.    Yeah.
     4               Q.    Okay.       Certainly not something any
     5    composer is entitled to monopolize, correct?
     6               A.    It's the part of the structure of the
     7    music.     Things happen after -- things happen in
     8    groups of four.        Usually groups of four.                  Not groups
     9    of two, but groups of four.
    10               Q.    So that's correct, it's not something
    11    anyone is entitled to monopolize, correct?
    12                     MR. KAHN:          Are you asking for a legal
    13    opinion?
    14                     MR. MOVIT:           I'm asking for his opinion
    15    as a music scholar whether anyone should be entitled
    16    to monopolize the idea of a two-bar, four-bar or
    17    eight-bar phrase.
    18               A.    I don't think it would be possible to
    19    do such a thing.         Meter is ancient and it's not
    20    something you could corner.
    21               Q.    (By Mr. Movit)                 Duple meter time is
    22    commonplace, correct?
    23               A.    Yeah.
    24               Q.    Okay.       Your opinion, duple meter time
    25    is not something any one composer is entitled to

                              TSG Reporting - Worldwide    877-702-9580


                                 EXHIBIT 24
                                 PAGE 839
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 44 of 145 Page ID
                                   #:3179


                                                                                   Page 221
     1    monopolize, correct?
     2              A.     Sure.
     3              Q.     Okay.       Eight even quarter notes is a
     4    very simple rhythm, correct?
     5              A.     I never use the word simple lightly
     6    with music.      I don't.         Because it implies
     7    comparative and -- you know.                    So I avoid using the
     8    word simple in that way.
     9                     So I would elect not to answer the
    10    question just because -- in my own writing and in my
    11    teaching because it -- it implies a sort of facile
    12    approach to the question of rhythm and what is
    13    simple or complex.           It's just not a word I use.
    14              Q.     Dr. Decker, if you'd please look at
    15    page five of your initial report.                        Paragraph c.,
    16    Rhythm.     (Quote as read):
    17                     The ostinatos in "Joyful Noise" and
    18                     "Dark Horse" are identical in rhythm.
    19                     Both use eight even quarter notes in
    20                     duple meter time.                 The relative
    21                     simplicity of this rhythmic choice,
    22                     even quarter note motion realized in
    23                     "Joyful Noise" and "Dark Horse" alike
    24                     in a stiff and mechanical style is
    25                     noteworthy.

                              TSG Reporting - Worldwide   877-702-9580
                                 EXHIBIT 24
                                 PAGE 840
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 45 of 145 Page ID
                                   #:3180

                                                                                       Page 223
    1    this is as I state here a relatively -- is a --
    2    the -- evidences a kind of relative simplicity.
    3                     It's all about musical context.                         Four
    4    even quarter notes in certain kinds of musical
    5    styles can be the climax of the piece.                            So -- so
    6    that's why I'm careful with the word simple as a
    7    music scholar --
    8               Q.    (By Mr. Movit)                 Okay.      Okay.
    9               A.    -- because it assumes a lot.
   10               Q.    Professional adults making commercial
   11    music in the 21st century, for them eight even
   12    quarter notes is a very simple rhythm, is it not?
   13               A.    That was my point by saying relative
   14    simplicity.
   15               Q.    Okay.       So that would be correct, would
   16    it not?
   17               A.    That would be correct.                         I phrase it
   18    differently here, yes.
   19               Q.    No composer in your opinion is entitled
   20    to monopolize the rhythm of eight even quarter
   21    notes, correct?
   22               A.    No.
   23               Q.    That's correct?
   24               A.    Yes, that's correct.                     No composer is.
   25               Q.    Certainly the authors of "Joyful Noise"

                             TSG Reporting - Worldwide    877-702-9580


                                 EXHIBIT 24
                                 PAGE 841
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 46 of 145 Page ID
                                   #:3181


                                                                                        Page 224
    1    are not the first composers in history to use eight
    2    even quarter notes in duple meter time, correct?
    3               A.     No.
    4               Q.     That's correct?
    5               A.     That's correct.
    6               Q.     Dr. Decker, there are only two types of
    7    keys or modes, major and minor, correct?
    8               A.     No.
    9                      (WHEREIN, a discussion was held off the
   10    record.)
   11                      MR. MOVIT:          If it's marked twice, it's
   12    marked twice.       I'd rather continue here.
   13                      MR. CHIEFFO:            Okay.
   14                      MR. MOVIT:          I don't believe it was.
   15                      THE WITNESS:            Yes, it is.              Yeah.
   16                      MR. MOVIT:          Oh, it is?                Okay.   It's
   17    been marked twice.
   18                      THE WITNESS:            Yeah.
   19                      MR. MOVIT:          It's marked twice.                It's
   20    fine.
   21                      THE WITNESS:            You're right.
   22               Q.     (By Mr. Movit)                Okay.      Dr. Decker, do
   23    you know if The Harvard Dictionary of Music states
   24    if there's two types of modes or keys, major and
   25    minor?

                             TSG Reporting - Worldwide    877-702-9580
                                 EXHIBIT 24
                                 PAGE 842
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 47 of 145 Page ID
                                   #:3182

                                                                                  Page 230
    1    radio a lot?
    2               A.    I listen to -- yeah.                    I suppose.
    3               Q.    Is any composer allowed to monopolize
    4    the use of a minor key?
    5               A.    No.
    6               Q.    Look at your initial report, sir, that
    7    you currently have open as Exhibit 33.
    8               A.    Yes.
    9               Q.    Look at the bottom of page six.                      Roman
   10    numeral eight near the bottom, do you see that?
   11               A.    Yeah.
   12               Q.    Okay.       Last sentence you state (quote
   13    as read):
   14                     The fourfold repetition of scale degree
   15                     three followed by the dissent to scale
   16                     degree two is the most specific musical
   17                     content shared by both tracks.
   18                     That's what you wrote, correct?
   19               A.    Yes.
   20               Q.    Okay.       So another way of saying what
   21    you've opined to be the most specifical -- specific
   22    musical content shared by both tracks would be 3, 3,
   23    3, 3, 2, 2, correct?
   24               A.    No.
   25               Q.    Scale degree three, scale degree three,

                             TSG Reporting - Worldwide   877-702-9580

                                 EXHIBIT 24
                                 PAGE 843
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 48 of 145 Page ID
                                   #:3183

                                                                                 Page 231
     1    scale degree three, scale degree three, scale degree
     2    two, scale degree two?
     3              A.     No, 3, 3, 3, 3, 2.                  That's what the
     4    sentence says.
     5              Q.     So scale --
     6              A.     The dissent to two, the fourfold
     7    repetition of three followed by dissent to two, it's
     8    the motion to two.
     9              Q.     Okay.      Okay.
   10               A.     That is distinctive and that catches
   11     the ear.
   12               Q.     Okay.      So the -- the most distinctive
   13     musical content shared between the tracks is 3, 3,
   14     3, 3, 2; is that correct?
   15               A.     That's what it says, yes.
   16               Q.     Okay.      And that's your opinion,
   17     correct?
   18               A.     Yes.
   19               Q.     Okay.      So another way of saying that
   20     would be -- in the solfège system would be mi, mi,
   21     mi, mi --
   22                      (Court Reporter interruption.)
   23               Q.     (By Mr. Movit)                -- in the solfège
   24     system would be mi, mi, mi, mi, re, correct?
   25               A.     Yes.     Yeah, I mean, if you're not going

                             TSG Reporting - Worldwide    877-702-9580



                                  EXHIBIT 24
                                  PAGE 844
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 49 of 145 Page ID
                                   #:3184



                                                                                 Page 232
     1    to do the fancy minor mode stuff.                        Yeah.
     2               Q.    Mi, mi, mi, mi, re in a minor key,
     3    correct?
     4               A.    Yeah, mi, mi, mi, mi, re.                     Yeah.
     5               Q.    Okay.       The composers of "Dark Horse"
     6    are not the first people in the world to come up
     7    with mi, mi, mi, mi, re, are they?
     8               A.    I wouldn't be able to answer that.
     9               Q.    You don't know one -- you don't know
    10    one way or the other, mi, mi, mi, mi, re?
    11               A.    I don't have evidence one way or the
    12    other.     Are we just talking the pitches or also the
    13    rhythmic realization?
    14               Q.    Get to the -- we'll get to the rhythm
    15    in a moment, but mi, mi, mi, mi, re?
    16               A.    I'm sure that's been used before, but
    17    the -- but the point that is made here in this
    18    section of my report has to do with the strong
    19    rhythmic placement of the half step dissent from
    20    three to two.
    21                     So you could repeat 3, 3, 3, 2 all you
    22    want and use that and I'm sure it's been used, but
    23    if it's not with a distinctive -- the shared
    24    material between these works is that -- is that
    25    rhythmic placement.           So it's a combination of

                              TSG Reporting - Worldwide   877-702-9580
                                 EXHIBIT 24
                                 PAGE 845
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 50 of 145 Page ID
                                   #:3185

                                                                                     Page 233
   1     pitches and rhythmic placement and rhythm.                          So --
   2               Q.     The rhythmic place --
   3               A.     I'm sure other folks have used those
   4     notes, but that's not enough --
   5               Q.     In that order, correct, mi, mi, mi, mi,
   6     re, correct?
   7               A.     Mi, mi, mi, mi, re?
   8               Q.     Yeah.
   9               A.     In minor?
  10               Q.     Is that something that -- in minor.
  11               A.     Yeah.
  12               Q.     Yeah.       Mi, mi, mi, mi, re is not a
  13     pitch sequence in any key or any mode that anyone is
  14     entitled to monopolize, correct?
  15               A.     No -- or correct.                 Yes.        Just the pitch
  16     sequence, right.
  17               Q.     And the "Dark Horse" composers are not
  18     the first composers to have used mi, mi, mi, mi, re
  19     on even quarter notes, correct?
  20               A.     Apparently not, no.
  21               Q.     So I'm correct, right?
  22               A.     Yes.
  23               Q.     Okay.       The -- the timbre as in "Dark
  24     Horse" and "Joyful Noise" with respect to the
  25     ostinatos are not identical, correct?

                             TSG Reporting - Worldwide   877-702-9580
                                 EXHIBIT 24
                                 PAGE 846
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 51 of 145 Page ID
                                   #:3186

                                                                           Page 234
    1               A.     Correct.
    2               Q.     The use of a pingy, synthesized timbre
    3    is not something that any composer is entitled to
    4    monopolize, correct?
    5               A.     Correct.
    6               Q.     Have you ever conducted a survey of the
    7    use of frequency of the use of a pingy, synthesized
    8    timbre in hip hop and hip hop-influenced popular
    9    music?
   10               A.     No.
   11               Q.     So it's possible that that's common,
   12    correct?
   13               A.     Yes.      A lot of things are possible.
   14               Q.     Dr. Decker, "Mary Had a Little Lamb" is
   15    the same composition, whether it's played on a
   16    flute, a trumpet or a synthesizer with a pingy
   17    timbre, correct?
   18               A.     Yes.
   19               Q.     Okay.       Dr. Decker, repetitive
   20    syncopated bass lines are common in popular music,
   21    correct?
   22               A.     Yes.
   23               Q.     Dr. Decker, isn't it correct that
   24    whether an instrument in a sound recording is in the
   25    front of the mix or the back of the mix is an aspect

                              TSG Reporting - Worldwide   877-702-9580
                                  EXHIBIT 24
                                  PAGE 847
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 52 of 145 Page ID
                                   #:3187

                                                                               Page 243
    1    at approximately 4:17 p.m.
    2               Q.    (By Mr. Movit)                 Dr. Decker, are you
    3    still able to testify to the best of your ability?
    4               A.    Yes.
    5               Q.    Okay.       As we discussed previously,
    6    "Joyful Noise" and "Dark Horse" are in different
    7    keys, correct?
    8               A.    Yes.
    9               Q.    Okay.       The harmony is different in
   10    "Joyful Noise" than in "Dark Horse," correct?
   11               A.    Yes.
   12               Q.    Okay.       The harmonic rhythm is different
   13    in "Joyful Noise" than in "Dark Horse," correct?
   14               A.    Yes.
   15               Q.    The tempo is not the same in "Joyful
   16    Noise" and "Dark Horse," correct?
   17               A.    Yes.
   18               Q.    Okay.       "Joyful Noise" is faster than
   19    "Dark Horse," correct?
   20               A.    Slightly.
   21               Q.    It is faster, correct?
   22               A.    Yes.
   23               Q.    Okay.       Your reports do not set forth
   24    any similarities between the vocal melody in "Dark
   25    Horse" and the vocal melody --

                             TSG Reporting - Worldwide    877-702-9580


                                  EXHIBIT 24
                                  PAGE 848
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 53 of 145 Page ID
                                   #:3188


                                                                                    Page 244
    1                     (Court reporter interruption.)
    2               Q.    (By Mr. Movit)                 -- melody in "Dark
    3    Horse" and the vocal melody in "Joyful Noise,"
    4    correct?
    5               A.    Correct.
    6               Q.    Your reports do not set forth any
    7    similarities between the rhythms of the rap vocals
    8    in "Dark Horse" and the rhythms of the rap vocals in
    9    "Joyful, Noise," correct?
   10               A.    Correct.
   11               Q.    The drum rhythms in "Dark Horse" are
   12    different from the drum rhythms in "Joyful Noise,"
   13    correct?
   14               A.    Correct.
   15               Q.    There are obvious formal differences
   16    between the two tracks at issue, correct?
   17               A.    Correct.
   18                     MR. MOVIT:           Okay.         And those -- strike
   19    that.
   20                     Okay.       We're going to mark the Ferrara
   21    rebuttal report as the next exhibit.                            We've already
   22    marked the exhibits, but not the report itself, I
   23    believe.
   24                     MR. KAYIRA:            Are you referring to the
   25    first rebuttal report or the second rebuttal report?

                             TSG Reporting - Worldwide    877-702-9580
                                 EXHIBIT 24
                                 PAGE 849
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 54 of 145 Page ID
                                   #:3189

                                                                           Page 253
    1              A.     Yeah.       33 is my original report.
    2              Q.     Oh.     My bad.          I want you to look at
    3    your rebuttal first.
    4              A.     It's two, yeah.
    5              Q.     Two.      And if you'd please turn to
    6    page 33.
    7              A.     Yes.
    8              Q.     You see the very top row in the chart
    9    on the top of 33?
   10              A.     Of 33, yes.
   11              Q.     Yes, sir.          So is it fair to say that in
   12    your response to Dr. Ferrara's citation of prior art
   13    tracks, including a rap section, you responded that
   14    (quote as read):
   15                     Large scale form such as an inclusion
   16                     of a rap section is not at issue in
   17                     this case.
   18                     Right?
   19              A.     That's what it says, yes.
   20              Q.     Okay.       So it's your opinion that large
   21    scale form is not at issue in this case, correct?
   22              A.     Yes.
   23              Q.     Okay.       Okay.        And then in your initial
   24    report, Dr. Decker, would you please turn to
   25    page 13?     And on section 3 a. you said -- stated

                             TSG Reporting - Worldwide   877-702-9580


                                  EXHIBIT 24
                                  PAGE 850
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 55 of 145 Page ID
                                   #:3190


                                                                          Page 254
     1    that similarities in large scale form between
     2    "Joyful Noise" and "Dark Horse" are (quote as read):
     3                     To be expected given the dominance of
     4                     eight-beat phrases and 16-bar sections
     5                     in contemporary popular music.
     6                     Right?
     7              A.     Yes.
     8              Q.     Please look at page 11 of your initial
     9    report, Roman numeral five.
   10               A.     Yeah.
   11               Q.     You opine that "Dark Horse" and "Joyful
   12     Noise" in fact display differences in large scale
   13     form, correct?
   14               A.     That are arguably products of their
   15     different generic identification, yeah.
   16               Q.     And as we discussed earlier,
   17     Dr. Decker, while the ostinato in "Joyful Noise"
   18     repeats throughout the song, ostinato two in "Dark
   19     Horse" comes and goes, correct?
   20               A.     Yes.
   21               Q.     Okay.       And for example, it's absent
   22     from the introduction section and the chorus
   23     sections, correct?
   24               A.     Yes.
   25               Q.     And that's another example in

                              TSG Reporting - Worldwide   877-702-9580


                                  EXHIBIT 24
                                  PAGE 851
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 56 of 145 Page ID
                                   #:3191


                                                                                Page 255
     1    difference in form, large scale form between "Dark
     2    Horse" and "Joyful Noise," correct?
     3              A.     Yes.
     4              Q.     Okay.       And it's -- you would agree it's
     5    commonplace in contemporary popular music for a
     6    vocal performer to rap over a repetitive
     7    instrumental part?
     8              A.     Repeat.
     9              Q.     It's common in contemporary popular
    10    music for a vocal performer to rap over a repetitive
    11    instrumental part, correct?
    12              A.     Rappers rap.             Singers tend not to.        So
    13    vocal perform -- I guess -- are we making a
    14    distinction between vocal performers and rappers or
    15    people that use their voice?
    16              Q.     I -- let me rephrase.                    Rap vocal
    17    performances over repetitive instrumental parts are
    18    common --
    19              A.     Yes.      Rap --
    20              Q.     -- in contemporary popular music,
    21    correct?
    22              A.     Yes.
    23              Q.     Yes?
    24              A.     Yes.
    25              Q.     All right.

                              TSG Reporting - Worldwide   877-702-9580


                                  EXHIBIT 24
                                  PAGE 852
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 57 of 145 Page ID
                                   #:3192


                                                                                     Page 256
     1                     THE WITNESS:             Sorry.
     2                     MR. KAHN:          That's okay.                I'm just
     3    saying.
     4              Q.     (By Mr. Movit)                 A great many popular
     5    songs feature both singing and rapping, correct?
     6              A.     Indeed.
     7              Q.     Okay.       In fact, you opined that rap
     8    sections of pop songs are unremark -- unremarkable,
     9    correct?
    10              A.     Yes.
    11              Q.     Okay.       And a great many popular songs
    12    contain break sections, correct?
    13              A.     Defined as?
    14              Q.     Well, you -- you opine that there are
    15    break sections in both "Dark Horse" and "Joyful
    16    Noise," correct?
    17              A.     I -- I need -- I need the word break
    18    defined here because there's two different -- break
    19    can refer to two different musical --
    20              Q.     I'm not talking about like drum
    21    break -- you know, like a drum break like, you know,
    22    as a break beat.         I'm just talking like a break
    23    section as you have used it in your report.
    24                     MR. KAHN:          Is there a sentence you can
    25    point to to help him?

                              TSG Reporting - Worldwide    877-702-9580


                                  EXHIBIT 24
                                  PAGE 853
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 58 of 145 Page ID
                                   #:3193


                                                                                      Page 257
     1               Q.    (By Mr. Movit)                 Okay.      In your initial
     2    report on page 13.
     3               A.    Yeah.
     4               Q.    You have in your diagram at the bottom
     5    of the page you used the -- the letter Z to signify
     6    a break section, correct?
     7               A.    I don't call it a break.                       I call it a
     8    sing iteration of the four-bar ostinato.                          This is
     9    exactly the -- the interesting formal similarity
    10    between these tracks that leads my ear to think that
    11    this ostinato is best expressed as two repetitions
    12    of the eight-note figure.
    13               Q.    You opine that there's two Z sections
    14    in "Joyful Noise," but only one Z section in "Dark
    15    Horse," correct?
    16               A.    Yeah, that's in the table.
    17               Q.    Okay.       And that's a structural
    18    difference between "Dark Horse" and "Joyful Noise,"
    19    correct?
    20               A.    That there's two Z's in one -- that
    21    there's -- that there's two in "Joyful Noise" the
    22    pop track and that there's only one in the rap
    23    track, yes.
    24               Q.    No, there's only one in the pop track
    25    and two in the --

                              TSG Reporting - Worldwide    877-702-9580
                                 EXHIBIT 24
                                 PAGE 854
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 59 of 145 Page ID
                                   #:3194

                                                                                Page 263
    1    music for "Jolly Old St. Nicholas," correct?
    2               A.    Correct.
    3               Q.    Okay.       And it contains the pitch
    4    sequence scale degree three, scale degree three,
    5    scale degree three, scale degree three, four
    6    iterations of scale degree three followed by three
    7    iterations of scale degree two on even quarter notes
    8    in duple time, correct?
    9               A.    The third iteration of scale two is a
   10    half note.
   11               Q.    Okay.       Dr. Decker, "Jolly Old
   12    St. Nicholas" sheet music I just provided you has
   13    four iterations of scale degree three followed by
   14    two iterations of scale degree two in duple time on
   15    quarter notes, correct?
   16               A.    Correct.
   17                     MR. MOVIT:           Next exhibit.
   18                     COURT REPORTER:                 39.
   19                     (WHEREIN, Exhibit 39, Excerpt from
   20    Tradition of Excellence, was marked for
   21    identification by the Court Reporter.)
   22               Q.    (By Mr. Movit)                 39.     Dr. Decker, this
   23    is the Tradition of Excellence instructional book
   24    that was an exhibit to Dr. Ferrara's first report.
   25               A.    Yes.

                             TSG Reporting - Worldwide    877-702-9580


                                 EXHIBIT 24
                                 PAGE 855
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 60 of 145 Page ID
                                   #:3195


                                                                                   Page 264
    1               Q.     Okay.       Dr. Decker, "Merrily We Roll
    2     Along" in this exhibit contains the pitch sequence
    3     of four iterations of scale degree three followed by
    4     two iterations of scale degree two, correct?
    5               A.     Correct.
    6                      MR. MOVIT:           Okay.         Thank you.     No
    7     further questions about that document.                          We'll take a
    8     break, get my stuff in order.                     We're in the
    9     homestretch, though.            Off the record.
   10                      VIDEOGRAPHER:             We're going off the
   11     record at approximately 4:50 p.m.
   12                      (WHEREIN, a recess was taken.)
   13                      (WHEREIN, Exhibit 40, CD of audio
   14     Exhibit 1 to Dr. Ferrara's initial report, was
   15     marked for identification by the Court Reporter.)
   16                      VIDEOGRAPHER:             We're back on the record
   17     at approximately 5:09 p.m.
   18               Q.     (By Mr. Movit)                 Dr. Decker, you still
   19     able to testify to the best of your ability?
   20               A.     Yes.
   21               Q.     Okay.       I'm now going to play a track
   22     from audio -- which we've marked as Exhibit 40, the
   23     first CD of audio Exhibit 1 to Dr. Ferrara's initial
   24     report.     I'm not referencing any other documents for
   25     my questioning coming up now.

                              TSG Reporting - Worldwide    877-702-9580
                                  EXHIBIT 24
                                  PAGE 856
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 61 of 145 Page ID
                                   #:3196




                                                                                  Page 304 \
       1    report, right?                                                                 \
       2             A.    Yes.
       3             Q.     Okay.      So you had a full and fair
       4    opportunity to take those issues with his
       5    transcription and you chose not to, correct?
       6             A.     In my reply.
       7             Q.    Yes, sir.          You criticize the relevance                  j
       8    of Dr. Ferrara's prior art for ostinato number one                             1
       9    but you don't criticize his transcriptions, do you?
      10             A.     I do, and I made -- I misspoke earlier
      11    in my table on page 32.             I call into question                       1
      12    transcription and -- I call into question the
      13    transcriptions of several of these.'                                           1



      14                                                                                   !
                     Q.    You call into question his
      15                                                                                   *
            transcription at "Joyful Noise," not the
                                                                                           i
      16    transcriptions of the prior art, correct?
      17             A.    Ah, yes.         Right.         So yes.                         j
      18             Q.    Okay.       So you had a full and fair
      19    opportunity to criticize Dr. Ferrara's                                         j
      20    transcriptions and you did not, correct?                     Of the
      21    prior art?
                                                                                           i


      22             A.     I did have the opportunity to do that.
      23             Q.    And you did not, correct?
                                                                                           j
      24             A.    Did not do what?
      25             Q.    Challenge the accuracy of his


                              TSG Reporting - Worldwide   877-702-9580




                                  EXHIBIT 24
                                  PAGE 857
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 62 of 145 Page ID
                                   #:3197




                                                                                     Page 305
       1    transcriptions of the prior art.                     You challenged the
       2    relevance, but not the accuracy, correct?
       3             A.     In this case, no.
       4             Q.    Yeah.       Correct?
       5             A.     Correct.
       6                   MR. MOVIT:           Okay.        Okay.       We may be
       7    finished for the day.           Just give me five minutes off
       8    the record.
       9                   VIDEOGRAPHER:             We're going off the
      10    record at approximately 6:35 p.m.
      11                    (WHEREIN, a recess was taken.)
      12                   VIDEOGRAPHER:             We're back on the record
      13    at approximately 6:43 p.m.
      14                   MR. MOVIT:           Okay.        So Mr. Kahn and I
      15    spoke during the break and Mr. Kahn says he has
      16    about five minutes of redirect.                    Based upon that
      17    representation, and -- and Mr. Kahn's representation
      18    that I can do recross after that and won't
      19    filibuster out, I'm willing to say that we are done
      20    for the day.     Of course, I reserve the right should
      21    new evidence come into the case that's pertinent to
      22    the witness's opinions to continue the deposition,
      23    but with that, I will turn it over to redirect.
      24                    I will say that both myself and Vince
      25    Chieffo on the phone may have objections,


                              TSG Reporting - Worldwide   877-702-9580




                                 EXHIBIT 24
                                 PAGE 858
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 63 of 145 Page ID
                                   #:3198

                                                                                 Page 310
    1    similarities between these tracks -- these songs and
    2    the tracks at issue.            Something happens in "Jolly
    3    Old St. Nicholas."           It's a half note and the pattern
    4    continues differently after that in terms of pitch
    5    content and rhythm.
    6                     And in "Merrily We Roll Along" some --
    7    you know, there's a similar different playing out to
    8    the rest of these tones -- these tunes.                        I just
    9    object fundamentally to the idea that you can find
   10    six similar pitches, six similar scale degrees, much
   11    less in a different mode and say that the similarity
   12    that these are -- that this is trite and common
   13    material that's just out there floating around in
   14    the world.      The genre differences also play into
   15    this.    I mean, neither one of these are melodic
   16    ostinatos intended to build a pop music or rap track
   17    on.
   18               Q.    (By Mr. Kahn)             Finally, I'd like you to
   19    look at Professor Ferrara's rebuttal report, which
   20    is Decker Exhibit 34.
   21               A.    Got it.
   22               Q.    And in particular to his conclusions
   23    which are in paragraph 152 and 153 --
   24               A.    Got it.
   25               Q.    -- on page 48 and 49 and specifically

                             TSG Reporting - Worldwide   877-702-9580



                                 EXHIBIT 24
                                 PAGE 859
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 64 of 145 Page ID
                                   #:3199


                                                                                Page 311
    1    to the first item in each one.                      For 152 I will read
    2    (quote as read):
    3                      I continue to find that the initial
    4                      Decker report fails because of the
    5                      absence of any transcriptions into
    6                      musical notation by Dr. Decker of any
    7                      of the expression they placed in issue.
    8                      Paragraph 153 leads into a series of
    9    additional points, moreover, it reads in the second
   10    sentence (quote as read):
   11                      The Decker rebuttal report fails
   12                      because of, (a), the continued absence
   13                      of any transcriptions into musical
   14                      notation by Dr. Decker of any of the
   15                      expressions he placed in issue.
   16                      Did you see both of those, sir?
   17               A.     Yes.
   18               Q.     Do you have a response?
   19                      MR. MOVIT:          Objection, compound.
   20               A.     So the -- the use of musical notation
   21    is always a rhetorical one.                     The examples from my
   22    own work that were included today in the early
   23    exhibits, in every single case I was using
   24    transcription, which I very rarely use because I was
   25    dealing with pre-rock and roll popular music, I was

                             TSG Reporting - Worldwide    877-702-9580

                                  EXHIBIT 24
                                  PAGE 860
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 65 of 145 Page ID
                                   #:3200


                                                                                    Page 312
    1    using transcription to point the listener's ear
    2    toward a select element of the recording at issue.
    3                      So it was serving a rhetorical point.
    4    It was serving an interested argument.                         And in many
    5    ways the -- such a musical example, a transcription
    6    invites the listener to test the author's ear.                         I
    7    did not include -- so -- and this -- this is also
    8    the case with the examples from the work of Albin
    9    Zak and the work of Mark Butler that were also put
   10    in exhibit.
   11                      Sure, these authors both of whom I know
   12    personally, Albin Zak was my professor at Wash -- at
   13    University of Michigan, both of them use
   14    transcriptions, they use them paired -- typically --
   15    certainly Mark Butler does in his article as it says
   16    on the exhibit, uses transcriptions paired with
   17    audio recordings so that you can compare and test
   18    his work.
   19                      So a transcription is always up for
   20    testing and the -- if it matches what the ear hears.
   21    And much of my report, much of my rebuttal -- my
   22    response and my rebuttal to Professor Ferrara's
   23    report was saying that I don't hear things -- I
   24    didn't hear his transcriptions in that way and I
   25    perceived uninterested elements in his

                             TSG Reporting - Worldwide   877-702-9580

                                 EXHIBIT 24
                                 PAGE 861
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 66 of 145 Page ID
                                   #:3201

                                                                                 Page 313
    1    transcriptions that would try to pull our ear away
    2    from the very evident similarities between these two
    3    tracks.
    4                     Similarities that are demonstrated in
    5    the two mashups that I put in as exhibits, Exhibits
    6    A and B in my response where an argument is made in
    7    sound.     And what's crucial about the work of someone
    8    like Albin Zak and Mark Butler both is that they
    9    believe that this music that we're talking about is
   10    understood by the ear.
   11                     It's made by the ear and it's -- by
   12    listening and it's understood by listening.                     And any
   13    transcription -- and transcription is a -- is a tool
   14    to point our listening in a specific direction.                      I
   15    feel like many -- like Professor Ferrara's
   16    transcriptions try to point us -- pull us away from
   17    what is extremely evident to the ear.
   18                     The ear decides in this case, the
   19    similarity of these ostinatos, these eight-note
   20    ostinatos.      We can debate as long as you want about
   21    how to render those in writing.                      The point of the
   22    matter is that the makers of those songs, of neither
   23    one of those tracks felt it necessary to render it
   24    in writing.
   25                     As I understand it the copyright

                             TSG Reporting - Worldwide   877-702-9580


                                 EXHIBIT 24
                                 PAGE 862
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 67 of 145 Page ID
                                   #:3202


                                                                          Page 314
    1    deposit materials for both of these tracks are sound
    2    recordings.      There's no text we can go to to see
    3    what these -- these music-maker, these creators of
    4    these tracks how they thought about it in terms of
    5    notation, traditional notation.
    6                     Their areas, rap and -- and pop are not
    7    areas that -- where -- where notation is
    8    necessary -- it's necessary to know notation.
    9    Indeed Mark Butler in his most recent book on DJ'ing
   10    doesn't have any musical examples at all.
   11                     He has left aside musical examples and
   12    instead uses the kind of tabular charts that --
   13    similar to the one that I used in my first report
   14    because it points the ear towards hearing something
   15    that was never conceived by way of notation.
   16                     So to me the case needs -- the
   17    similarity between these tracks comes down to
   18    something that is audible, that can be heard.                  And
   19    so I distrust any efforts to use the eye to use
   20    printed notation or writing or transcriptions to
   21    pull us away from the evident similarity between the
   22    two tracks, one that is commonly -- commonly
   23    recognized by people that I -- you know, by -- by
   24    the ear, I think, to my -- to my hearing.
   25                     MR. KAHN:          I have nothing further.

                             TSG Reporting - Worldwide   877-702-9580
                                 EXHIBIT 24
                                 PAGE 863
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 68 of 145 Page ID
                                   #:3203

                                                                                Page 316
    1                      MR. KAHN:          So how long does a rough
    2    draft take?
    3                      COURT REPORTER:                End of day today.
    4                      MR. KAHN:          I'll do the final.
    5                      COURT REPORTER:                Just electronic
    6    version?
    7                      MR. KAHN:          Great.
    8                      COURT REPORTER:                And then Vince, no
    9    rough, and you said a full and condensed of the
   10    final?
   11                      MR. CHIEFFO:             Yeah.        I'd like -- send
   12    me a rough.
   13                      COURT REPORTER:                Yes, sir.
   14                      (WHEREIN, the deposition was concluded
   15    at 7:00 p.m.)
   16

   17

   18

   19

   20

                                                             _____________________
   21

                                                             Signature of Deponent
   22

         SUBSCRIBED AND SWORN BEFORE ME
   23    THIS ____ DAY OF __________, 2018.
   24    ____________________
   25    (Notary Public)           MY COMMISSION EXPIRES:__________

                              TSG Reporting - Worldwide   877-702-9580
                                 EXHIBIT 24
                                 PAGE 864
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 69 of 145 Page ID
                                   #:3204




                                                                                   Page 317
       1                      CERTIFICATE OF REPORTER
       2

       3                    I, William L. Devries, a Certified
       4    Court Reporter (MO), Registered Diplomate Reporter,
       5    and a Certified Realtime Reporter, do hereby certify
       6    that the witness whose testimony appears in the
       7    foregoing deposition was duly sworn by me pursuant
       s    to Section 492.010 RSMo; that the testimony of said
       9    witness was taken by me to the best of my ability
      10    and thereafter reduced to typewriting under my
      11    direction; that I am neither counsel for,                    related
      12    to, nor employed by any of the parties to the action
      13    in which this deposition was taken, and further that
      14    I am not a relative or employee of any attorney or
      15    counsel employed by the parties thereto, nor
      16    financially or otherwise interested in the outcome
      17    of the action.
      1s    Dated: February
      19

      20

      21                      Certified Court Reporter
      22               within and for the State of Missouri
      23

      24

      25



                              TSG Reporting - Worldwide   877-702-9580




                                 EXHIBIT 24
                                 PAGE 865
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 70 of 145 Page ID
                                   #:3205

                                                                                Page 318
    1                            ERRATA SHEET
    2    Case Name:
    3    Deposition Date:
    4    Deponent:
    5    Pg.   No. Now Reads              Should Read            Reason
    6    ___   ___ __________             __________             ____________________
    7    ___   ___ __________             __________             ____________________
    8    ___   ___ __________             __________             ____________________
    9    ___   ___ __________             __________             ____________________
   10    ___   ___ __________             __________             ____________________
   11    ___   ___ __________             __________             ____________________
   12    ___   ___ __________             __________             ____________________
   13    ___   ___ __________             __________             ____________________
   14    ___   ___ __________             __________             ____________________
   15    ___   ___ __________             __________             ____________________
   16    ___   ___ __________             __________             ____________________
   17    ___   ___ __________             __________             ____________________
   18    ___   ___ __________             __________             ____________________
   19    ___   ___ __________             __________             ____________________
   20

                                                          _____________________
   21

                                                          Signature of Deponent
   22

         SUBSCRIBED AND SWORN BEFORE ME
   23    THIS ____ DAY OF __________, 2018.
   24    ____________________
   25    (Notary Public)         MY COMMISSION EXPIRES:__________

                              TSG Reporting - Worldwide   877-702-9580
                                 EXHIBIT 24
                                 PAGE 866
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 71 of 145 Page ID
                                   #:3206




                                                                                               Keep tirn<:: 1,vith th:: tirn.:s       19 3

                          EXA:\fPLE    -4. Bo1.T1.::-and },l;:rct:r's i;Dig Ir''   (S20J1L{   Chorus); rhe   "').,.'!      JS   sung 2.nd
                          tapped by Astaire     0!1   his pop




                             FA t 1p:, H !----'"!'->;--;-------~------+--------- ---------,--·-- ----.,---------;-------
                          ·: n rce-:rJ




                              The "I" of i\Iercer's lyric expresses a willingness to try a new step,
                           even though he's be:en unsuccessful doing the Conga, mazurka, Charles-
                           ton, and polka. l\lercer's having fun here: no one was dancing the ma-
                           zurka in 1940. But the other three were fair game. The 1ie-w step is never
                           defined in the song. The lyric instead expresses the willingness to try a
                          new dance mm-c, which is exactly what Goddard had to do in the film.
                          This is her only cLrnce number. Created for a p:utner with no experience
                          and little e\-ident aptitude, in a lmv-budger production context \vhere
                          speed and simplicity were of the essence--Pan even plays a sideline part
                          in the band-"Dig It" is among the easiest dances Astaire and Pan ever
                          made. In that sense, it is doable by the public, alrhough it would h,we
                          been impossible to catch the steps from w,1tching the film in a theater
                           (more on this below).
                              The steps of the dance slavishly follow the rhythm of the riffy tune and
                          dance arrangement. Such a sustained coordination between the dance and
                          the top rhythmic le,-el of the arrangement is unusual. Typically Astaire
                          explores a complicated inner rhythm or adds a new rhythm, dancing the
                          stems selectively. Here, Astaire and Goddard stay on the stems almost
                          the whole time. "Dig It" includes a section where rbe couple hold opposite
                          hands, lean back from each other v;ith legs slightly bent, and travel in a
                          circle, their free hand raised up high. "Dig It'' marks the first time Astaire
                          used such a stance in relation to his partner. Swing stances like this are
                          seen very rarely in his work, artd their appearance is limited almost en-
                         )tirely to the 1940s. The final use of this stance is in his dances with Betty
                          Bt1tton in Let's Dance. (Immensely popular during World War II, Hutton
                          was billed early in her career as "Public Jitterbug No. r .")




                                         EXHIBIT 24
                                         PAGE 867
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 72 of 145 Page ID
                                   #:3207


      258   I Astaire in Jazz aad Popular i\fosic

      EXA:.\1PLE 6.   I)rurn solo openings of ·~Bouncin' the B!Li(-'S~) and "'Boppir/ the Blues.:'




      number ckcidedlr went against the grain at a studio v,-here musicc1]
      tastes ran toward the "colossallr gigamically tremendous," ·;is the It--
      cord rc1·icv:er in Down Be,tt opined of a contemporary ~{Gld score. 11
      Still, the      big h,rnd coda in a riff-based swing style Jriesn'r succeed
      in v:iping out tlie tight, casual, modern sound that clominares the ar-
      rangement. After "Bunncin' the Blues'' v:,1s filmed, the option of alter-
      ing the soundtrack 1,vas disrnssed. An undated docunh:nt gives sptcific
      instructirns to the music depc1mnem: "1\fosic: SvietTC!l 'BOUNC1N'
      THE BLUES' from entrance of Band on." 16 As thae are no 1,-iolins heard
      in "Bouncin' the Blues" and no rc"cord of a second SL'.Oring session on
      the number, effons to alrer the· arrangemenr were apparently scrapped.
         lJ nexpecred accents and a discontinuous beat v.cere cemral aspects of
      bop drumming. Astaire works this rhythmic sensibility into the abrupt
      close of the routine:. Ast,1ire and Rogers rake their time exiting, combin-
      ing baby steps forward with a cutesy pose as they gradually move to·
      ward the edge of the proscenium. On the foul bump from the band,
      Rogers reaches out and yanks the curtain to cowr them borh. All at
      once the dance is done. Thi, sharp move falls on count four--that same
      beat before: the downbeat where Carlson kept dropping bornb3-
      shutting the number off in the middle of an eight-count phrase, }t'.t an-
      other unexpected aspect of Astaire's bop routine" Bouncin' the Blues."

      If "llouncin' the Blues'' explored postwar jazz changes, "J\'lr. and Mrs.
      Hoofer ar Horne" took up the popular music quandary facing Holly-
      wood musicals at the close of the 1940s. The genre of the musical had
      always drawn on popular music, but wirh the long dominance of the
      swing bands clearly over and no trends for the future e\·ident, where
      was the sound of the present to be found? A genuine irony atrending all
      the musical choices in Three Little \Vorcfs was the setting of this biopic
      about song,vriters Kalmar and Ruby in a historical vacuum, where nei-
      ther of the World \Vars nor the Depression troubles the rise of the team
      across v;hat can only be as,urned to be the first half of the century. 1:or a




                                                                EXHIBIT 24
                                                                PAGE 868
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 73 of 145 Page ID
                                   #:3208




                                            in:tuch:-.::rio;: to




                         around a s.pecific idea. a common trait of Astaire's bs:·,t \York. Pan re-
                         membered the number as inspired by a cement mixer Astaire encoun-
                         tered on rhe RKO lot.n Th,· rhythms of the mixer cued the dance and,
                         reportedly, planted the seeds of the solo. The addition of a black men's
                         chorus foll ,vi thin estabbhed links bet11·een modernity and bbck-dcri,-ed
                         rhythms. As Joel Dinerstein has pointed out, the connection was seen as
                         vital and forward looking in the r93os. 21 Ira Gershwin tuned his lyric to
                         this larger theme as ,vdl, wirh rhythm offering "aid'' in a chaotic \,·orld
                         situation and the use of coded words like ''misery" and "milk c1.nd
                         honey" putting a mark of blackness into the song texc itself.22
                            The tracking crane shot rhat initiates the vie-,ver into the surprising
                         world of "Slap That Bass" is the most virtuoso single shot in Shall \Ve
                         Dance and one of the most complex camera mm·es in the entire Astaire-
                         Rogers cycle. Director J\fa.rk Sandrich used complicated tracking crane
                         shots sparingly. Here, the elaborate shot required the requisition of a
                         small crane and an additional Sr ,ooo to "Narrow ramp, move \Valls,
                         and raise height of [the] set." 23 The opening of "Slap That Bass" should
                         be read in production context as a special effect.
                            The vocal texture builds in complexity as the introducritw l1J1fold,;:.,
                         As the camera pulls back, more machines and men appear, and as each




                                     EXHIBIT 24
                                     PAGE 869
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 74 of 145 Page ID
                                   #:3209




                                                                     f        EXHIBIT

                                                                    iD~c~er 1_
                                                                    ~ W<t:)     /·   :;;1.1J>




                                 EXHIBIT 24
                                 PAGE 870
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 75 of 145 Page ID
                                   #:3210




                            Hymns for the Fallen
                            Combat M ovie Mu sic and Sou nd after Vi etnam


                           TODD DE CK ER




                           Unive rsity of California Press




                                   EXHIBIT 24
                                   PAGE 871
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 76 of 145 Page ID
                                   #:3211




     University of California Press, one of the most di stinguish ed university
     presses in the United States, enriches liv~s around the world by
     adv~1ncing scholar:,hip in the hu1nnnities, social sciences, and naturnl
     sciences. [rs activities arc supported by th e UC Press Foundation and by
     philanthropic contributions from individ u.1ls and institutions. For more
     infor1nntion, visit \V1v-w.u cprc:,s.edu.

     Universiry of Californi:1 Press
     Oakland, California

     0 20,7 by The Regents of the University of California

     Excer pts from TH E SECOND PLANE: SEPTE1'.1BER n: TERROR AND
     BO REDO~[ by Marrin Amis, copyrighr <D 2008 by ~brrin Amis. Used
     by permiss ion of Alfred A Knopf, an imprint of rhe Knopf Doub lecl.1y
     Pu blish ing Group, a di vision of Pengu in Random f louse L.LC. All rights
     reserved .

      Excerpts from A Wr\LK IN TH E SUN by f-Lirry Brown, copyright ID
     ·19-H, copyright renewed , 97 2 by Harry Brown. Used by permissio:i of
     Alfred i\. Knopf, an imprint of the Knopf Doubleday Publishing Group,
     a div ision of Penguin Random Hou,e LL C. All rights reserwd.

     Excerp t trnm LISTENING TO WAR: SOUND, MUSIC, TRAUMA, r\/\iD
     SURV IVAL IN WART f\1 E IRAQ by J. Martin D,1ughrry (2 0 15). Used
     by permissio n of Oxford University Press.


     Libra ry of Congress Cataloging-in-Publication D.HJ
     Names: Decker, Todd R., author.
     Title: Hymns for the fall en : combat mov i~ music and sound after
         Vietnam/ Todd Decker.
     Des cri ption: 0dkl,ind, Cali f9rnia : niversity of Ca liforni,1 Press, [2017J /
         Include, bibliog raphica l references and index.
     Iden tifier;: 1ccr- 20 16034599 (pr int)/ LCCN 20 16038416 (ebook) I
         1sss 9780520 2823 22 (c lot h : alk. paper)/ t58~: 978052() 28233 9 (pbk. :
        ,1lk. parer)/ t ,B'.'i 9780520966543 (cbook)
     Subjects: LCSit: Film soundtracks-! listory and criticism./ t-- !ot ion
         picture m usic-Hi story and criticism./ War fil ms-History and
        criticism.
     Cl.1ssification : LCC ML2075 .D4J 2cH7 (print)/ tee ~1L2075 (ebook) /
         DDC 7S1.5/.po973 --dc23
     1.c record av'1i lab lc at https://lccn .loc.gov/ 20r603 .f5 99

     l\lanufdctured in the United States of America

     26    25   2...J.   23   22       :21       20   19   18   17
     1.0   9    S 7 6         5    4         3    2




                                                                     EXHIBIT 24
                                                                     PAGE 872
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 77 of 145 Page ID
                                   #:3212

             208      I      Chapter Nine

                 The ticl.ing accompan ies two of th e film's most startling voice-overs,
             n ei th er ass ig ned with any cl arity. Th e first, a conversation b etwee n two
             Americans:
                "You see n many dea d people?"
                "Plenty. They're no different th an de,1 d dogs-once you get used to the
                idea . You're meat, kid. "

             Th e second seems to be assigned to a Japan ese sold ier who is a lmost com-
             pletely buried : on ly hi s face appears above the so il, like a m as k tossed on the
             ground glimpsed through smoke. The voice-over see ms to be the voice of
             Elia s Koteas (not in his role as Captnin Srnros), alt hough this r ecogniti on
             comes only ana l y tically, w h en li sten ing to th e film with eyes closed . A
             sh ot-reverse shot sequence suggests that ·witt hears th e Jap an ese soldier's
            voice, which asks, "A re you righteo us? Kind? Does your confidence lie in
             this? Are you loved by all? Kn ow th at I was, to o. Do you imag in e your suf-
             ferings will be less beca use you loved goodness ? Truth? "
                 As the voice-over end s, a low, slow- moving s tring lin e begins. This
            eleve n-m e,1s ure melody-spe ll ed out in eleve n whole n otes-will cycle ten
            times, accompa nying the entire bat tle seq uence as an unde rlying ostinato
            (see musical example 1). Th e tune is odd. Its leng th is strange-mos t
            Western- s tyle m elodi es are eight or perh aps twe lve m eas ures long . Its
            range is constr icted- held within ,in interva l of a fifth. lts har m on ic im pH-
            cat ion s are m oda l and th erefore vague to th e tona ll y cond iti o ned ear: the
            second note (th e "A") is the prime and th e bigges t leap is a third, denying
            ,my strong bass m o tio n th at ,1 leap of a fourth or fi fth wou ld br ing . A reg u-
            la r if hypnot ic moveme nt be twee n 8dja ce nt or nea r-adja ce nt notes, cycl ing
            at an irreg u la r phra se length, this musica l u nderpinning is realized tex tur-
            ally as a grand p8ssacag lia or chnconne-musical works that unfold over
            ma ny repet itions of nn unchanging bass li ne ostin ato-initially mixed w ith
            the sou nd s of we.1pons, th en in a con te xt of diegetic sil ence and voice-over.
            Major transitions in th e bat tl e action are synced to th e end or b eginn ing of
            th e tun e. Zimmer's "Attack on th e Bivouac" acco m pnn ies, or bette r fund a-
            mentall y structures, a combat set pi ece mo ving a t a furi ous pace with com-
            plicated, diffi cult-to-process shifts of camera ang le and POV Here th e
            im age track is orga ni zed at th e leve l of th e sco re by a mu sicc1 l structure of
            trnnsparent simp licit y. Giye n th e almost ac hing bea uty of th e orch es trn-
            tion-mostly strings-th e battl e action is aes th eticized in th e inte res t of
            exploring both th e American soldie rs' an d th e enemy's respon se to th e
            extremes of combat.




                                                  EXHIBIT 24
                                                  PAGE 873
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 78 of 145 Page ID
                                   #:3213




                                                                                                           Metered                   I

                      9.1. O st inato from "A ttack on th e Birnuac," Th e Tliin Red
    MUSICAL EXA'.'vI PLE
    Line, composed by Hans Zimme r




    i=!IF--~*=--:,=~,=~-+:=_-==z..._.;==-~:::<~_,=_+---<:=o=-=-+-t=~<=-,=--+_:;:-=~<:~>:~-+_::;-=---O=·=_..-:::-<B==~=<.::,-1-<q:J--+:-0-3_,..


       Th e sh ape o f th e ba ttle alig n s with th e sh ape of Z im mer's g rand os ti-
    nato- based cu e: as d e tailed be low, film form a nd mus ica l form are inti-
    mately connected.

               Iteration 1 plays in c1 co ntext of di ege tic qui e t, with on ly th e sou nd s
               of m en grabbing ammunition or loading th eir 11·eapons.
               Iteratio ns 2 und J pl ay over American so ldiers m ov ing throug h a
               fog -fil led jungle toward contact w ith the Ja panese (s h01rn prepa red
               fo r battle at th e end of ite rati o n 1). The di egesis rem ai ns qui et : no
               jungl e sounds, mu sic dominates. Thi s ly rica l interlu de is inte rrupted
               by the first bull e t, ll'hich m arks the trans it ion be t1vee n iterations 2
               and 3. A soldie r hea rs, indeed seems to ll'atch, th e bul le t fl y past him;
               th e crack o f its firin g goes unrep resented. P.1 rtwa y through iterati on
               J, the firing begin s w ith a tre m endo us crash of g un s a nd ve ry rapid
               cutting of ha nd-to-h an d combat, in cluding b.:iyoneting. Th e sco re
               does no t res pond to th is increase in th e tempo of the action and cut-
               tin g except to slightly grow in te rm s o f tex ture and volume.
               At the sta rt o f iteration 4, Malick begin s to fr ame the ba ttl e in run-
              ning POV shots tha t fol low individu al American soldi ers th roug h
              th e bivo ua c, a space that wi ll neve r be clearly delin ea ted but rem ain s
              a dynamic zone of m oveme nt . Th ese m e n run and fire; the camera
              run s after th em , keeping th em in th e center of th e fr ame, th eir
              actions providing a point of reference within th e surrounding furi-
              ous action. The identity o f th e m en we follo w is only vag uel y sug-
              gested, especially for a firs t-time viewe r. A lso in cluded is a bri ef
              POV from behind a Japanese soldier manning a m achi ne g un in a
              trench.
              At exactly the star t of iteration 5, in th e process of following ye t
              anoth er American sold ier through th e melee, the camera swings
              right, distracted by the sight of a sick Japanese so ldier being




                                                                                                   EXHIBIT 24
                                                                                                   PAGE 874
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 79 of 145 Page ID
                                   #:3214




                                 EXHIBIT 24
                                 PAGE 875
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 80 of 145 Page ID
                                   #:3215




                                                         Geoffrey Block, Series Editor

                                                                   Series Board
                                                    Step hen Banfield          J effrey Magee
                                                    Tim Carter                Carol Oj a
                                                    Kim Kowalke               Larry Starr

                                                       "Sou th Pacifi c": Paradise Rewritten
                                                               Ji m Love nshe imer

                                           Pick Yourself Up : Dorothy Fields and the A merirnn Musical
                                                               Ch arlotte Gree n sp an

                                         To Broadway, to Life ! Th e M usical Th eater of Bock and Ham ick
                                                                 Philip Lamber t

                                                    Ir ving Berlin's A merican Mu sical Th eater
                                                                   J effrey Magee

                                                 Loverly: Th e Life and Tim es of "ivly Fair Lady"
                                                                Dominic McH ugh

                                             "Sh ow Boat": Perfo rming Race in an American J\l!u sical
                                                                  Todd Decke r




                                 EXHIBIT 24
                                 PAGE 876
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 81 of 145 Page ID
                                   #:3216




                                     SHOW BOAT
                                      Performing Race in
                                     an American Musical




                                               OX FORD
                                               t:SI\'f·. 11.S!TY PRF.S o;;




                                 EXHIBIT 24
                                 PAGE 877
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 82 of 145 Page ID
                                   #:3217



                                                               OXFORD
                                                               V N l VEllS lTY P llESS


                                    Oxford University Press is a department of rh e University of Oxford
                                       It fll? th e rs th e Unive rsit y's object ive of excellence in rest:!inch,
                                             scho!drs hip, and ed ucctt io n b)' publishing v•.1 orl&,\ i<le   1




                                                                    Oxford       New York
                                       Aucl:land     Cape Town             D,,r es Salaam      Hong Ko ng          Ka sac h i
                                        r ~u 1la Lumpw      Madr id          Melbou rn e   Mexico Citj'            Nairob i
                                                    Ne·,,: De lhi         Sh,mghai   Ta ipe i Toronto

                                                               1/iirh offices in
                                  ArgQntm,1      Ausui 1         Chile Czec h Repubhc Fre.:i ce Gr~~ce
                                                             Br,1zil
                                  Gua:em1!c1 Hun3.11y lt.111 J ,,p,rn Pohnd Portug,11 Smgapor::"
                                   South r~or~a S·.,;irz~rl.ind Thaihnd Tud{~j' Ukr..iin:."! \'1etr11n;

          ( l:-:f.Jrd 1s   ,1   r~~ 1:it·•:·-::>J tn,le m ,irk of Ox ford Uni·;ersny Press in the UV and cett.1i n              oth~, count? ic~s
                                   P11blish••d in th ~ Un ite d Stdtes of Ameri:-a by Oxford U1fr1=:·sity P1e:;s
                                                   HjB M:Klison Avcnn t~. r l-:i·! York, f,jy 10016


                                                        .~, Oxford Uniwrsity Press                 20 13




                                     ;\I! rig hts 1es:.•r·1i!d Mo pdrt of th is publil°at io n     m3~     be repruducc>d ,
                       sto1~d i,~ a r~td-!'.'Jl 'i'.f5tem, or t r.rnsmittt!d, in a n y form or Uy any rn:!.tns, v;irh:>1H
                             rh ~ pri0! p~rm iss i,)n in wr iting of 0:<ford Univers ity Press , or as exprc>s5l::
                              p:::>nnitt-;1d by Lr.·.r, by license. or under t~rms agreed with th -= appropri,H·.•
                        r!!prnd11.:tion ri ghrs org.1niz,tr ion Inq uir ies ro 11Lern ing repwdu( tion oursid1" rh -:>
                    .slop-:> of th-~ .1ho•:e: "honlcl bt~ st'nl t0 th~ f'jghrs L>-.:p.inmcnr, 0:-:forcl Uni·,e1 sity P1-:?ss,
                                                                 ,ll the      ddress abo·,.,


                                              Yo11 mu:a not ci:cub te this \•:o:·k in an'/ uther for111
                                          ,rnd ~ou inu.:>t impOSf rhis s.irne condition on any ,1 .quire l

                                              Li br,1ry of Con,vess C;ttdloging-in-Pub ht.:at ion D 1t.1
                                                                          Ded·e, , Todd R
                           Sha•.•/ l1oar p->rfo!rning rac~ in an Ame:ric,rn mu_.:;rcal /Tod . .! Dc<..kc1
                                                p,ges, cm -(Broad·.vay lcgaci-2s)
                                        I ndud ,!s bi bliogr,1phkal references and indc:-.
                IS3M 973 o 19 -9,,9,,_s (h.irdcover · il l> p.1per); 978 0- 19-025053-9 (paperb.ic k ,,!! piper)
                                            1 Kern , J ~rome , .1885 19.15 Shm,; boJl .

                                                      , Ferber, Ed n ,, 1387- 1968 Sho,·; bo.1t
                                                     3 African AmeriGms in musical theater
                                                                    :.!    Music an d tace
                                                 M us ic.,! ,h e.ner- H1scory-2och cemuty I Ti tle
                                                               ML410 K335D43               20 12
                                                                                     2 0 1} 000392



                                             Pu blu:ation of thi s boo k was supported in part by th·:>
                                      LI Jyd HibberLl Enr:l m·;me n ~ of th~ Am·!rican t,, lusi co logkal Soncty




                                                                                       EXHIBIT 24
                                                                                       PAGE 878
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 83 of 145 Page ID
                                   #:3218




    reson ant voice ... in a spo tlight on a da rkened stage, with a chorus heard
    with softened tone and much b eauty of effect behind th e scenes ."53 Bledsoe
    simply stood and sang: a formu la applied to Joe in every use of "01' Man
    River." Woollcott remembered Bledsoe's performance in Deep River in a 1933
    le tter to Ferber, where h e described how Bledsoe "walked forward t o the foot-
    lights, squared hi s shoulders, threw back his head, and em itted his song."5 1
    Woollcott's description applies equally well to most Joes in th e histo ry of
    Show Boat. In truth, there is no one to s ing "01' Man River" t o-excep t th e
    audien ce wa tching Show Boat. Hammerste in and Kern had a model for this
    approach in Bledsoe's performance a t the open ing of Deep River, which effec-
     tively established time and place while feat uring the black male vo ice in a
    quasi-spiritual song. Th e arrangemen t also demonstrated the effectiveness of
    a full black chorus singing in support of such a figure. Hammerstein 's persis-
    tent reference to pin spots in the January draft may also draw upon Deep
    River, the draft libre tt o for which describes Bledsoe singing "As h es and Fi re"
    in a "head spot" in front of a black curtain. Head spots and pin spots are iden-
     tical descriptions of lighting th at em phasizes a s inge r's hea d, requiring com-
    plete physical stillness and forc ing the si nger to just stan d a nd sing.
         Beyond th e dra ma turgical similarities, Kern knew and b orrowed mus ical
    materi al from "De Old Clay Road." Examp le 2.1 repr ints the comp le te sh eet
    music for th e song , with the musical phrase Kern borrowed marked in
    brackets th roughou t. Kern's cl osest approximation of Harling's original is
    given above the firs t app earance of the phrase in the vocal part . Kern borrows
    from Harling in a manner reminiscent of th e Baroque compose r Georg Fred-
    eric Handel's appropriation of musical material from his peers. Like Ha ndel,
     Kern improves upo n his sources, using I-fading's gently syncopated rh yth mic
    figure an d general melodic di rect ion to create a vastly more satisfying melody
    th at ebbs and flows, on ly t o climax at the close, providing a reli able show
    pi ece for singers . Kern's melody rewards the lis tener and h as worked t o tre-
     mendous advantage for Show Boat as a wh ole over its entire history. 55
         Kern also drew in spi ra tion from well-known black-themed popular songs .
    As shown in example 2.2a, b, the bridge from "01' Man River" uses th e iden-
     tical pitch content as th e bridge of "Goin' Home," a popula r so ng adapted
     from Ant onin Dvofak's New World Symphony, itself a touch ston e of bl ack
    spiritual topics in classical music. Both p assages convey a certain melodic fu-
    'tility reflected in their respec tive lyrics- penned by vvhites-express ing a
    particul ar view of the black experience.
         But creating a one-song role was n ot enough no matte r h ow good the song
    'nor h ow many reprises, and Hammerstein arrived at an ingen ious way to tap
     directly into Robeson's recital notoriety. Late in act 2, after the story h ad

                                  I he Robeson Pinn   I   45




                                                          EXHIBIT 24
                                                          PAGE 879
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 84 of 145 Page ID
                                   #:3219




                      Example                     2.1               'De Old Clay Road" from Deep River (1926, music by Laurence
                     Stallings, lyrics by Frank Harling) , with borrowing by Kern in "0/ ' Man River"
                                                                                             noted above th e vocal lin e.




         r~             . 1'.L
                                      '
                                      d,,.
                                              .
                                             1·. 1J
                                                          '   ,11
                                                                                             =r

                                                                                                                                                                         ""
                                                                                                                                                                              I,•   .!er-. r d   .·.;i;,1




        I'
         ~~                                                                              _                                        '         I-        I     4.. ---.....,       ~                                  1          r,




         ~~ ~ ,
         ElE:±±56 ,.


                        •~•m                                                                                                                                                                                ""
                 '       ·~.                                  ~                I             :::::-= :                           = '              .       ~ r = r = '---,------,:=;;==:p
             -                   -             ~                    • __ - __t_-=:--• - , - ~_c::::="                                            ~                  (.              ~                       JI         =:;="
                        1 1      1,          11       I       1• ,1   I · I         t,   ~       ,   r       11           ,,,   11<   ,•,         "   r .           , ,,! _          . .,,n      ,1,    r, ,            ~.
         [
                                                                                                                                                                         Q.                 ,----2




                                                                                                                                                                                                                 .-- I --

         C::G          1.:1·. I- H \I' - ,\ ib;:io
                                                               r · ..........:._,                - ~-             1-, -     ~~                   '"-+-'---<
                                                                                                                                                                                     '7'
                                                                                                                                                                                        ·
                                                                                                                                                                                                                 $:J., lj',




                            ~          F. .               ~                                  ~       i   y   ~     i :--_ ~                                                          '__.-/
                                 __!-·                                                        _!._,.;              (---.!..-,,,




                                                                                                                                 EXHIBIT 24
                                                                                                                                 PAGE 880
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 85 of 145 Page ID
                                   #:3220




                                                                              Example                     2 .1         (continu ed)



                                                                                                                                                                                  V            V                             f
                                                                                                                                                                               ~'.11.vd1,,.1 h1 i1~g m,: fr,1r.:            .!.: :,r...-n:•

                                                                                                                                                                                   '~ " '
                                                           .·         :1==i                       -.,                                                          .                -J
                                                                                                                                                                                                                                        if
                                                           I PP.                        .                                                                                       f

                                                                                                                                                                                                                                         '
                                                                       , - -.                                                 , - -.                                               I

                                                                                    -;                                                          -;



           Tempo t!.!!!! f       \, /11;•:, 1                                                                                                                                          r-,mmow.-1.f l,i:111
                          - ~ #
                          '
                  C!:l lo:t. _           h.. ,,     ·I,         ~h....1 _         1 ,•11    ir~: -
                                                                                                                                            -   ..          d,
                                                                                                                                                                     .,,.                 .. I ; %-l----%--2::d
                                                                                                                                                                                                 ~


                                                                                                                                                                                         \.\"1,i r'1~  fuli ,1f
                                                                                                                                                                                                          ~ng ,m _

                                                                                                                      ,- - - - =
                  ..,,:
                  /I
                                          r                      I                "f"                                F                          r
                                                            ,.,.
                  "



           •1f f\ _
                              -·~ ..,
                              ; .JI       ,lni l
                                                  -       ~·It f,,
                                                                     i=='! .;       :;===,,,
                                                                            C1! I ,·'            ;..··--.!: '1·.,:,·: l nrd'
                                                                                                                '7'
                                                                                                                                         AnJ



     ~
     , .,,m
          -,_ ..,. ...,

    1•},__,___, = =

     _;                                                                                                                      T c111 po l.!.!.!!.!


                                                                                                                      ....       ,.!.-
                                                                                                                                                                                                        -;
           ~'.1    ',l _      f.,;.,i.                                                                                H,:                   ,!,      1/,1   ~ .1\      ru.l _ _                         ;;,.       \td~          c'~ ,,1 :f ~lly




                                                                                                                      ..,        -,; :
                                                                                            /"                                  /J




                                                                                                           r.-.

                                                                                                                                                                                                                            TI"




                                                          ,~
                                                  i',,    H~ ,· g1.1.         '1.,J,•          t,,        11111,·~           .u:.i :u!""'             ): ,.,..: L.1r.f1 f{.-    •1-~        d"' .,!,I c!.1:'              r.i,,.!




                                                                                                          ; ; , -1 •;                                                                           .....        ·~
                                                                            ~                             ·------.. ~                                                            "'                                   1 ·U
                                                                                                          :"t"----•  .                                                           •'
                                                                                                                                                                                                                           ,.,..
                                                                                                      I     5

                                                                                                            '..___-/
                                                                                                                                                                                                               :            ::




                                                                                                                                                     EXHIBIT 24
                                                                                                                                                     PAGE 881
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 86 of 145 Page ID
                                   #:3221


         Example 2.w The bridge of"Goin' Home," a quasi-spiritual popular song adapted
          from a pseudo-Negro melody from Antonfn Dvorak's New World Symphony.


                   -t .   ; r                  1       j
                                                                     !iv   -   in'




          Example 2.2b First half of the bridge of"Ol' Man River."


               ~
                                              ,j
                                                                           r         .I   ,j
               I                  f                                        I




       arrived in the present, Hammerstein envisioned a dramatically integrated
       specialty for Robeson. In a scene that works against every fiber of Ferber's
       tale, Andy (who does not die in the musical) has brought Ravenal (who like-
       wise doesn't disappear for good) back to the Cotton Blossom. The two are con-
       versing quietly on deck while listening to Magnolia, now a national star,
       singing live on the radio from New York. Networks were still new then, and
       the moment would have been startlingly modern in 1927. Going slightly off
       topic in a scene chiefly contrived to absolve Ravenal of his aband'Onment of
       wife and child, Andy provides a lead in for Robeson's big moment in act 2.

          ANDY: Joe's son-'member him when he was a little pickaninny wouldn't
            study 'rithmetic wouldn't learn to read but he knew all the river songs,
            that ever was. Parthy used to have to keep shuttin' him up wel, [sic}
            sir-he's now singin' in concerts all over the country, and makin' good
            money, too an' you know what he sings? The same dem fool old songs
            they sung forty years ago on these levees.

          (The lights have gradually dimmed to a blackout-Joe's voice continues in
          the darkness until scene changed-It is timed so at end of refrain the
          lights iris up revealing PAUL ROBESON in evening clothes in front of a
          piano, with his accompanist, Lawrence Brown, in a velvet drop, as he
          appears at his recitals.)
             (SCENE VIII: A PAUL ROBESON RECITAL)

       In addition to playing Joe, Ropeson was to play himself-a 1920s spiritual
       singing star-outfitted with a fictional biography as a show boat "picka-
       ninny" who could neither read nor do math. Robeson, of course, had lived a
       very different life of great, even historic achievement before carving out his
       singular place on the concert platform. But in Show Boat, Robeson as composite

                                         48   I    Making




                                                      EXHIBIT 24
                                                      PAGE 882
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 87 of 145 Page ID
                                   #:3222




    Example 4.2 The opening phrase of "You are Love" compared to Sigmund Rom berg's
                      "Some Day" from Cherry Blossoms (1927).

          ·{    ,· 'j                 I •   1-:-            ; I C I •              1         f
               P,,,,   "=   J,,}



                                                             !
                               2J2 !        I •. I ; ·
                            'r,.,1 _ _ _                                      \\ ~ .• r,.:   ,,,,..1




     second high B-flat of the score as part of a predictable melodic formula. The
     pair holds the final note for an additional few bars while the orchestra plays
     appassionato and fortissimo beneath them. The effect is meant to be heart-
     stirring, passionate. epic. It was so effective Ravena} repeated the big, high,
    loud ending in act 2 ,vithout Magnolia in the reprise of "You Are Love" that
     replaced the Robeson recital. Three times during the show a high B-flat from
     Marsh sent Show Boat into a scene-changing blackout, a vocal special effect
     straight from operetta punctuating the show's large-scale form and sustaining
     audience participation by encouraging applause.
          In the almost entirely thru-sung wedding scene that follows "You Are
     Love," Magnolia sings but Ravenal does not. The decision to keep the leading
    man silent on his wedding day has a specific history, which speaks to Ravenal's
  · embodiment of a white, male, southern identity. Kern and Hammerstein
    completed the wedding scene as early as late 1926 so neither Marsh nor Terris
    .were taken into account when it was made. Magnolia sings only one solo line
    at her wedding in the Broadway version. In the January draft and extant
   holograph scores she was to sing a second time, just before the curtain
   ,descended. The line Terris kept has Magnolia singing "Can't I share some of
    my happiness, dear friends, ·with you" as she greets the women of the black
        .orus, who "come forward enthusiastic, but a trifle diffident" after the white
        prus sings their triple-meter tribute, "Happy, the Day." Magnolia's line, dif-
      Clllt to hear in (unmiked) performance, effectively bridged the gap between
      y:o contrasting sections, the shift from a generically white waltz chorus to a
       '.nerically black buck-and-wing. Magnolia ascends by step to the vocal height
         the entire role: in soprano terms. a modest high A. The "big levee shuffle
       .nee" follows with the black chorus, Joe, Queenie, and Magnolia all singing
      ,jln't Help Lovin' Dat Man." All scripts are careful to note that only the black
        ~racters and Magnolia sing during this public re-creation of the kitchen
      :ptry shuffle .
          . o this point in all scripts through the October draft, Ravenal had not yet
         :ved at the wedding. He was absent while Magnolia shared one last song

                            A Ziegfeld Soprano and a Shubert Tenor   I   89




                                                                 EXHIBIT 24
                                                                 PAGE 883
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 88 of 145 Page ID
                                   #:3223




                   EXHIBIT 25




                                 EXHIBIT 25
                                 PAGE 884
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 89 of 145 Page ID
                                   #:3224

                                                                                 Page 1
    1    UNITED STATES DISTRICT COURT
         CENTRAL DISTRICT OF CALIFORNIA
    2    - - - - - - - - - - - - - - - -x
         MARCUS GRAY (p/k/a FLAME);     )
    3    EMANUEL LAMBERT; and CHIKE     )
         OJUKWU,                        )
    4                                   )
                    Plaintiffs,         )
    5                                   )
                    vs.                 ) Index No.
    6                                   ) 2:15-cv-05642-CAS-JC
         KATHERYN ELIZABETH HUDSON      )
    7    (p/k/a KATY PERRY); JORDAN     )
         HOUSTON (p/k/a JUICY J);       )
    8    LUKASZ GOTTWALD (p/k/a DR.     )
         LUKE); SARAH THERESA HUDSON;   )
    9    KARL MARTIN SANDBERG (p/k/a    )
         MAX MARTIN); HENRY RUSSEL      )
   10    WALTER (p/k/a CIRKUT); KASZ    )
         MONEY, INC.; CAPITOL RECORDS, )
   11    LLC; KITTY PURRY, INC, UMG     )
         RECORDINGS, INC.; UNIVERSAL    )
   12    MUSIC GROUP INC.; WB MUSIC     )
         CORP LLC; and KOBALT MUSIC     )
   13    PUBLISHING AMERICA, INC.,      )
                                        )
   14               Defendants.         )
         - - - - - - - - - - - - - - - -x
   15
   16             DEPOSITION OF LAWRENCE FERRARA, PH.D.
   17                      New York, New York
   18                  Thursday, January 25, 2018
   19
   20
   21
   22    Reported by:
   23    JEFFREY BENZ, CRR, RMR
   24    JOB NO. 136204
   25

                                   TSG Reporting 877-702-9580
                                 EXHIBIT 25
                                 PAGE 885
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 90 of 145 Page ID
                                   #:3225

                                                                             Page 4
    1     LAWRENCE FERRARA, Ph.D.,
    2            called as a witness, having been duly sworn
    3            by a Notary Public, was examined and
    4            testified as follows:
    5     EXAMINATION BY MR. KAHN:
    6            Q.     Dr. Ferrara, could you state your
    7     name, full name, please.
    8            A.     Yes.     Lawrence Ferrara.
    9            Q.     Okay.     At the outset I want to give
   10     you a disclosure, which is that my formal music
   11     training consisted of playing band -- playing
   12     trumpet in my high school concert band and then
   13     much later teaching myself to play the harmonica
   14     to play bedtime songs for my kids and now for my
   15     grandkids.
   16                   I will probably unintentionally misuse
   17     some musical terms today, and you should feel
   18     free -- in fact, I request you -- to correct me
   19     if I'm asking you a question using the wrong or
   20     an inaccurate music term.                I don't want either
   21     my questions or your answers to be
   22     misinterpreted.         Okay?
   23            A.     Yes.
   24            Q.     Great.
   25                   MR. KAHN:       I wanted to start by asking

                                  TSG Reporting 877-702-9580


                                 EXHIBIT 25
                                 PAGE 886
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 91 of 145 Page ID
                                   #:3226


                                                                                 Page 5
    1            the court reporter to mark as Ferrara
    2            Exhibit 1 your expert report that was dated
    3            May 5, 2017 in this case.                     And I'd like to
    4            show it to you and ask you to identify it.
    5                  (Dr. Ferrara's expert report was marked
    6            Ferrara Exhibit 1 for identification, as of
    7            this date.)
    8                  (Witness reviewing document.)
    9                  MR. KAHN:        Could you mark this as 2.
   10                  (Attachments to Dr. Ferrara's expert
   11            report were marked Ferrara Exhibit 2 for
   12            identification, as of this date.)
   13            A.    This appears to be my written report
   14    dated May 5, 2017, without any of the
   15    attachments.
   16            Q.    Thank you, sir.             And I have, in fact,
   17    the attachment we'll mark next and give to you.
   18                  So this report is dated May 5, 2017.
   19    Do you recall when you were retained in this
   20    case?
   21            A.    No, I don't recall when I was
   22    retained.
   23            Q.    Okay.     Do you recall who retained you?
   24            A.    No, I don't recall who retained me.
   25            Q.    The lawyers in this case include

                                  TSG Reporting 877-702-9580
                                 EXHIBIT 25
                                 PAGE 887
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 92 of 145 Page ID
                                   #:3227

                                                                             Page 7
   1            Hudson, professionally known as Katy Perry.
   2                   MR. KAHN:        Before you were on the
   3            call, Dr. Ferrara identified as Ferrara
   4            Exhibit 1 his original report dated May 5,
   5            2017, and he identified it as the report
   6            itself but without the attached appendices.
   7                   I've asked the court reporter to mark
   8            as Ferrara Exhibit 2 a document entitled
   9            Appendix 1, which appears to be -- to me --
  10            the appendix that is identified in
  11            paragraph 1 of Dr. Ferrara's report, where
  12            it states in the last sentence, "My
  13            curriculum vitae is attached as Appendix
  14            1."
  15            Q.     Dr. Ferrara; is that correct?
  16            A.     Yes, it is.
  17            Q.     So I would like to take a few minutes
  18     and kind of walk through that appendix, make
  19     sure I understand what's there.
  20                   On page 2, which is entitled, the top
  21     of the page, "Selected Professional Activities,"
  22     Entry Number 2, which is New York 2017, states
  23     you were invited for a music copyright
  24     presentation at Columbia University Law School
  25     for a class on federal courts litigation

                                  TSG Reporting 877-702-9580
                                 EXHIBIT 25
                                 PAGE 888
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 93 of 145 Page ID
                                   #:3228

                                                                            Page 66
  1     yeah, but -- and so to answer your -- your
  2     question fully, in addition to Fahmy, there may
  3     have -- I'm sure there were, you know, at least
  4     a few others, but off the top of my head, I -- I
  5     can't say.       But certainly.             Sure.
  6            Q.     Okay.     Understand.             Fair enough.
  7                   Simply for purposes of identification,
  8     Dr. Ferrara, I want to hand you what the court
  9     reporter has marked as Exhibit 3 to your
 10     deposition, which I believe is your rebuttal
 11     report.      If you could take a moment and review
 12     it.
 13                   (Dr. Ferrara's rebuttal report was
 14            marked Ferrara Exhibit 3 for identification,
 15            as of this date.)
 16            A.     Yes.
 17                   (Witness reviewing document.)
 18            A.     Yes.
 19            Q.     And that is the rebuttal report?
 20            A.     Without the exhibits.
 21            Q.     Without the exhibits.                   That was signed
 22     by you on July 31, 2017?
 23            A.     That is correct.
 24            Q.     One more exhibit before we move to the
 25     next phase, which has been marked as Exhibit 4.

                                 TSG Reporting 877-702-9580
                                 EXHIBIT 25
                                 PAGE 889
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 94 of 145 Page ID
                                   #:3229

                                                                             Page 96
    1          MR. KAHN:     Thank you, Dr. Ferrara.            I
    2   have no further questions.
    3          THE WITNESS:     Thank you very much.
    4          MR. MOVIT:     Nothing on my end.
    5          (Time noted: 1:31 p.m.)
    6

    7

    8

    9

   10

   11                              ------------------------
   12                              LAWRENCE FERRARA, PH.D.
   13                 Subscribed and sworn to before me
   14                 this ___ day of ________________, 2018.
   15                 ___________________________

                      (Notary Public)           MY COMMISSION EXPIRES:__________
   16

   17

   18

   19

   20

   21

   22

   23

   24

   25



                                   TSG Reporting 877-702-9580
                                 EXHIBIT 25
                                 PAGE 890
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 95 of 145 Page ID
                                   #:3230

                                                                             Page 97
    1                           C E R T I F I C A T E
    2

    3    STATE OF NEW YORK               )
                                         )    Ss.:
    4    COUNTY OF NEW YORK              )
    5                   I JEFFREY BENZ, a Certified Realtime
    6           Reporter, Registered Merit Reporter and
    7           Notary Public within and for the State of
    8           New York, do hereby certify:
    9                   That LAWRENCE FERRARA, PH.D., the
   10           witness whose examination is hereinbefore
   11           set forth, was duly sworn by me and that
   12           this transcript of such examination is a
   13           true record of the testimony given by such
   14           witness.
   15                   I further certify that I am not
   16           related to any of the parties to this
   17           action by blood or marriage; and that I am
   18           in no way interested in the outcome of this
   19           matter.
   20                   IN WITNESS WHEREOF, I have hereunto
   21           set my hand this 7th of February, 2018.
   22

   23                                    -------------------------
   24                                    JEFFREY BENZ, CRR, RMR
   25


                                   TSG Reporting 877-702-9580
                                 EXHIBIT 25
                                 PAGE 891
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 96 of 145 Page ID
                                   #:3231

                                                                             Page 98
    1      ----------------------INDEX---------------------
    2    WITNESS                                  EXAMINATION BY            PAGE
    3    LAWRENCE FERRARA, Ph.D.                  MR. KAHN                       4
    4    ---------------------EXHIBITS--------------------
    5    NUMBER              DESCRIPTION                             PAGE
    6    Exhibit 1          Dr. Ferrara's expert                      5
                            report
    7

         Exhibit 2          Attachments to Dr.                        5
    8                       Ferrara's expert report
    9    Exhibit 3          Dr. Ferrara's rebuttal                   66
                            report
   10

         Exhibit 4          Article by Dr. Ferrara                   67
   11                       published in Musical
                            Quarterly in 1984
   12

   13

   14

   15

   16

   17

   18

   19

   20

   21

   22

   23

   24

   25


                                   TSG Reporting 877-702-9580
                                 EXHIBIT 25
                                 PAGE 892
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 97 of 145 Page ID
                                   #:3232




                                                       Errata Sheet

              Name of Case:      Gray, et al. v. Hudson, et al.

              Date of Deposition: Janumy 25, 2018

              Name of Deponent: Lawrence Ferrara, Ph.D.

              Page:Line             Change Frnm               Change To            Reason

              11 :18                a1tist                    artists,             Transcription error

              24:2                  grow                      Grove                Transcription error

              25:11                 y                         X                    Recollection refreshed

              25:13                 so                        it's                 Misspoke

              25:15                 we                        it                   Misspoke

              27:12                 z                         y                    Recollection refreshed

              28:16                 z                         y                    Recollection refreshed

              65:15                 Lassin                    Lessem               Transcription error

              65:17-18             "Fabolous," not            The Game             Recollection refreshed
                                   "fabulous" but
                                   "Fabolous"

              65:20                 the law firm was          the law firm which   Clarification
                                                              took my deposition
                                                              was

              74:10                 z                         y                    Recollection refreshed

              81:7                  repott                    deposition           Misspoke

              83:20                 1                         first                Transcription error




  9836186.1




                                             EXHIBIT 25
                                             PAGE 893
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 98 of 145 Page ID
                                   #:3233




                   EXHIBIT 26




                                 EXHIBIT 26
                                 PAGE 894
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 99 of 145 Page ID
                                   #:3234




            Michael A. Kahn (pro hac vice)
       1    Kahn@capessokol.com
            Drey A. Cooley (pro hac vice)
       2    Cooley@capessokol.com
            Capes Sokol Goodman Sarachan PC
       3    7701 Forsyth Blvd., 12th Floor
            St. Louis, MO 63105
       4    Telephone: (314) 721-7701
       5    Eric F. Kayira (pro hac vice)
            eric.kayira@kayiralaw.com
       6    Kayira Law, LLC
            200 S. Hanley Road, Suite 208
       7    Clayton, Missouri 63105
            Telephone: (314) 899-9381
       8
            Carole E. Handler (SBN 129381)
       9    chandler@eisnerlaw.com
            Brianna Dahlberg (SBN 280711)
      10    bdahlberg@eisnerlaw.com
            EISNER JAFFE
      11    9601 Wilshire Boulevard, Suite 700
            Beverly Hills, California 90210
      12    Telephone: (310) 855-3200
            Facsimile: (310) 855-3201
      13
            Attorneys for Plaintiffs
      14
                                   UNITED STATES DISTRICT COURT
      15
                              FOR THE CENTRAL DISTRICT OF CALIFORNIA
      16

      17
             MARCUS GRAY, et al.,                         Case No. 2:15-cv-05642-CAS-JC
      18
                                       Plaintiffs,        Hon. Christina A. Snyder
      19
                   v.                                     _
      20
             KATHERYN ELIZABETH HUDSON, PLAINTIFFS’ SUPPLEMENTAL
      21     et al.,                    ANSWER TO
                                        INTERROGATORY NOS. 4 AND
      22                     Defendant. 13 OF DEFENDANTS’ FIRST
                                        SET OF INTERROGATORIES
      23
      24

      25
                 Plaintiff Marcus Gray, on behalf of all plaintiffs, submits the following
      26
           supplemental answers to Interrogatory Nos. 4 and 13 of Defendants’ First Set of
      27
           Interrogatories:
      28


                                                     PLAINTIFFS’ RESPONSES TO DEFENDANTS’ INTERROGATORIES


                                       EXHIBIT 26
                                       PAGE 895
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 100 of 145 Page ID
                                    #:3235




           INTERROGATORY NO. 4:
       1
           Set forth in detail all facts which support any contention that Defendants
       2   purportedly had access to the Plaintiffs' Composition, or any Recording thereof.
       3
                 Original Response: Plaintiffs’ investigation continues and will include, among
       4

       5
           other things, discovery from defendants and their agents. Until that investigation is

       6   completed, Defendants’ access to the Composition and the Recording can be inferred
       7
           from the widespread dissemination of the Recording and the widespread performance
       8
       9   of the Composition. Among other things:

      10      • By at least 18 months before the release of the recording of Defendants’
      11
                 Composition, the Recording of Plaintiffs’ Composition had been viewed and/or
      12
      13         downloaded from YouTube more than 2.5 million times and had been viewed
      14         and/or downloaded from other Internet sites more than 1 million times;
      15
              • In addition, tens of thousands of followers of the Myspace.com pages for
      16

      17         Plaintiffs and LeCrae Moore had access to the Recording of Plaintiffs’
      18         Composition;
      19
              • From 2008 thru 2012, Plaintiffs performed the Composition in more than
      20
      21         approximately 200 concert venues around the nation, including the West Coast,
      22
                 the Midwest, the South and the East Coast;
      23
              • During the first half of 2013, Plaintiffs performed the Composition in an
      24

      25         additional two dozen concert venues around the nation;
      26
              • During 2008 and 2009, LeCrae Moore performed the Composition on his own
      27
      28         concert tour around the nation;
                                                       2
                                                   PLAINTIFFS’ RESPONSES TO DEFENDANTS’ INTERROGATORIES




                                       EXHIBIT 26
                                       PAGE 896
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 101 of 145 Page ID
                                    #:3236




       1     • In January of 2009, the album Our World Redeemed (which includes Plaintiff’s

       2        Composition) was a nominee for Rap/Hip Hop Gospel Album of the Year at the
       3
                Stellar Award Show held at the Grand Ole Opry in Nashville, Tennessee in
       4

       5        Nashville, Tennessee;

       6     • In February of 2009, the album Our World Redeemed (which includes
       7
                Plaintiff’s Composition) was a nominee for Best Rock or Rap Gospel Album at
       8
       9        the 51st Annual Grammy Awards Show in Los Angeles, California, which was
      10        televised nationwide;
      11
             • Katy Perry performed at that 51st Annual Grammy Awards Show in February of
      12
      13        2009, and, on information and belief, Defendants Gottswald and Sandberg (and
      14
                perhaps other individual Defendants) were voting members of the Grammy
      15
                Society that year and thus would have received copies of and/or access to the
      16

      17        nominated songs and albums for their review prior to voting.
      18
             • In April of 2009, Plaintiffs’ Composition was a nominee for the Best Rap/Hip
      19
                Hop Song of the Year at the 40th GMA Dove Awards, which was televised live
      20
      21        from the Grand Ole Opry in Nashville, Tennessee.
      22
             • The Recording of Plaintiffs’ Composition was played on radio stations
      23
      24
                throughout the nation and occasionally featured on television interviews of the

      25        Plaintiffs during their concert tours.
      26

      27   Supplemental Response: Additionally, the album Our World Redeemed (which
      28
                                                         3
                                                  PLAINTIFFS’ RESPONSES TO DEFENDANTS’ INTERROGATORIES




                                        EXHIBIT 26
                                        PAGE 897
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 102 of 145 Page ID
                                    #:3237




       1   includes Plaintiff’s Composition), debuted at #5 on the Billboard Gospel Chart and
       2   reached #1 on the Christian Music Trade Association (CMTA) R&B/Hip Hop Chart.
       3
           INTERROGATORY NO. 13:
       4
           Describe in detail all concerts, events, presentations, gatherings, recitals,
       5   performances or sessions at which Plaintiffs' Composition was performed,
       6   including but not limited to the name(s) of the performer(s), as well as the date,
           venue and attendance figures for any such performance.
       7
       8         Original Response: As stated above, Plaintiffs and Mr. Moore have performed
       9
           Plaintiffs’ Composition at more than 200 venues around the country. Plaintiffs shall
      10
      11   provide Defendants with documents evidencing the information sought by this
      12   Interrogatory.
      13
                 Supplemental Response: The documents evidencing Plaintiffs’ performances of
      14
      15   the Composition prior to 2011 are less comprehensive than the more recent
      16   documents. Accordingly, Plaintiffs supplement their prior answer by providing the
      17
           following dates and venues for their performance of the Composition (along with
      18
      19   other songs) for the period 2008 through 2010:
      20                                          --2008--
      21      • March
                  o 1: Chillicothe , Ohio
      22          o 7: St. Louis, MO
                  o 15: Toledo , Ohio
      23          o 22: Pittsburgh, PA
                  o 29: Charlotte, NC
      24
              • April
      25          o 26: St. Petersburg, FL
      26      • May
                  o 1: Kansas City, MO
      27          o 24: Providence, RI
      28
                                                     4
                                                 PLAINTIFFS’ RESPONSES TO DEFENDANTS’ INTERROGATORIES




                                       EXHIBIT 26
                                       PAGE 898
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 103 of 145 Page ID
                                    #:3238




             • June
        1         o 19: Greenville, TX
                  o 28: Tampa, FL
        2
             • July
        3         o   11: Sacramento, CA
                  o   17: Sayreville, NJ
        4         o   18: Cleveland, OH
                  o   25: Jacksonville, FL
        5         o   27: Chicago, IL
        6    • August
                 o 1: Mulberry, FL
        7        o 9: Minneapolis, MN
                 o 10: Oakland, CA
        8        o 14: Chicago, IL
                 o 23: Dixon, CA
        9
             • September
       10         o 12: Clinton, MD
                  o 29: Williamsburg, KY
       11
             • October
       12        o 17: Virginia Beach, VA
                 o 25: Branson, MO
       13        o 31 Southfield , MI
             • November
       14        o 2: Cave City, KY
                 o 7: Greensboro, NC
       15        o 8: New Orleans, LA
       16    • December
                 o 28: Nashville, TN
       17        o 31: Richardson, TX
       18                                    --2009--
             • January
       19         o 2: San Bernadino, CA
                  o 14: Stellar Award show (Nomination for Our World Redeemed):
       20            Nashville, TN
       21    • February
                  o 7-8: Grammy Awards (Nomination for Our World Redeemed): Los
       22            Angeles, CA
                  o 13: Orange City, IA
       23         o 17: Mt. Washington, KY
                  o 19: Kingston, Jamaica
       24
             • March
       25        o 21: Danville, KY
       26    • April
                 o 10: St. Peters, MO
       27        o 23: Dove Awards show (Nomination for “Joyful Noise” Best Rap Song
                     of the year): Nashville, TN
       28
                                                 5
                                             PLAINTIFFS’ RESPONSES TO DEFENDANTS’ INTERROGATORIES




                                    EXHIBIT 26
                                    PAGE 899
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 104 of 145 Page ID
                                    #:3239




                   o 25: St. Petersburg, FL
        1
              • May
        2         o 2: Springfield, MO
                  o 29: Memphis, TN
        3         o 30: Minneapolis, MN
        4     • June
                   o   5: Manchester, NH
        5          o   6: Woodbridge, VA
                   o   11: Lima, OH
        6          o   12: Glendale, NY
                   o   13: Detroit, MI
        7          o   19: Miami, FL
                   o   20: Orlando, FL
        8          o   23: Virginia Beach, VA
                   o   25: Mt. Union, PA
        9          o   27: Birmingham, AL
                   o   28: Baton Route, LA
       10
              • July
       11          o   8: San Antonio, TX
                   o   9: Oklahoma City, OK
       12          o   10: Houston, TX
                   o   11: Dallas, TX
       13          o   12: Odessa, TX
                   o   13: Albuquerque, NM
       14          o   15: Phoenix, AZ
                   o   16: San Bernardino, CA
       15          o   18: San Diego, CA
                   o   19: San Leandro, CA
       16          o   23: George, WA
                   o   24: Seattle, WA
       17
              • August
       18         o 2: Greensboro, NC
                  o 7: Louisville, KY
       19         o 14: Cleveland, OH.
                  o 16: Minneapolis, MN
       20         o 21: Richardson, TX
                  o 22: Parsons, KS
       21         o 29: Atlanta, GA
       22
              • September
       23          o 12 - 13: Longview, TX
                   o 18: Richmond, VA
       24          o 19: Springfield, MO
       25     • October
                  o 17: Wilmington, NC –Ampfest
       26         o 24: Huntsville, AL.
                  o 30: Orlando, Fl.
       27         o 31: Joliet, IL
       28
                                                    6
                                                PLAINTIFFS’ RESPONSES TO DEFENDANTS’ INTERROGATORIES




                                   EXHIBIT 26
                                   PAGE 900
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 105 of 145 Page ID
                                    #:3240




              • December
        1         o 31: Lebanon, IL -
        2                                      --2010--
        3     • January
                   o 15: Louisville, KY
        4          o 16: Orlando, FL
        5     • February
                   o 5: Huntsville, AL
        6          o 12: Louisville KY
                   o 13: Modesto, CA
        7
              • March
        8         o 6: Kansas City, MO
                  o 13: Buffalo, NY
        9         o 26: Prestonsburg, KY
       10     • April
                  o 24: Due West, SC
       11         o 30: Shelby, NC:
       12     • May
                  o 1: Shelby, NC
       13         o 21: Indianapolis IN
       14     • June
                   o 10 - 13: Alberta, Canada-
       15          o 20 - 27: Maui & Oahu, Hawaii
                   o 29: Louisville, KY
       16
              • July
       17          o   11 -12: Central, Florida -
                   o   14 -18: Liege, Belgium & Heidelberg, Germany
       18          o   23: Rochester, NY
                   o   29: Chicago, IL
       19          o   30: Houston, DE-
                   o   31: Bridge, CO
       20
              • August
       21         o 5:Detroit, MI
                  o 6: Toledo, OH.
       22         o 7: Kansas City, MO
                  o 13: Sacramento, CA
       23         o 20: Seattle, WA
                  o 21: Portland, OR
       24         o 27: Institute, West Virginia
       25     • September
                   o 5: Warrensville, OH
       26          o 17: Gainesville Fl.
       27     • October
                  o 1 - 4: Kingston, Jamaica
       28
                                                   7
                                               PLAINTIFFS’ RESPONSES TO DEFENDANTS’ INTERROGATORIES




                                   EXHIBIT 26
                                   PAGE 901
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 106 of 145 Page ID
                                    #:3241




                     o 16-17: Wilmington, NC-
        1            o 29: Orlando, FL
        2
               • December
        3          o 28: Springfield, IL:
        4

        5   In addition, LeCrae Moore performed Plaintiffs’ Composition on his national tour
        6
            during the years 2008 and 2009.
        7
        8
        9    Date: May 6, 2016                   /s/ Michael A. Kahn
                                                 Michael A. Kahn (pro hac vice)
       10                                        Kahn@capessokol.com
                                                 Drey A. Cooley (pro hac vice)
       11                                        Cooley@capessokol.com
                                                 Capes Sokol Goodman Sarachan PC
       12                                        7701 Forsyth Blvd., 12th Floor
                                                 St. Louis, MO 63105
       13                                        Telephone: (314) 721-7701
       14                                        Eric F. Kayira (pro hac vice)
                                                 eric.kayira@kayiralaw.com
       15                                        Kayira Law, LLC
                                                 200 S. Hanley Road, Suite 208
       16                                        Clayton, Missouri 63105
                                                 Telephone: (314) 899-9381
       17
                                                 Carole E. Handler (SBN 129381)
       18                                        chandler@eisnerlaw.com
                                                 Brianna Dahlberg (SBN 280711)
       19                                        bdahlberg@eisnerlaw.com
                                                 EISNER JAFFE
       20                                        9601 Wilshire Boulevard, Suite 700
                                                 Beverly Hills, California 90210
       21                                        Telephone: (310) 855-3200
                                                 Facsimile: (310) 855-3201
       22
                                                 Attorneys for Plaintiffs
       23
       24

       25
       26

       27
       28
                                                     8
                                                 PLAINTIFFS’ RESPONSES TO DEFENDANTS’ INTERROGATORIES




                                      EXHIBIT 26
                                      PAGE 902
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 107 of 145 Page ID
                                    #:3242




                                           PROOF OF SERVICE
       1
                  I hereby certify that on this 6th day of May, 2016, I caused a copy of the
       2    foregoing to be served by electronic mail upon the counsel of record identified in the
            Service List below. To the best of my knowledge, the transmission was complete and
       3    without error.
       4                                          /s/ Michael A. Kahn
       5    SERVICE LIST:
       6     Vincent H. Chieffo (SBN 49069)                Christine Lepera (pro hac vice)
             Email: ChieffoV@gtlaw.com                     ctl@msk.com
       7     Alana C. Srour (SBN 271905)                   Jeffrey M. Movit (pro hac vice)
             Email: SrourA@gtlaw.com                       jmm@msk.com
       8     GREENBERG TRAURIG, LLP                        MITCHELL SILVERBERG & KNUPP LLP
             1840 Century Park East, Suite 1900            12 East 49th Street, 30th Floor
       9     Los Angeles, CA 90067-2121                    New York, New York 10017-1028
       10    Attorneys for Defendants Katheryn             Aaron M. Wais (SBN 250671)
             Elizabeth Hudson p/k/a Katy Perry and         amw@msk.com
       11    Kitty Purry, Inc                              MITCHELL SILVERBERG & KNUPP LLP
                                                           11377 West Olympic Boulevard
       12                                                  Los Angeles, CA 90064-1683
       13                                                  Attorneys for Defendants Capitol
                                                           Records, Jordan Houston, Lukasz
       14                                                  Gottwald, Sarah Therese Hudson, Karl
                                                           Martin Sandberg and Henry Russell
       15                                                  Walter
       16

       17

       18
       19

       20
       21
       22
       23
       24

       25
       26

       27
       28
                                                       9
                                                  PLAINTIFFS’ RESPONSES TO DEFENDANTS’ INTERROGATORIES




                                       EXHIBIT 26
                                       PAGE 903
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 108 of 145 Page ID
                                    #:3243




        1
                                              VERIFICATION

        2
                  I certify under penalty of perjury under the laws of the United States that I have
        3
            read the foregoing supplemental answers to Interrogatory Numbers 4 and 13 and that the
        4
            supplemental answers are—subject to any inadvertent or undiscovered errors—true to
        5
            my knowledge, information and belief.
        6
        7

        8
                                            Marcus Gray
        9
                                                     4–28-16
       10                                   Date:
       11

       12

       13
       14
       15

       16
       17

       18

       19
       20

       21
       22

       23

       24

       25

       26

       27
       28
                                                       10
                                                    PLAINTIFFS’ RESPONSES TO DEFENDANTS’ INTERROGATORIES




                                      EXHIBIT 26
                                      PAGE 904
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 109 of 145 Page ID
                                    #:3244




                   EXHIBIT 27




                                 EXHIBIT 27
                                 PAGE 905
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 110 of 145 Page ID
                                    #:3245




            Michael A. Kahn (pro hac vice)
       1    Kahn@capessokol.com
            Drey A. Cooley (pro hac vice)
       2    Cooley@capessokol.com
            Capes Sokol Goodman Sarachan PC
       3    7701 Forsyth Blvd., 12th Floor
            St. Louis, MO 63105
       4    Telephone: (314) 721-7701
       5    Eric F. Kayira (pro hac vice)
            eric.kayira@kayiralaw.com
       6    Kayira Law, LLC
            200 S. Hanley Road, Suite 208
       7    Clayton, Missouri 63105
            Telephone: (314) 899-9381
       8
            Carole E. Handler (SBN 129381)
       9    chandler@eisnerlaw.com
            Brianna Dahlberg (SBN 280711)
      10    bdahlberg@eisnerlaw.com
            EISNER JAFFE
      11    9601 Wilshire Boulevard, Suite 700
            Beverly Hills, California 90210
      12    Telephone: (310) 855-3200
            Facsimile: (310) 855-3201
      13
            Attorneys for Plaintiffs
      14
                                   UNITED STATES DISTRICT COURT
      15
                           FOR THE CENTRAL DISTRICT OF CALIFORNIA
      16

      17
            MARCUS GRAY, et al.,                          Case No. 2:15-cv-05642-CAS-JC
      18
                                       Plaintiffs,        Hon. Christina A. Snyder
      19
                   v.                                     _
      20
            KATHERYN ELIZABETH HUDSON, PLAINTIFFS’ SUPPLEMENTAL
      21    et al.,                    ANSWER TO
                                       INTERROGATORY NOS. 4 AND
      22                    Defendant. 13 OF DEFENDANTS’ FIRST
                                       SET OF INTERROGATORIES
      23                               (AMENDED)
      24

      25
                 Plaintiff Marcus Gray, on behalf of all plaintiffs, submits the following
      26
           supplemental answers to Interrogatory Nos. 4 and 13 of Defendants’ First Set of
      27
           Interrogatories (with an amended answer to Interrogatory No. 13):
      28


                                                     PLAINTIFFS’ RESPONSES TO DEFENDANTS’ INTERROGATORIES


                                       EXHIBIT 27
                                       PAGE 906
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 111 of 145 Page ID
                                    #:3246




           INTERROGATORY NO. 4:
       1
           Set forth in detail all facts which support any contention that Defendants
       2   purportedly had access to the Plaintiffs' Composition, or any Recording thereof.
       3
                 Original Response: Plaintiffs’ investigation continues and will include, among
       4

       5
           other things, discovery from defendants and their agents. Until that investigation is

       6   completed, Defendants’ access to the Composition and the Recording can be inferred
       7
           from the widespread dissemination of the Recording and the widespread performance
       8
       9   of the Composition. Among other things:

      10      • By at least 18 months before the release of the recording of Defendants’
      11
                 Composition, the Recording of Plaintiffs’ Composition had been viewed and/or
      12
      13         downloaded from YouTube more than 2.5 million times and had been viewed
      14         and/or downloaded from other Internet sites more than 1 million times;
      15
              • In addition, tens of thousands of followers of the Myspace.com pages for
      16

      17         Plaintiffs and LeCrae Moore had access to the Recording of Plaintiffs’
      18         Composition;
      19
              • From 2008 thru 2012, Plaintiffs performed the Composition in more than
      20
      21         approximately 200 concert venues around the nation, including the West Coast,
      22
                 the Midwest, the South and the East Coast;
      23
              • During the first half of 2013, Plaintiffs performed the Composition in an
      24

      25         additional two dozen concert venues around the nation;
      26
              • During 2008 and 2009, LeCrae Moore performed the Composition on his own
      27
      28         concert tour around the nation;
                                                       2
                                                   PLAINTIFFS’ RESPONSES TO DEFENDANTS’ INTERROGATORIES




                                       EXHIBIT 27
                                       PAGE 907
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 112 of 145 Page ID
                                    #:3247




       1     • In January of 2009, the album Our World Redeemed (which includes Plaintiff’s

       2        Composition) was a nominee for Rap/Hip Hop Gospel Album of the Year at the
       3
                Stellar Award Show held at the Grand Ole Opry in Nashville, Tennessee in
       4

       5        Nashville, Tennessee;

       6     • In February of 2009, the album Our World Redeemed (which includes
       7
                Plaintiff’s Composition) was a nominee for Best Rock or Rap Gospel Album at
       8
       9        the 51st Annual Grammy Awards Show in Los Angeles, California, which was
      10        televised nationwide;
      11
             • Katy Perry performed at that 51st Annual Grammy Awards Show in February of
      12
      13        2009, and, on information and belief, Defendants Gottswald and Sandberg (and
      14
                perhaps other individual Defendants) were voting members of the Grammy
      15
                Society that year and thus would have received copies of and/or access to the
      16

      17        nominated songs and albums for their review prior to voting.
      18
             • In April of 2009, Plaintiffs’ Composition was a nominee for the Best Rap/Hip
      19
                Hop Song of the Year at the 40th GMA Dove Awards, which was televised live
      20
      21        from the Grand Ole Opry in Nashville, Tennessee.
      22
             • The Recording of Plaintiffs’ Composition was played on radio stations
      23
      24
                throughout the nation and occasionally featured on television interviews of the

      25        Plaintiffs during their concert tours.
      26

      27   Supplemental Response: Additionally, the album Our World Redeemed (which
      28
                                                         3
                                                  PLAINTIFFS’ RESPONSES TO DEFENDANTS’ INTERROGATORIES




                                        EXHIBIT 27
                                        PAGE 908
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 113 of 145 Page ID
                                    #:3248




       1   includes Plaintiff’s Composition), debuted at #5 on the Billboard Gospel Chart and
       2   reached #1 on the Christian Music Trade Association (CMTA) R&B/Hip Hop Chart.
       3
           INTERROGATORY NO. 13:
       4
           Describe in detail all concerts, events, presentations, gatherings, recitals,
       5   performances or sessions at which Plaintiffs' Composition was performed,
       6   including but not limited to the name(s) of the performer(s), as well as the date,
           venue and attendance figures for any such performance.
       7
       8         Original Response: As stated above, Plaintiffs and Mr. Moore have performed
       9
           Plaintiffs’ Composition at more than 200 venues around the country. Plaintiffs shall
      10
      11   provide Defendants with documents evidencing the information sought by this
      12   Interrogatory.
      13
                 Supplemental Response: The documents evidencing Plaintiffs’ performances of
      14
      15   the Composition prior to 2011 are less comprehensive than the more recent
      16   documents. Accordingly, Plaintiffs supplement their prior answer by providing the
      17
           following dates and venues for their performance of the Composition (along with
      18
      19   other songs) for the period 2008 through 2010:
      20                                          --2008--
      21      • March
                  o 1: Chillicothe , Ohio
      22          o 7: St. Louis, MO
                  o 15: Toledo , Ohio
      23          o 22: Pittsburgh, PA
                  o 29: Charlotte, NC
      24
              • April
      25          o 26: St. Petersburg, FL
      26      • May
                  o 1: Kansas City, MO
      27          o 24: Providence, RI
      28
                                                     4
                                                 PLAINTIFFS’ RESPONSES TO DEFENDANTS’ INTERROGATORIES




                                       EXHIBIT 27
                                       PAGE 909
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 114 of 145 Page ID
                                    #:3249




              • June
        1          o 19: Greenville, TX
                   o 28: Tampa, FL
        2
              • July
        3          o   11: Sacramento, CA
                   o   17: Sayreville, NJ
        4          o   18: Cleveland, OH
                   o   25: Jacksonville, FL
        5          o   27: Chicago, IL
        6     • August
                  o 1: Mulberry, FL
        7         o 9: Minneapolis, MN
                  o 10: Oakland, CA
        8         o 14: Chicago, IL
                  o 23: Dixon, CA
        9
              • September
       10          o 12: Clinton, MD
                   o 29: Williamsburg, KY
       11
              • October
       12         o 17: Virginia Beach, VA
                  o 25: Branson, MO
       13         o 31 Southfield , MI
              • November
       14         o 2: Cave City, KY
                  o 7: Greensboro, NC
       15         o 8: New Orleans, LA
       16     • December
                  o 28: Nashville, TN
       17         o 31: Richardson, TX
       18                                     --2009--
              • January
       19          o 2: San Bernadino, CA
                   o 14: Stellar Award show (Nomination for Our World Redeemed):
       20             Nashville, TN—NO ACTUAL PERFORMANCE
       21     • February
                   o 7-8: Grammy Awards (Nomination for Our World Redeemed): Los
       22             Angeles, CA—NO ACTUAL PERFORMANCE
                   o 13: Orange City, IA
       23          o 17: Mt. Washington, KY
                   o 19: Kingston, Jamaica
       24
              • March
       25         o 21: Danville, KY
       26     • April
                  o 10: St. Peters, MO
       27
       28
                                                  5
                                              PLAINTIFFS’ RESPONSES TO DEFENDANTS’ INTERROGATORIES




                                    EXHIBIT 27
                                    PAGE 910
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 115 of 145 Page ID
                                    #:3250




                  o 23: Dove Awards show (Nomination for “Joyful Noise” Best Rap Song
       1            of the year): Nashville, TN—SHORT CLIP OF RECORDING PLAYED
                    BUT NO ACTUAL PERFORMANCE
       2          o 25: St. Petersburg, FL
       3     • May
                 o 2: Springfield, MO
       4         o 29: Memphis, TN
                 o 30: Minneapolis, MN
       5
             • June
       6          o   5: Manchester, NH
                  o   6: Woodbridge, VA
       7          o   11: Lima, OH
                  o   12: Glendale, NY
       8          o   13: Detroit, MI
                  o   19: Miami, FL
       9          o   20: Orlando, FL
                  o   23: Virginia Beach, VA
      10          o   25: Mt. Union, PA
                  o   27: Birmingham, AL
      11          o   28: Baton Route, LA
      12     • July
                  o   8: San Antonio, TX
      13          o   9: Oklahoma City, OK
                  o   10: Houston, TX
      14          o   11: Dallas, TX
                  o   12: Odessa, TX
      15          o   13: Albuquerque, NM
                  o   15: Phoenix, AZ
      16          o   16: San Bernardino, CA
                  o   18: San Diego, CA
      17          o   19: San Leandro, CA
                  o   23: George, WA
      18          o   24: Seattle, WA
      19     • August
                 o 2: Greensboro, NC
      20         o 7: Louisville, KY
                 o 14: Cleveland, OH.
      21         o 16: Minneapolis, MN
                 o 21: Richardson, TX
      22         o 22: Parsons, KS
                 o 29: Atlanta, GA
      23
      24     • September
                  o 12 - 13: Longview, TX
      25          o 18: Richmond, VA
                  o 19: Springfield, MO
      26
             • October
      27         o 17: Wilmington, NC –Ampfest
                 o 24: Huntsville, AL.
      28
                                                   6
                                               PLAINTIFFS’ RESPONSES TO DEFENDANTS’ INTERROGATORIES




                                   EXHIBIT 27
                                   PAGE 911
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 116 of 145 Page ID
                                    #:3251




                   o 30: Orlando, Fl.
        1          o 31: Joliet, IL
        2     • December
                  o 31: Lebanon, IL -
        3
                                               --2010--
        4
              • January
        5          o 15: Louisville, KY
                   o 16: Orlando, FL
        6
              • February
        7          o 5: Huntsville, AL
                   o 12: Louisville KY
        8          o 13: Modesto, CA
        9     • March
                  o 6: Kansas City, MO
       10         o 13: Buffalo, NY
                  o 26: Prestonsburg, KY
       11
              • April
       12         o 24: Due West, SC
                  o 30: Shelby, NC:
       13
              • May
       14         o 1: Shelby, NC
                  o 21: Indianapolis IN
       15
              • June
       16          o 10 - 13: Alberta, Canada-
                   o 20 - 27: Maui & Oahu, Hawaii
       17          o 29: Louisville, KY
       18     • July
                   o   11 -12: Central, Florida -
       19          o   14 -18: Liege, Belgium & Heidelberg, Germany
                   o   23: Rochester, NY
       20          o   29: Chicago, IL
                   o   30: Houston, DE-
       21          o   31: Bridge, CO
       22     • August
                  o 5:Detroit, MI
       23         o 6: Toledo, OH.
                  o 7: Kansas City, MO
       24         o 13: Sacramento, CA
                  o 20: Seattle, WA
       25         o 21: Portland, OR
                  o 27: Institute, West Virginia
       26
              • September
       27          o 5: Warrensville, OH
                   o 17: Gainesville Fl.
       28
                                                   7
                                              PLAINTIFFS’ RESPONSES TO DEFENDANTS’ INTERROGATORIES




                                   EXHIBIT 27
                                   PAGE 912
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 117 of 145 Page ID
                                    #:3252




        1      • October
                   o 1 - 4: Kingston, Jamaica
        2          o 16-17: Wilmington, NC-
                   o 29: Orlando, FL
        3
        4      • December
                   o 28: Springfield, IL:
        5
        6
            In addition, LeCrae Moore performed Plaintiffs’ Composition on his national tour
        7
        8   during the years 2008 and 2009.
        9
       10
             Date: May 6, 2016                   /s/ Michael A. Kahn
       11                                        Michael A. Kahn (pro hac vice)
                                                 Kahn@capessokol.com
       12                                        Drey A. Cooley (pro hac vice)
                                                 Cooley@capessokol.com
       13                                        Capes Sokol Goodman Sarachan PC
                                                 7701 Forsyth Blvd., 12th Floor
       14                                        St. Louis, MO 63105
                                                 Telephone: (314) 721-7701
       15
                                                 Eric F. Kayira (pro hac vice)
       16                                        eric.kayira@kayiralaw.com
                                                 Kayira Law, LLC
       17                                        200 S. Hanley Road, Suite 208
                                                 Clayton, Missouri 63105
       18                                        Telephone: (314) 899-9381
       19                                        Carole E. Handler (SBN 129381)
                                                 chandler@eisnerlaw.com
       20                                        Brianna Dahlberg (SBN 280711)
                                                 bdahlberg@eisnerlaw.com
       21                                        EISNER JAFFE
                                                 9601 Wilshire Boulevard, Suite 700
       22                                        Beverly Hills, California 90210
                                                 Telephone: (310) 855-3200
       23                                        Facsimile: (310) 855-3201
       24                                        Attorneys for Plaintiffs
       25
       26

       27
       28
                                                     8
                                                 PLAINTIFFS’ RESPONSES TO DEFENDANTS’ INTERROGATORIES




                                      EXHIBIT 27
                                      PAGE 913
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 118 of 145 Page ID
                                    #:3253




                                          PROOF OF SERVICE
       1
                 I hereby certify that on this 16th day of December, 2016, I caused a copy of the
       2   foregoing to be served by electronic mail upon the counsel of record identified in the
           Service List below. To the best of my knowledge, the transmission was complete and
       3   without error.
       4                                         /s/ Michael A. Kahn
       5   SERVICE LIST:
       6    Vincent H. Chieffo (SBN 49069)               Christine Lepera (pro hac vice)
            Email: ChieffoV@gtlaw.com                    ctl@msk.com
       7    Alana C. Srour (SBN 271905)                  Jeffrey M. Movit (pro hac vice)
            Email: SrourA@gtlaw.com                      jmm@msk.com
       8    GREENBERG TRAURIG, LLP                       MITCHELL SILVERBERG & KNUPP LLP
            1840 Century Park East, Suite 1900           12 East 49th Street, 30th Floor
       9    Los Angeles, CA 90067-2121                   New York, New York 10017-1028
      10    Attorneys for Defendants Katheryn            Aaron M. Wais (SBN 250671)
            Elizabeth Hudson p/k/a Katy Perry and        amw@msk.com
      11    Kitty Purry, Inc                             MITCHELL SILVERBERG & KNUPP LLP
                                                         11377 West Olympic Boulevard
      12                                                 Los Angeles, CA 90064-1683
      13                                                 Attorneys for Defendants Capitol
                                                         Records, Jordan Houston, Lukasz
      14                                                 Gottwald, Sarah Therese Hudson, Karl
                                                         Martin Sandberg and Henry Russell
      15                                                 Walter
      16

      17

      18
      19

      20
      21
      22
      23
      24

      25
      26

      27
      28
                                                     9
                                                 PLAINTIFFS’ RESPONSES TO DEFENDANTS’ INTERROGATORIES




                                      EXHIBIT 27
                                      PAGE 914
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 119 of 145 Page ID
                                    #:3254




                   EXHIBIT 28




                                 EXHIBIT 28
                                 PAGE 915
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 120 of 145 Page ID
                                    #:3255




           Michael A. Kahn (pro hac vice)
       1   Kahn@capessokol.com
           Drey A. Cooley (pro hac vice)
       2   Cooley@capessokol.com
           Capes Sokol Goodman Sarachan PC
       3   7701 Forsyth Blvd., 12th Floor
           St. Louis, MO 63105
       4   Telephone: (314) 721-7701
       5   Eric F. Kayira (pro hac vice)
           eric.kayira@kayiralaw.com
       6   Kayira Law, LLC
           200 S. Hanley Road, Suite 208
       7   Clayton, Missouri 63105
           Telephone: (314) 899-9381
       8
           Carole E. Handler (SBN 129381)
       9   chandler@eisnerlaw.com
           Brianna Dahlberg (SBN 280711)
      10   bdahlberg@eisnerlaw.com
           EISNER JAFFE
      11   9601 Wilshire Boulevard, Suite 700
           Beverly Hills, California 90210
      12   Telephone: (310) 855-3200
           Facsimile: (310) 855-3201
      13
           Attorneys for Plaintiffs
      14
                                  UNITED STATES DISTRICT COURT
      15
                          FOR THE CENTRAL DISTRICT OF CALIFORNIA
      16

      17
            MARCUS GRAY, et al.,                       Case No. 2:15-cv-05642-CAS-JC
      18
                                      Plaintiffs,      Hon. Christina A. Snyder
      19
                  v.                   _
      20                               PLAINTIFFS’ COMBINED
            KATHERYN ELIZABETH HUDSON, RESPONSES TO DEFENDANTS
      21    et al.,                    JORDAN HOUSTON, LUKASZ
                                       GOTTWALD, SARAH
      22                    Defendant. THERESA HUDSO KARL
                                       MARTIN SANDBEKG AND
      23                               HENRY RUSSELL WALTER'S
                                       FIRST REQUESTS FOR
      24                               PRODUCTION OF
                                       DOCUMENTS
      25
      26

      27
      28


                                          PLAINTIFFS’ RESPONSES TO DEFENDANTS’ REQUESTS FOR PRODUCTION


                                      EXHIBIT 28
                                      PAGE 916
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 121 of 145 Page ID
                                    #:3256




       1         Plaintiffs Marcus Gray, Emanuel Lambert and Chike Ojukwu (collectively,
       2   “Plaintiffs”) submit this combined response to Defendants’ First Request for
       3   Production of Documents:
       4                   GENERAL OBJECTIONS AND CLARIFICATIONS
       5         1.       Plaintiffs object to the extent the Requests seek to impose obligations on
       6   Plaintiffs that exceed the requirements of he Federal Rules of Civil Procedure or the
       7   Local Rules.
       8         2.       Plaintiffs object to the Requests to the extent they are vague, ambiguous,
       9   overly broad or unduly burdensome, lack reasonable particularity, seek irrelevant
      10   information or information not reasonably calculated to lead to the discovery of
      11   admissible evidence, go beyond the subject matter of this action, or call for an
      12   interpretation on the part of Plaintiffs. In order to provide a response in good faith,
      13   Plaintiffs have made such interpretations where necessary and have responded
      14   accordingly.
      15         3.       Plaintiffs object to the Requests to the extent they call for the disclosure
      16   of information protected by the attorney-client privilege, the work product doctrine or
      17   any other applicable privilege, immunity or doctrine. Inadvertent disclosure of such
      18   documents or information shall not constitute a waiver of any privilege, immunity or
      19   doctrine with respect to the subject matter thereof or the information contained therein
      20   and shall not waive the right of Plaintiffs to object to the use of any such information
      21   or document (or the information contained therein) during any pending or subsequent
      22   proceeding. Any document inadvertently produced should be returned immediately to
      23   Plaintiffs upon request.
      24         4.       Plaintiffs object to the Requests to the extent they seek documents that
      25   are not in their possession, custody or under its control, including documents that are
      26   in the possession, custody or control of any other entity or individual.
      27
      28
                                                         2
                                             PLAINTIFFS’ RESPONSES TO DEFENDANTS’ REQUESTS FOR PRODUCTION




                                          EXHIBIT 28
                                          PAGE 917
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 122 of 145 Page ID
                                    #:3257




       1          5.    Plaintiffs object to the “Definitions and Instructions” contained in the
       2   Requests to the extent that they are overly broad, unduly burdensome or oppressive or
       3   seek discovery beyond the scope of Federal Rules of Civil Procedure 26 and 34.
       4          6.    Plaintiffs object to the Requests insofar as they call for the production of
       5   documents containing trade secrets. Plaintiffs reserve the right to redact trade secret
       6   information from documents produced in response to these Requests.
       7          7.    Plaintiffs object to the Requests to the extent that they call for the
       8   production of documents, including electronically stored information, according to
       9   technical specifications that exceed or differ from those previously agreed to by the
      10   parties.
      11          8.    Plaintiffs object to the Requests to the extent that they call for the
      12   production of “all documents” concerning some subject on the ground that Plaintiffs
      13   can never be certain that they have located all such documents. Plaintiffs shall make
      14   reasonable efforts to define, search for, locate, and produce documents responsive to
      15   the request for “all documents” but do not and cannot warrant that they will indeed be
      16   able to identify or locate “all” such documents.
      17          9.    In providing these resonses, Plaintiffs do not admit or concede the
      18   relevance, materiality, authenticity, or admissibility in evidence of any such responses,
      19   information or documents. All objections to the use, at trial or otherwise, of any
      20   information provided in response to the Requests are expressly reserved. All
      21   individual responses to the Requests are made on the express reservation of all
      22   applicable objections, court rulings, agreements and understandings and are made
      23   pursuant to the foregoing General Objections and any specific objections set forth
      24   below.
      25          The foregoing General Objections shall be deemed to apply to each and every
      26   individual request.
                                                RESPONSES
      27
      28
                                                        3
                                           PLAINTIFFS’ RESPONSES TO DEFENDANTS’ REQUESTS FOR PRODUCTION




                                        EXHIBIT 28
                                        PAGE 918
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 123 of 145 Page ID
                                    #:3258




            REQUEST NO. 1:
        1
            All documents concerning the creation of Plaintiffs' Composition, including but
        2   not limited to any Recording, sheet music or handwritten notes embodying any
            music or lyrics of that composition.
        3
        4         Response: Subject to the foregoing General Objections and Clarifications,
        5   Plaintiffs will produce any non-privileged documents responsive to this Request.
        6   REQUEST NO. 2:
        7   All documents concerning the creation of any Recording of Plaintiffs'
            Composition at any location, including but not limited to studio logs, recording
        8   sessions, invoices, bills, receipts, cancelled checks, and documents refen-ing to
            the date(s) on which Plaintiffs' Composition was recorded
        9
       10         Response: Subject to the foregoing General Objections and Clarifications,
       11   Plaintiffs will produce any non-privileged documents responsive to this Request.
       12   REQUEST NO. 3:
       13   All documents concerning the ownership of Plaintiffs' Composition or any
            Recording of Plaintiffs' Composition
       14
       15         Response: Subject to the foregoing General Objections and Clarifications,
       16   Plaintiffs will produce any non-privileged documents responsive to this Request.
       17   REQUEST NO. 4:
       18   All documents concerning any public performance, broadcast, publication,
            License, reproduction, sale, distribution or other exploitation in any form or
       19   medium of Plaintiffs' Composition at any time
       20
                  Response: Subject to the foregoing General Objections and Clarifications,
       21
            Plaintiffs will produce any non-privileged documents responsive to this Request.
       22
            REQUEST NO. 5:
       23
            All documents concerning any rights or interests of Plaintiff or any other party
       24   in and to Plaintiffs' Composition, including but not limited to any alleged
            assignments of any such rights.
       25
       26         Response: Subject to the foregoing General Objections and Clarifications,
       27   Plaintiffs will produce any non-privileged documents responsive to this Request.
       28
                                                      4
                                          PLAINTIFFS’ RESPONSES TO DEFENDANTS’ REQUESTS FOR PRODUCTION




                                       EXHIBIT 28
                                       PAGE 919
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 124 of 145 Page ID
                                    #:3259




       1
           REQUEST NO. 6:
       2
           All documents concerning any License requested or granted to any person, entity
       3   or group to undertake a public performance of Plaintiffs' Composition
       4
                 Response: Subject to the foregoing General Objections and Clarifications,
       5
           Plaintiffs will produce any non-privileged documents responsive to this Request.
       6
           REQUEST NO. 7:
       7
           All documents concerning live performances of Plaintiffs' Composition.
       8
       9         Response: Subject to the foregoing General Objections and Clarifications,
      10   Plaintiffs will produce any non-privileged documents responsive to this Request.
      11   REQUEST NO. 8:
      12   All documents refening or relating to any distribution, Licenses or any other
           exploitation of Plaintiffs' Composition or any Recording thereof, including but
      13   not limited to all mechanical licenses and/or synchronization licenses issued for
           Plaintiffs' Composition or any Recording thereof.
      14
      15         Response: Subject to the foregoing General Objections and Clarifications,
      16   Plaintiffs will produce any non-privileged documents responsive to this Request.
      17   REQUEST NO. 9:
      18   All requests for licenses of Plaintiffs' Composition and/or any Recording thereof.
      19
                 Response: Subject to the foregoing General Objections and Clarifications,
      20
           Plaintiffs will produce any non-privileged documents responsive to this Request.
      21
           REQUEST NO. 10:
      22
           All documents concerning any License of Plaintiffs' Composition..
      23
      24         Response: Subject to the foregoing General Objections and Clarifications,
      25   Plaintiffs will produce any non-privileged documents responsive to this Request.
      26   REQUEST NO. 11:
      27   All documents concerning any License of any Recording of Plaintiffs'
           Composition, or any "sample" or portion thereof.
      28
                                                     5
                                         PLAINTIFFS’ RESPONSES TO DEFENDANTS’ REQUESTS FOR PRODUCTION




                                      EXHIBIT 28
                                      PAGE 920
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 125 of 145 Page ID
                                    #:3260




        1         Response: Subject to the foregoing General Objections and Clarifications,
        2   Plaintiffs will produce any non-privileged documents responsive to this Request.
        3   REQUEST NO. 12:
        4   A copy of all commercially released products in any fom1at (including but not
            limited to CDs, cassette tapes, and vinyl records) containing a Recording of
        5   Plaintiffs' Composition Recording, on the other hand.
        6
                  Response: The only commercially released product was a CD, which Plaintiffs
        7
            shall produce.
        8
            REQUEST NO. 13:
        9
            All documents reflecting any radio or television broadcast of Plaintiffs'
       10   Composition (or any Recording thereof).
       11
                  Response: Subject to the foregoing General Objections and Clarifications,
       12
            Plaintiffs will produce any non-privileged documents responsive to this Request.
       13
            REQUEST NO. 14:
       14
            All documents reflecting any online publication or broadcast of Plaintiffs'
       15   Composition or any Recording thereof.
       16
                  Response: Subject to the foregoing General Objections and Clarifications,
       17
            Plaintiffs will produce any non-privileged documents responsive to this Request.
       18
            REQUEST NO. 15:
       19
            All documents concerning any alleged communications between Plaintiff, on one
       20   hand, and any credited writer of Defendants' Composition, on the other hand
       21
                  Response: Plaintiffs are not aware of any such documents, at least as such
       22
            document(s) might relate to any issue in this lawsuit.
       23
            REQUEST NO. 16:
       24
            All documents concerning any alleged communications between Plaintiff, on one
       25   hand, and any credited performer or producer of Defendants' Recording, on the
            other hand.
       26

       27         Response: Plaintiffs are not aware of any such documents, at least as such
       28
                                                       6
                                           PLAINTIFFS’ RESPONSES TO DEFENDANTS’ REQUESTS FOR PRODUCTION




                                        EXHIBIT 28
                                        PAGE 921
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 126 of 145 Page ID
                                    #:3261




        1   document(s) might relate to any issue in this lawsuit.
        2   REQUEST NO. 17:
        3   All documents concerning any alleged communications between Plaintiff, on one
            hand, and any of the Defendants, on the other hand.
        4

        5         Response: Plaintiffs are not aware of any such documents, at least as such
        6   document(s) might relate to any issue in this lawsuit.
        7   REQUEST NO. 18:
        8   All documents that support any contention by Plaintiff that any credited writer of
            Defendants' Composition had access to Plaintiffs' Composition or any Recording
        9   thereof.
       10
                  Response: Beyond the documents that would evidence the types of access
       11
            identified in the Plaintiffs’ Combined Responses to Defendants’ First Set of
       12
            Interrogatories, all of which would be in the possession of either Defendants or third
       13
            parties, Plaintiffs are not presently aware of any additional such documents. Their
       14
            investigation continues.
       15
       16   REQUEST NO. 19:
       17   All documents that support any contention by Plaintiff that any credited performer
            or producer of Defendants' Recording had access to Plaintiffs' Composition or any
       18   Recording thereof.
       19         Response: See response to Request No. 18.
       20   REQUEST NO. 20:
       21   All documents that support any contention by Plaintiff that any of the Defendants
            had access to Plaintiffs' Composition or any Recording thereof.
       22
                  Response: See response to Request No. 18.
       23
            REQUEST NO. 21:
       24
            All documents concerning any communications between Plaintiff and the United
       25   States Copyright Office relating to the composition or recording of Plaintiffs'
            Composition, including but not limited to all documents relating to any application
       26   to the United States Copyright Office for a copyright registration in or related to
            Plaintiffs' Composition, including the copyright registration referenced in Paragraph
       27   21 of the SAC.
       28
                                                       7
                                           PLAINTIFFS’ RESPONSES TO DEFENDANTS’ REQUESTS FOR PRODUCTION




                                        EXHIBIT 28
                                        PAGE 922
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 127 of 145 Page ID
                                    #:3262




       1         Response: Subject to the foregoing General Objections and Clarifications,
       2   Plaintiffs will produce any non-privileged documents responsive to this Request.
       3   REQUEST NO. 22:
       4   The deposit copy or copies of Plaintiffs' Composition deposited with the United
           States Copyright Office. After receipt of the Certificate of Registration, LeCrae
       5   Moore-the original fourth owner of the Copyright-transfen-ed and assigned all of
           his ownership interest in the Copyright (including any claims in this action) to the
       6   other three 01iginal Plaintiffs.
       7
                 Response: Subject to the foregoing General Objections and Clarifications and to
       8
           the extent that Plaintiffs can interpret what exactly is being requested by the second
       9
           sentence of this Request, they will produce any non-privileged documents responsive
      10
           to this Request.
      11
           REQUEST NO. 23:
      12
           All documents concerning LeCrae Moore's transfer and assignment all of his
      13   ownership interest in the Copyright (including any claims in this action) to the other
           three original Plaintiffs.
      14
      15         Response: Subject to the foregoing General Objections and Clarifications,
      16   Plaintiffs will produce any non-privileged documents responsive to this Request.
      17   REQUEST NO. 24:
      18   All documents concerning any communications between Plaintiff and the United
           States Copyright Office relating to the composition or recording of any other of
      19   Plaintiffs' compositions or recordings, including but not limited to all documents
           relating to any application to the United States Copyright Office for a copyright
      20   registration in or related to said other compositions or recordings.
      21
                 Response: Plaintiffs object to this Request as beyond the scope of discovery in
      22
           this action in that it is not relevant to any party's claim or defense
      23
      24   REQUEST NO. 25:
      25   The deposit copy or copies of Pl aintiffs' other compositions or recordings
           deposited with the United States Copyright Office.
      26

      27         Response: Plaintiffs object to this Request as beyond the scope of discovery in
      28
                                                        8
                                            PLAINTIFFS’ RESPONSES TO DEFENDANTS’ REQUESTS FOR PRODUCTION




                                         EXHIBIT 28
                                         PAGE 923
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 128 of 145 Page ID
                                    #:3263




        1   this action in that it is not relevant to any party's claim or defense
        2
            REQUEST NO. 26:
        3
            All documents relied on, or to be relied on, to support Plaintiffs' all egations in
        4   the SAC regarding any alleged infringement of Plaintiffs' Composition.
        5
                  Response: Subject to the foregoing General Objections and Clarifications,
        6
            Plaintiffs will produce any non-privileged documents responsive to this Request.
        7
            REQUEST NO. 27:
        8
            All d ocuments concerning any alleged damages of Plaintiff asserted in the SAC.
        9
       10         Response: Subject to the foregoing General Objections and Clarifications,
       11   Plaintiffs will produce any non-privileged documents responsive to this Request.
       12   REQUEST NO. 28:
       13   All documents reflecting any income received by Plaintiff as a result of the
            exploitation of Plaintiffs' Composition or any Recording thereof
       14
       15         Response: Subject to the foregoing General Objections and Clarifications,
       16   Plaintiffs will produce any non-privileged documents responsive to this Request.
       17   REQUEST NO. 29:
       18   All documents reflecting any income received by Plaintiff as a result of the
            exploitation of any other of Plaintiff s compositions or Recordings.
       19

       20         Response: Plaintiffs object to this Request as beyond the scope of discovery in
       21   this action in that it is not relevant to any party's claim or defense
       22
            REQUEST NO. 30:
       23
            All documents concerning any alleged similarities between Plaintiffs'
       24   Composition and Defendants' Composition
       25
                  Response: Subject to the foregoing General Objections and Clarifications,
       26
            Plaintiffs will produce any non-privileged documents responsive to this Request.
       27
            Howsever, to the extent that the Requests seeks the analysis or reports of expert
       28
                                                         9
                                             PLAINTIFFS’ RESPONSES TO DEFENDANTS’ REQUESTS FOR PRODUCTION




                                         EXHIBIT 28
                                         PAGE 924
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 129 of 145 Page ID
                                    #:3264




       1   musicologist, Plaintiffs object that this Request because it is (a) premature and thus
       2   improper under the Court’s Scheduling Order of March 29, 2016 (Docket # 140), and
       3   (b) seeks documents protected from disclosure by the attorney-client privilege and the
       4   attorney work product privilege.
       5   REQUEST NO. 31:
       6   All documents refering or relating to Defendants, Defendants' Composition
           and/or Defendants' Recording.
       7
       8         Response: Subject to the foregoing General Objections and Clarifications,
       9   Plaintiffs will produce any non-privileged documents responsive to this Request.
      10   Howsever, to the extent that the Requests seeks the analysis or reports of expert
      11   musicologist, Plaintiffs object that this Request because it is (a) premature and thus
      12   improper under the Court’s Scheduling Order of March 29, 2016 (Docket # 140), and
      13   (b) seeks documents protected from disclosure by the attorney-client privilege and the
      14   attorney work product privilege.
      15   REQUEST NO. 32:
      16   All musicological analyses of Plaintiffs' Composition (or any recording thereof)
      17
                 Response: Plaintiffs object that this Request because it is (a) premature and thus
      18
           improper under the Court’s Scheduling Order of March 29, 2016 (Docket # 140), and
      19
           (b) seeks documents protected from disclosure by the attorney-client privilege and the
      20
           attorney work product privilege.
      21
           REQUEST NO. 33:
      22
           All musicological analyses of Defendants' Composition and/or Defendants'
      23   Recording. Plaintiffs gave written notice of the infringement to Defendants or
           their representatives.
      24

      25         Response: Plaintiffs object that this Request because it is (a) premature and thus
      26   improper under the Court’s Scheduling Order of March 29, 2016 (Docket # 140), and
      27   (b) seeks documents protected from disclosure by the attorney-client privilege and the
      28
                                                       10
                                           PLAINTIFFS’ RESPONSES TO DEFENDANTS’ REQUESTS FOR PRODUCTION




                                        EXHIBIT 28
                                        PAGE 925
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 130 of 145 Page ID
                                    #:3265




        1   attorney work product privilege.
        2   REQUEST NO. 34:
        3   All documents concerning Plaintiffs giving written notice of the alleged
            infringement to Defendants or their representatives.
        4

        5         Response: Subject to the foregoing General Objections and Clarifications,
        6   Plaintiffs will produce any non-privileged documents responsive to this Request.
        7
            REQUEST NO. 35:
        8
            Any additional documents not produced in response to the above-categories that
        9   Plaintiff intends to or may rely upon in support of any allegation of the SAC.
       10
                  Response: Subject to the foregoing General Objections and Clarifications,
       11
            Plaintiffs will produce any non-privileged documents responsive to this Request.
       12
       13                                        /s/ Michael A. Kahn
                                                 Michael A. Kahn (pro hac vice)
       14                                        Kahn@capessokol.com
                                                 Drey A. Cooley (pro hac vice)
       15                                        Cooley@capessokol.com
                                                 Capes Sokol Goodman Sarachan PC
       16                                        7701 Forsyth Blvd., 12th Floor
                                                 St. Louis, MO 63105
       17                                        Telephone: (314) 721-7701
       18                                        Eric F. Kayira (pro hac vice)
                                                 eric.kayira@kayiralaw.com
       19                                        Kayira Law, LLC
                                                 200 S. Hanley Road, Suite 208
       20                                        Clayton, Missouri 63105
                                                 Telephone: (314) 899-9381
       21
                                                 Carole E. Handler (SBN 129381)
       22                                        chandler@eisnerlaw.com
                                                 Brianna Dahlberg (SBN 280711)
       23                                        bdahlberg@eisnerlaw.com
                                                 EISNER JAFFE
       24                                        9601 Wilshire Boulevard, Suite 700
                                                 Beverly Hills, California 90210
       25                                        Telephone: (310) 855-3200
                                                 Facsimile: (310) 855-3201
       26                                        Attorneys for Plaintiffs
       27
       28
                                                      11
                                          PLAINTIFFS’ RESPONSES TO DEFENDANTS’ REQUESTS FOR PRODUCTION




                                       EXHIBIT 28
                                       PAGE 926
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 131 of 145 Page ID
                                    #:3266




                                           PROOF OF SERVICE
        1
                  I hereby certify that on this 15th day of April, 2016, I caused a copy of the
        2   foregoing to be served by electronic mail upon the counsel of record identified in the
            Service List below. To the best of my knowledge, the transmission was complete and
        3   without error.
        4                                         /s/ Michael A. Kahn
        5   SERVICE LIST:
        6    Vincent H. Chieffo (SBN 49069)              Christine Lepera (pro hac vice)
             Email: ChieffoV@gtlaw.com                   ctl@msk.com
        7    Alana C. Srour (SBN 271905)                 Jeffrey M. Movit (pro hac vice)
             Email: SrourA@gtlaw.com                     jmm@msk.com
        8    GREENBERG TRAURIG, LLP                      MITCHELL SILVERBERG & KNUPP LLP
             1840 Century Park East, Suite 1900          12 East 49th Street, 30th Floor
        9    Los Angeles, CA 90067-2121                  New York, New York 10017-1028
       10    Attorneys for Defendants Katheryn           Aaron M. Wais (SBN 250671)
             Elizabeth Hudson p/k/a Katy Perry and       amw@msk.com
       11    Kitty Purry, Inc                            MITCHELL SILVERBERG & KNUPP LLP
                                                         11377 West Olympic Boulevard
       12                                                Los Angeles, CA 90064-1683
       13                                                Attorneys for Defendants Capitol
                                                         Records, Jordan Houston, Lukasz
       14                                                Gottwald, Sarah Therese Hudson, Karl
                                                         Martin Sandberg and Henry Russell
       15                                                Walter
       16

       17

       18
       19

       20
       21
       22
       23
       24

       25
       26

       27
       28
                                                       12
                                           PLAINTIFFS’ RESPONSES TO DEFENDANTS’ REQUESTS FOR PRODUCTION




                                       EXHIBIT 28
                                       PAGE 927
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 132 of 145 Page ID
                                    #:3267




                   EXHIBIT 29




                                 EXHIBIT 29
                                 PAGE 928
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 133 of 145 Page ID
                                    #:3268




             Michael A. Kahn (pro hac vice)
         1   Kahn@capessokol.com
             Drey A. Cooley (pro hac vice)
         2   Cooley@capessokol.com
             Capes Sokol Goodman Sarachan PC
         3   7701 Forsyth Blvd., 12th Floor
             St. Louis, MO 63105
         4   Telephone: (314) 721-7701
         5   Eric F. Kayira (pro hac vice)
             eric.kayira@kayiralaw.com
         6   Kayira Law, LLC
             200 S. Hanley Road, Suite 208
         7   Clayton, Missouri 63105
             Telephone: (314) 899-9381
         8
             Carole E. Handler (SBN 129381)
         9   chandler@eisnerlaw.com
             Brianna Dahlberg (SBN 280711)
        10   bdahlberg@eisnerlaw.com
             EISNER JAFFE
        11   9601 Wilshire Boulevard, Suite 700
             Beverly Hills, California 90210
        12   Telephone: (310) 855-3200
             Facsimile: (310) 855-3201
        13
             Attorneys for Plaintiffs
        14
                                    UNITED STATES DISTRICT COURT
        15
                            FOR THE CENTRAL DISTRICT OF CALIFORNIA
        16
        17
              MARCUS GRAY, et al.,                        Case No. 2:15-cv-05642-CAS-JC
        18
                                         Plaintiffs,      Hon. Christina A. Snyder
        19
                    v.                   _
        20                               PLAINTIFFS’ SUPPLEMENTAL
              KATHERYN ELIZABETH HUDSON, COMBINED RESPONSES TO
        21    et al.,                    DEFENDANTS JORDAN
                                         HOUSTON, LUKASZ
        22                    Defendant. GOTTWALD, SARAH
                                         THERESA HUDSON, KARL
        23                               MARTIN SANDBEKG AND
                                         HENRY RUSSELL WALTER'S
        24                               FIRST REQUESTS FOR
                                         PRODUCTION OF
        25                               DOCUMENTS
        26
        27
        28


                                             PLAINTIFFS’ RESPONSES TO DEFENDANTS’ REQUESTS FOR PRODUCTION


                                        EXHIBIT 29
                                        PAGE 929
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 134 of 145 Page ID
                                    #:3269




        1         Plaintiffs Marcus Gray, Emanuel Lambert and Chike Ojukwu (collectively,
        2   “Plaintiffs”) submit this combined response to Defendants’ First Request for
        3   Production of Documents:
        4                   GENERAL OBJECTIONS AND CLARIFICATIONS
        5         1.       Plaintiffs object to the extent the Requests seek to impose obligations on
        6   Plaintiffs that exceed the requirements of he Federal Rules of Civil Procedure or the
        7   Local Rules.
        8         2.       Plaintiffs object to the Requests to the extent they are vague, ambiguous,
        9   overly broad or unduly burdensome, lack reasonable particularity, seek irrelevant
       10   information or information not reasonably calculated to lead to the discovery of
       11   admissible evidence, go beyond the subject matter of this action, or call for an
       12   interpretation on the part of Plaintiffs. In order to provide a response in good faith,
       13   Plaintiffs have made such interpretations where necessary and have responded
       14   accordingly, or are disproportionate to the needs of the case .
       15         3.       Plaintiffs object to the Requests to the extent they call for the disclosure
       16   of information protected by the attorney-client privilege, the work product doctrine or
       17   any other applicable privilege, immunity or doctrine. Inadvertent disclosure of such
       18   documents or information shall not constitute a waiver of any privilege, immunity or
       19   doctrine with respect to the subject matter thereof or the information contained therein
       20   and shall not waive the right of Plaintiffs to object to the use of any such information
       21   or document (or the information contained therein) during any pending or subsequent
       22   proceeding. Any document inadvertently produced should be returned immediately to
       23   Plaintiffs upon request.
       24         4.       Plaintiffs object to the Requests to the extent they seek documents that
       25   are not in their possession, custody or under its control, including documents that are
       26   in the possession, custody or control of any other entity or individual.
       27
       28
                                                          2
                                              PLAINTIFFS’ RESPONSES TO DEFENDANTS’ REQUESTS FOR PRODUCTION




                                         EXHIBIT 29
                                         PAGE 930
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 135 of 145 Page ID
                                    #:3270




        1          5.    Plaintiffs object to the “Definitions and Instructions” contained in the
        2   Requests to the extent that they are overly broad, unduly burdensome or oppressive or
        3   seek discovery beyond the scope of Federal Rules of Civil Procedure 26 and 34.
        4          6.    Plaintiffs object to the Requests insofar as they call for the production of
        5   documents containing trade secrets. Plaintiffs reserve the right to redact trade secret
        6   information from documents produced in response to these Requests.
        7          7.    Plaintiffs object to the Requests to the extent that they call for the
        8   production of documents, including electronically stored information, according to
        9   technical specifications that exceed or differ from those previously agreed to by the
       10   parties.
       11          8.    Plaintiffs object to the Requests to the extent that they call for the
       12   production of “all documents” concerning some subject on the ground that Plaintiffs
       13   can never be certain that they have located all such documents. Plaintiffs shall make
       14   reasonable efforts to define, search for, locate, and produce documents responsive to
       15   the request for “all documents” but do not and cannot warrant that they will indeed be
       16   able to identify or locate “all” such documents.
       17          9.    In providing these resonses, Plaintiffs do not admit or concede the
       18   relevance, materiality, authenticity, or admissibility in evidence of any such responses,
       19   information or documents. All objections to the use, at trial or otherwise, of any
       20   information provided in response to the Requests are expressly reserved. All
       21   individual responses to the Requests are made on the express reservation of all
       22   applicable objections, court rulings, agreements and understandings and are made
       23   pursuant to the foregoing General Objections and any specific objections set forth
       24   below.
       25          The foregoing General Objections shall be deemed to apply to each and every
       26   individual request.
       27
       28
                                                         3
                                            PLAINTIFFS’ RESPONSES TO DEFENDANTS’ REQUESTS FOR PRODUCTION




                                        EXHIBIT 29
                                        PAGE 931
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 136 of 145 Page ID
                                    #:3271




                                               RESPONSES
        1
            REQUEST NO. 1:
        2
            All documents concerning the creation of Plaintiffs' Composition, including but
        3   not limited to any Recording, sheet music or handwritten notes embodying any
            music or lyrics of that composition.
        4
        5         Response: Subject to the foregoing General Objections and Clarifications,
        6   Plaintiffs will produce any non-privileged documents responsive to this Request. See
        7   documents produced herewith identified as P000107 – P000254.
        8   REQUEST NO. 2:
        9   All documents concerning the creation of any Recording of Plaintiffs'
            Composition at any location, including but not limited to studio logs, recording
       10   sessions, invoices, bills, receipts, cancelled checks, and documents referencing to
            the date(s) on which Plaintiffs' Composition was recorded
       11
       12         Response: Subject to the foregoing General Objections and Clarifications,
       13   Plaintiffs will produce any non-privileged documents responsive to this Request. See
       14   documents produced herewith identified as P000013 – P000044; P000107 – P000254.
       15   REQUEST NO. 3:
       16   All documents concerning the ownership of Plaintiffs' Composition or any
            Recording of Plaintiffs' Composition
       17
       18         Response: Subject to the foregoing General Objections and Clarifications,
       19   Plaintiffs will produce any non-privileged documents responsive to this Request. See
       20   documents produced herewith identified as P000001 – P000054; P000107 – P000254.
       21   REQUEST NO. 4:
       22   All documents concerning any public performance, broadcast, publication,
            License, reproduction, sale, distribution or other exploitation in any form or
       23   medium of Plaintiffs' Composition at any time
       24
                  Response: Subject to the foregoing General Objections and Clarifications,
       25
            Plaintiffs will produce any non-privileged documents responsive to this Request. See
       26
            documents produced herewith identified as P000001 – P000054; P000107 – P000254.
       27
       28
                                                      4
                                          PLAINTIFFS’ RESPONSES TO DEFENDANTS’ REQUESTS FOR PRODUCTION




                                      EXHIBIT 29
                                      PAGE 932
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 137 of 145 Page ID
                                    #:3272




        1

        2   REQUEST NO. 5:
        3   All documents concerning any rights or interests of Plaintiff or any other party
            in and to Plaintiffs' Composition, including but not limited to any alleged
        4   assignments of any such rights.
        5
                  Response: Subject to the foregoing General Objections and Clarifications,
        6
            Plaintiffs will produce any non-privileged documents responsive to this Request. See
        7
            documents produced herewith identified as P000001 – P000012.
        8

        9
            REQUEST NO. 6:
       10
            All documents concerning any License requested or granted to any person, entity
       11   or group to undertake a public performance of Plaintiffs' Composition
       12
                  Response: Subject to the foregoing General Objections and Clarifications,
       13
            Plaintiffs will produce any non-privileged documents responsive to this Request.
       14
       15

       16   REQUEST NO. 7:
       17   All documents concerning live performances of Plaintiffs' Composition.
       18
                  Response: Subject to the foregoing General Objections and Clarifications,
       19
            Plaintiffs will produce any non-privileged documents responsive to this Request. See
       20
            documents produced herewith identified as P000046.
       21
            REQUEST NO. 8:
       22
            All documents refening or relating to any distribution, Licenses or any other
       23   exploitation of Plaintiffs' Composition or any Recording thereof, including but
            not limited to all mechanical licenses and/or synchronization licenses issued for
       24   Plaintiffs' Composition or any Recording thereof.
       25
                  Response: Subject to the foregoing General Objections and Clarifications,
       26
            Plaintiffs will produce any non-privileged documents responsive to this Request.
       27
       28
                                                      5
                                          PLAINTIFFS’ RESPONSES TO DEFENDANTS’ REQUESTS FOR PRODUCTION




                                      EXHIBIT 29
                                      PAGE 933
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 138 of 145 Page ID
                                    #:3273




        1

        2   REQUEST NO. 9:
        3   All requests for licenses of Plaintiffs' Composition and/or any Recording thereof.
        4
                  Response: Subject to the foregoing General Objections and Clarifications,
        5
            Plaintiffs will produce any non-privileged documents responsive to this Request.
        6
            REQUEST NO. 10:
        7
            All documents concerning any License of Plaintiffs' Composition..
        8

        9         Response: Subject to the foregoing General Objections and Clarifications,
       10   Plaintiffs will produce any non-privileged documents responsive to this Request.
       11   REQUEST NO. 11:
       12   All documents concerning any License of any Recording of Plaintiffs'
            Composition, or any "sample" or portion thereof.
       13
       14         Response: Subject to the foregoing General Objections and Clarifications,
       15   Plaintiffs will produce any non-privileged documents responsive to this Request.
       16   REQUEST NO. 12:
       17   A copy of all commercially released products in any fom1at (including but not
            limited to CDs, cassette tapes, and vinyl records) containing a Recording of
       18   Plaintiffs' Composition Recording, on the other hand.
       19
                  Response: The only commercially released product was a CD, which Plaintiffs
       20
            shall produce.
       21
            REQUEST NO. 13:
       22
            All documents reflecting any radio or television broadcast of Plaintiffs'
       23   Composition (or any Recording thereof).
       24
                  Response: Subject to the foregoing General Objections and Clarifications,
       25
            Plaintiffs will produce any non-privileged documents responsive to this Request
       26
            REQUEST NO. 14:
       27
            All documents reflecting any online publication or broadcast of Plaintiffs'
       28
                                                      6
                                          PLAINTIFFS’ RESPONSES TO DEFENDANTS’ REQUESTS FOR PRODUCTION




                                      EXHIBIT 29
                                      PAGE 934
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 139 of 145 Page ID
                                    #:3274




            Composition or any Recording thereof.
        1

        2         Response: Subject to the foregoing General Objections and Clarifications,
        3   Plaintiffs will produce any non-privileged documents responsive to this Request. See
        4   documents produced herewith identified as P000049 – P000054; P000107 – P000254.
        5   REQUEST NO. 15:
        6   All documents concerning any alleged communications between Plaintiff, on one
            hand, and any credited writer of Defendants' Composition, on the other hand
        7
        8         Response: Plaintiffs are not aware of any such documents, at least as such
        9   document(s) might relate to any issue in this lawsuit.
       10   REQUEST NO. 16:
       11   All documents concerning any alleged communications between Plaintiff, on one
            hand, and any credited performer or producer of Defendants' Recording, on the
       12   other hand.
       13
                  Response: Plaintiffs are not aware of any such documents, at least as such
       14
            document(s) might relate to any issue in this lawsuit.
       15
            REQUEST NO. 17:
       16
            All documents concerning any alleged communications between Plaintiff, on one
       17   hand, and any of the Defendants, on the other hand.
       18
                  Response: Plaintiffs are not aware of any such documents, at least as such
       19
            document(s) might relate to any issue in this lawsuit.
       20
            REQUEST NO. 18:
       21
            All documents that support any contention by Plaintiff that any credited writer of
       22   Defendants' Composition had access to Plaintiffs' Composition or any Recording
            thereof.
       23
       24         Response: Beyond the documents that would evidence the types of access
       25   identified in the Plaintiffs’ Combined Responses to Defendants’ First Set of
       26   Interrogatories, all of which would be in the possession of either Defendants or third
       27   parties, Plaintiffs are not presently aware of any additional such documents. Their
       28
                                                       7
                                           PLAINTIFFS’ RESPONSES TO DEFENDANTS’ REQUESTS FOR PRODUCTION




                                       EXHIBIT 29
                                       PAGE 935
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 140 of 145 Page ID
                                    #:3275




        1   investigation continues. See documents produced herewith identified as P000001 –
        2   P000254.
        3
            REQUEST NO. 19:
        4
            All documents that support any contention by Plaintiff that any credited performer
        5   or producer of Defendants' Recording had access to Plaintiffs' Composition or any
            Recording thereof.
        6
                  Response: See response to Request No. 18.
        7
            REQUEST NO. 20:
        8
            All documents that support any contention by Plaintiff that any of the Defendants
        9   had access to Plaintiffs' Composition or any Recording thereof.
       10         Response: See response to Request No. 18.
       11   REQUEST NO. 21:
       12   All documents concerning any communications between Plaintiff and the United
            States Copyright Office relating to the composition or recording of Plaintiffs'
       13   Composition, including but not limited to all documents relating to any application
            to the United States Copyright Office for a copyright registration in or related to
       14   Plaintiffs' Composition, including the copyright registration referenced in Paragraph
            21 of the SAC.
       15
                  Response: Subject to the foregoing General Objections and Clarifications,
       16
            Plaintiffs will produce any non-privileged documents responsive to this Request. See
       17
            documents produced herewith identified as P000007 – P000012.
       18
            REQUEST NO. 22:
       19
            The deposit copy or copies of Plaintiffs' Composition deposited with the United
       20   States Copyright Office. After receipt of the Certificate of Registration, LeCrae
            Moore-the original fourth owner of the Copyright-transfen-ed and assigned all of
       21   his ownership interest in the Copyright (including any claims in this action) to the
            other three 01iginal Plaintiffs.
       22

       23         Response: Subject to the foregoing General Objections and Clarifications and to
       24   the extent that Plaintiffs can interpret what exactly is being requested by the second
       25   sentence of this Request, they will produce any non-privileged documents responsive
       26   to this Request.
       27
       28
                                                        8
                                            PLAINTIFFS’ RESPONSES TO DEFENDANTS’ REQUESTS FOR PRODUCTION




                                       EXHIBIT 29
                                       PAGE 936
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 141 of 145 Page ID
                                    #:3276




            REQUEST NO. 23:
        1
            All documents concerning LeCrae Moore's transfer and assignment all of his
        2   ownership interest in the Copyright (including any claims in this action) to the other
            three original Plaintiffs.
        3
        4         Response: Subject to the foregoing General Objections and Clarifications,
        5   Plaintiffs will produce any non-privileged documents responsive to this Request. See
        6   documents produced herewith identified as P000001.
        7   REQUEST NO. 24:
        8   All documents concerning any communications between Plaintiff and the United
            States Copyright Office relating to the composition or recording of any other of
        9   Plaintiffs' compositions or recordings, including but not limited to all documents
            relating to any application to the United States Copyright Office for a copyright
       10   registration in or related to said other compositions or recordings.
       11
                  Response: Plaintiffs object to this Request as beyond the scope of discovery in
       12
            this action in that it is not relevant to any party's claim or defense and are not
       13
            proportionate to the needs of the case.
       14
       15   REQUEST NO. 25:
       16   The deposit copy or copies of Pl aintiffs' other compositions or recordings
            deposited with the United States Copyright Office.
       17
       18         Response: Plaintiffs object to this Request as beyond the scope of discovery in
       19   this action in that it is not relevant to any party's claim or defense and are not
       20   proportionate to the needs of the case.
       21
            REQUEST NO. 26:
       22
            All documents relied on, or to be relied on, to support Plaintiffs' all egations in
       23   the SAC regarding any alleged infringement of Plaintiffs' Composition.
       24
                  Response: Subject to the foregoing General Objections and Clarifications,
       25
            Plaintiffs will produce any non-privileged documents responsive to this Request. See
       26
            documents produced herewith identified as P000001 – P000254.
       27
            REQUEST NO. 27:
       28
                                                         9
                                             PLAINTIFFS’ RESPONSES TO DEFENDANTS’ REQUESTS FOR PRODUCTION




                                        EXHIBIT 29
                                        PAGE 937
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 142 of 145 Page ID
                                    #:3277




            All d ocuments concerning any alleged damages of Plaintiff asserted in the SAC.
        1

        2         Response: Subject to the foregoing General Objections and Clarifications,
        3   Plaintiffs will produce any non-privileged documents responsive to this Request.
        4   REQUEST NO. 28:
        5   All documents reflecting any income received by Plaintiff as a result of the
            exploitation of Plaintiffs' Composition or any Recording thereof
        6
        7         Response: Subject to the foregoing General Objections and Clarifications,
        8   Plaintiffs will produce any non-privileged documents responsive to this Request.
        9   REQUEST NO. 29:
       10   All documents reflecting any income received by Plaintiff as a result of the
            exploitation of any other of Plaintiff s compositions or Recordings.
       11
       12         Response: Plaintiffs object to this Request as beyond the scope of discovery in
       13   this action in that it is not relevant to any party's claim or defense
       14
            REQUEST NO. 30:
       15
            All documents concerning any alleged similarities between Plaintiffs'
       16   Composition and Defendants' Composition
       17
                  Response: Subject to the foregoing General Objections and Clarifications,
       18
            Plaintiffs will produce any non-privileged documents responsive to this Request.
       19
            However, to the extent that the Requests seeks the analysis or reports of expert
       20
            musicologist, Plaintiffs object that this Request because it is (a) premature and thus
       21
            improper under the Court’s Scheduling Order of March 29, 2016 (Docket # 140), and
       22
            (b) seeks documents protected from disclosure by the attorney-client privilege and the
       23
            attorney work product privilege.
       24
            REQUEST NO. 31:
       25
            All documents refering or relating to Defendants, Defendants' Composition
       26   and/or Defendants' Recording.
       27
                  Response: Subject to the foregoing General Objections and Clarifications,
       28
                                                         10
                                             PLAINTIFFS’ RESPONSES TO DEFENDANTS’ REQUESTS FOR PRODUCTION




                                        EXHIBIT 29
                                        PAGE 938
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 143 of 145 Page ID
                                    #:3278




        1   Plaintiffs will produce any non-privileged documents responsive to this Request.
        2   However, to the extent that the Requests seeks the analysis or reports of expert
        3   musicologist, Plaintiffs object that this Request because it is (a) premature and thus
        4   improper under the Court’s Scheduling Order of March 29, 2016 (Docket # 140), and
        5   (b) seeks documents protected from disclosure by the attorney-client privilege and the
        6   attorney work product privilege.
        7   REQUEST NO. 32:
        8   All musicological analyses of Plaintiffs' Composition (or any recording thereof)
        9
                  Response: Plaintiffs object that this Request because it is (a) premature and thus
       10
            improper under the Court’s Scheduling Order of March 29, 2016 (Docket # 140), and
       11
            (b) seeks documents protected from disclosure by the attorney-client privilege and the
       12
            attorney work product privilege.
       13
            REQUEST NO. 33:
       14
            All musicological analyses of Defendants' Composition and/or Defendants'
       15   Recording. Plaintiffs gave written notice of the infringement to Defendants or
            their representatives.
       16
       17         Response: Plaintiffs object that this Request because it is (a) premature and thus
       18   improper under the Court’s Scheduling Order of March 29, 2016 (Docket # 140), and
       19   (b) seeks documents protected from disclosure by the attorney-client privilege and the
       20   attorney work product privilege.
       21   REQUEST NO. 34:
       22   All documents concerning Plaintiffs giving written notice of the alleged
            infringement to Defendants or their representatives.
       23
       24         Response: Subject to the foregoing General Objections and Clarifications,
       25   Plaintiffs will produce any non-privileged documents responsive to this Request. See
       26   documents produced herewith identified as P000255 – P000259.
       27
       28
                                                        11
                                            PLAINTIFFS’ RESPONSES TO DEFENDANTS’ REQUESTS FOR PRODUCTION




                                       EXHIBIT 29
                                       PAGE 939
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 144 of 145 Page ID
                                    #:3279




            REQUEST NO. 35:
        1
            Any additional documents not produced in response to the above-categories that
        2   Plaintiff intends to or may rely upon in support of any allegation of the SAC.
        3
                  Response: Subject to the foregoing General Objections and Clarifications,
        4
            Plaintiffs will produce any non-privileged documents responsive to this Request.
        5
        6                                         /s/ Drey A. Cooley
                                                  Michael A. Kahn (pro hac vice)
        7                                         Kahn@capessokol.com
                                                  Drey A. Cooley (pro hac vice)
        8                                         Cooley@capessokol.com
                                                  Capes Sokol Goodman Sarachan PC
        9                                         7701 Forsyth Blvd., 12th Floor
                                                  St. Louis, MO 63105
       10                                         Telephone: (314) 721-7701
       11                                         Eric F. Kayira (pro hac vice)
                                                  eric.kayira@kayiralaw.com
       12                                         Kayira Law, LLC
                                                  200 S. Hanley Road, Suite 208
       13                                         Clayton, Missouri 63105
                                                  Telephone: (314) 899-9381
       14
                                                  Carole E. Handler (SBN 129381)
       15                                         chandler@eisnerlaw.com
                                                  Brianna Dahlberg (SBN 280711)
       16                                         bdahlberg@eisnerlaw.com
                                                  EISNER JAFFE
       17                                         9601 Wilshire Boulevard, Suite 700
                                                  Beverly Hills, California 90210
       18                                         Telephone: (310) 855-3200
                                                  Facsimile: (310) 855-3201
       19                                         Attorneys for Plaintiffs
       20
                                           PROOF OF SERVICE
       21
                  I hereby certify that on this 13th day of May, 2016, I caused a copy of the
       22   foregoing to be served by electronic mail upon the counsel of record identified in the
            Service List below. To the best of my knowledge, the transmission was complete and
       23   without error.
       24                                         /s/ Drey A. Cooley
       25
       26
       27
       28
                                                       12
                                           PLAINTIFFS’ RESPONSES TO DEFENDANTS’ REQUESTS FOR PRODUCTION




                                      EXHIBIT 29
                                      PAGE 940
Case 2:15-cv-05642-CAS-JC Document 282-6 Filed 06/25/18 Page 145 of 145 Page ID
                                    #:3280




             SERVICE LIST:
         1
             Vincent H. Chieffo (SBN 49069)            Christine Lepera (pro hac vice)
         2   Email: ChieffoV@gtlaw.com                 ctl@msk.com
             Alana C. Srour (SBN 271905)               Jeffrey M. Movit (pro hac vice)
         3   Email: SrourA@gtlaw.com                   jmm@msk.com
             GREENBERG TRAURIG, LLP                    MITCHELL SILVERBERG & KNUPP LLP
         4   1840 Century Park East, Suite 1900        12 East 49th Street, 30th Floor
             Los Angeles, CA 90067-2121                New York, New York 10017-1028
         5
             Attorneys for Defendants Katheryn         Aaron M. Wais (SBN 250671)
         6   Elizabeth Hudson p/k/a Katy Perry and     amw@msk.com
             Kitty Purry, Inc                          MITCHELL SILVERBERG & KNUPP LLP
         7                                             11377 West Olympic Boulevard
                                                       Los Angeles, CA 90064-1683
         8
                                                       Attorneys for Defendants Capitol
         9                                             Records, Jordan Houston, Lukasz
                                                       Gottwald, Sarah Therese Hudson, Karl
        10                                             Martin Sandberg and Henry Russell
                                                       Walter
        11
        12
        13
        14
        15

        16
        17
        18
        19
        20
        21
        22

        23
        24
        25
        26
        27
        28
                                                     13
                                         PLAINTIFFS’ RESPONSES TO DEFENDANTS’ REQUESTS FOR PRODUCTION




                                    EXHIBIT 29
                                    PAGE 941
